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CHIPPEWA INDIANS

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CAUSE

FED. CIVIL RIGHTS
28 USC 1331

OTHER:

28 USC 1331(a),
Laws based on Article 5 of the Treaty of 1837,

ax SWQICIAL FORECLOBURB neuen
28 USC 1345

—.... ~-S BANKRUPTCY APPEAL

 

 

28 USC 1345

 

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OVERPAYMENT OF V.A. BENEFITS

DEFAULTED STUDENT LOANS

1343(3), 1362 Indian “exempt ion from Wisconsin
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t
758 |03| 74 | 313 1 |9 4 174 |? 440 In junc 5803 58BB 155113
CAUSE: PLAINTIFFS DEFENDANTS USCA # 78-
| LAC COURTE OREILLES BAND OF LAKE |SUPERIOR | LESTER-P+-VOEGF BESADNY, CARROLL D.
CHIPPEWA INDIANS - NORMAN-Ez-¥ACKEEL dropped 11/30/83
PREBBLE;-FREDEREGK 3/18/75 (dropped 11/30/83) EARR¥-MEELER dropped 11/30/83
Added  TREBBBE;-MEGHABL 3/18/75 (dropped 11/30/83) MELTON-BEECKMAN dropped 11/30/83
11/83: SOKAOGAN CHIPPEWA IND. COMMUNITY, MOLE LAKE BONALB~PREMEEY dropped 11/30/83
BAND ~ STATE OF WISCONSIN *added 11/30/83
: - ST. CROIX CHIPPEWA INDIANS NATURAL RESOURCES BOARD*
: BAD RIVER BAND OF L. SUPERIOR TRIBE - HUNTOON, JAMES*
12/83: RED CLIFF BAND OF LAKE SUPERIOR CHIPPEWA MEYER, GEORGE*
INDIANS- USA; -WEEEEAM- ELARK (added
3/84: - LAC DU FLAMBEAU BAND OF LAKE SUPERIOR JOHN-FREFZ (dmsd 8/13/85"

REOPENED’ /1/83

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——- STATE HABEAS
28 USC 2254

——- FED. HABEAS
2241

Fish and Game

——--. SOCIAL SECURITY
42 USC 405 (g)

CIVIL RIGHTS.
42. USC 1993

536

 

COUNSEL FOR FSS)

-Joseph-£+~-Young-James M. Jannetta Thomas L.

**LEAD COUNSEL**

Howard Bichler-
715-349-2195

P.O. Box 287
Hertel, WI 54845

COUNSEL FOR DEFENDANT( (Aha
Dosch

rles Hoornstra,
/ Philip Peterson 277-2061

~P>0:-Bex-67- 206 G egngy h St. Assistant Attorney General
~Lae- deo Fiambeau, -¥ $2 Sault § : 0. B 7857
“115-588-933 ault Ste Marie P.O. Box
635- 82050 MI 49783 Madison, WI 53707
FOR: Lac du Flambeau Band 266-0770
Lisa Levin: 266-7630

 

 

FOR: St. Croix Chippewa
GAIASHKIBOS, CHAIRMAN

LCO TRIBAL GOVERNMENT COMPLEX
ROUTE 2, BOX 2700
HAYWARD, WI 54843
(715) 63408934 10/10/91

BevtGeertton ANDREW H. MORGAN
840 North Old World Third Street
Milwaukee, WI 53203 Suite 500
414-272-2855 SQKAOGAN CHIPPEWA IND
FOR: Mole Lake Band

Milton Rosenberg
40 Glenway Street
Madison, WI 537095
608-231-6784

FOR: LCO

       
 

Milwaukee, WI
414-278-7110

James L. Beck

408 Third Street,
Wausau, WI 54401

FOR: Red Cliff Band 715-842-1681
David J. Siegler - (11/17/89) 800-472-1638
P.O. Box 39

Odanah, WI 54861 P. Scott Hassett

715-68d—ePt? Ged J1l LAWTON & CATES

FOR: BAD RIVER BAND
Madison, WI

FOR:

 

 

 

 

n Street,

INTERVENING WISC. COUNTY FORESTS ASSOC.

Substit. Cnsl on 1/11/91:
William Sosnay
#16QMAVIS & KUELTHAU, S.C.
111 E. Kilbourn Ave, #1400
Milwaukee, WI 53202-6613
414-276-0200

WISCONSIN JUDICARE INC.
#408

214 West Mifflin Street
53703 256-9031

DNR (Courtesy Copies Only)

 

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Case: 3:74-ev-00313-bbe—_Doeument #41 ted: 09/04474Page 2 of 53
DATE NRA. PROCEEDINGS
NORTC

9/4/74 1 | JS-44
ORDER _.... GRANTING __.s DENYING LEAVE TO PROCEED i.f.p.

9/4/74 2 COMPLAINT ~ Request for preliminary injunction & declaratory judgment

9/4/74 SUMMONS ISSUED

9/13/74 | 3 | Summons

10/17/74] 4 | Stip. ext. time for filing deft.'s response to 10/21/74.

10/25/74] 5 | Notice of motion for summary judgment and others (Deft)

10/25/74] 6 Answer and motion for summary judgment and in the alternative for dismissal and
in the alternative to strike etc. (Deft)

10/25/74| 7 | Affidavit of Robert B. McConnell in support of motions of deft.

11/5/74 | 8 | Document entitled "Exhibit A" filed, and attached to complaint as directed by
counsel for pltf

°11/5/74 | 9 | Pltf's first interrogs.

11/5/74 |10 | Pitf's first request to admit facts

12/24/74/11 | Deft's response to pltf's first request to admit facts

12/24/74 |12 Deft's response to pltf's first interrogs.

3/12/75 413 Stipulation to amend complaint adding parties

3/18/75 |14 Order granting amended complaint and adding parties. cc. mld.

3/18/75 {15 | Amended Complaint.

3/18/75 |16 | Summons. (service by mail.)

4/2/75 17 Deft's. admission of service.

9/11/75 |18 | Notice of and motion for summary judgment by pltfs. (Briefs: #31 & #32)

9/11/75 |19 Affidavit in support of motion for summary judgment.

3/31/76 Hrg. on motions for sum. judg. Appearances: Peter Sferrazza and John M. Wiley
for pltf. Robert McConnell for defts. Taken under advisement. Defts. to notif
the Court by Mon. 4/5/76 if their present answer to stand for amended complaint
or if they will file a new one.

4/5/76 20 |Answer to Amended Complaint with decision of Mole Lake Band et v. U. S.

4/5/76 |21 |Letter of Retainer.

9/20/78 |22 |Order granting defts' mo. for s.j. and dismissing action. cc. mld.

9/21/78 |23 |Judgment entered. cc. mld.

10/19/78 |24 |Notice of appeal by pltfs. cc. mld.

10/19/78 |25 |Waiver of cost of bond. ce mld.

10/27/78 Record forwarded to U.S. Court of Appeals.

11/1/78 {26 |Defts' notice of appeal. cc. mid. :

11/9/78 Supplemental record forwarded to the Court of Appeals. *

1/11/79 Record returned to U.S. Dist. court pending decision in U.S. v. Baker

1/17/79 {27 |Brief in support of defts' mo. to dismiss with exhibits, A,B,C, dated 12/2/75

(Supports #5 & #6)
11/5/81 |28 |Defts' status report.
12/11/81 {29 |Order from court of appeal consolidating 74-C-313 & 72-C-366 for purposes of
decision & setting deadlines. (all further docketing will be made in 72-C-366)

2/9/82 30 !Research Report filed by Wisconsin Judicare re: treaties.

2/19/82 |31 |Brief in support of mo. for summary judgment submitted to the court on Sept 11,
1975, but-retatned-tn-the-Judgets-fite. (Re: #18)

2/19/82 |32 |Reply brief by plaintiff re mo. for summary judgment that was submitted to the
court on Feb. 3, 1976, but-retatned-in-the-Judges-fite.(Re: #18)

3/8/82 |33 |Transcript of hearing on 3/31/76. 3/16/82 Forwarded on appeal.

8/25/82 Supplemental record to court of appeals. 4

3/16/83 Order from USCA denying petition for rehearing.

10/13/83 |34 |Notice of appearance from Atty Kathryn L. Tierney on behalf of La Courte

Creittes Bank of Lake Superior Chippewa Indians, Michael Tribble & Frederick
ri e.

Notice of Appearance by AAG Mary Bowman on behalf of defs.
Slip Op. from 7th Cir USCA: REVERSED & REMANDED, D.C. decision.

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Case: 3:74-cv-00313-bbc Document #:1 Filed: 09/04/74 Page3o0f53 “""" " SE.57
DC 111A
(Rev. 1/75)
CIVIL DOCKET CONTINUATION SHEET FPi-MAR—-7 14.80.70m.439:
PLAINTIFF DEFENDANT

LAC COURTE OREILLES BAND OF LAKE
SUPERIOR CHIPPEWA INDIANS

pocket No /4-€-31 3-1

_2or

CARROLL D. BESADNY, ET AL.

 

 

 

 

 

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PAGE _.PAGES
DATE NR. PROCEEDINGS
11/14/84 #36 | Certif Copy of Judgment: D.C. judgment REVERSED, with costs & case REMANDED,
w/instructions, in accordance w/attached opinion. including attachment to
opinion dated 3/8/83. (7th Cir USCA) (also docketed in 72-C-366)
11/14/83 #37 Certif. Copy 7th Cir USCA Order: that “Motion for Stay of Mandate" filed on
5/11/83 is GRANTED. (also docketed in 72-C-366)
11/14/83 #38| Certif. Copy 7th Cir USCA DISMSSING appeal for want of juris; papers whereon
appeal was taken treated as petition for writ of certiorari, certiorari DENIED.
11/14/84 #39) Status Conf. Memo re: Mandate from 7th Cir USC Appeals. By 12/27/83 counsel
for pltfs to serve & file prop scheduling governing the procedures necessary
for final adjudication; defs to respond w/in 15 days; cpys mid
11/18/83; #40) Sokaogan Chippewa Indian Community, Mole Lake Band of Wisconsin's Motion to
Intervene
11/18/83} #41; Pltf-Interv Sokaogan Chp S Complaint in_Interventio . -
11/18/83 Hrg. (JED) Appearances: Por pltfs:Howard Bichler. Earl Charleton, Milton Ros-
enberg. for def; Mary Bowman, AAG. Stipulated agreement signed by Judge.
11/18/83} #42]: Stipulation & Agreement re: 1983 Treaty Gun Deer Season.
11/18/83|. #43) Order re: 1983 Treaty Deer Season; cpys mld
11/18/83| #44) Pltf-Interv. St Croix Chipp. Ind. Mo to Intervene
11/18/83} #45 Stipulation as to Intervention of St. Croix Chipp. Indians of Wis.
14/38/83 46) Complaint in Interv. by St. Croix Chipp. Indians
/2e/ 47 Bad River Band of Lake Superior Tribe of Chippewa Indians Mo to Intervene as Plt
11/22/83 | #48) Stipulation as to Intervention of Bad River Band
11/22/83 | #49) Prop. Comp of Interv. Bad River Band
11/23/83; #50) Stip. as to Intervention of Sokaogan Chipp. Comm.of Mole Lake Band
11/22/83; #51|) Partial transcript of Proceedings re: Status Conf 11/10/83.
11/23/83| #52} Mo by Lac Courte Oreilles Band to Amend Complaint
11/23/83| #53) Stipulation as To Amendment of Complaint
11/30:/83| #54) Order that 2nd amended complaint be filed: (see order for specifics) cpys mid.
11/30/83 #55 Second Amended Complaint
12/9/83 56, Mo to Intervene by Red Cliff Band
12/9/83 57 | Stipulation as to Intervention of Red Cliff Band of Lake Sup. Chpp. Indians
12/13/83 538 | Order that answer to 2nd Amended Comp & prop interv. complaints due within
20 days after receipt by State's atty reciving crt's order approving filing
of each respective Prone cpys, mid
13743783 58g Peopersd, judgments Dye Gea Bang siaint.
12/21/83 60, Order (JED) substituting amended stipulation as to amendment of
complaint. Cpys mld.
12/21/83 61) Order (JED) that motion of Red Cliff Band for intervention as a
party pitf is granted & have leave to file complaint. cc mid.
12/21/83 62 Proposed complaint of intervenor Red Cliff Band.
12/22/83; 63 | Stipulation of parties for request to extend time provided for Ist submission
Ds rea for pltf of an issue stmt & procedural timetable from 12/27/83 to
1/13/84;.
11/12/82| 64 |ORDER re: Stipulation, #63. cpys mid.
12/28/83' 65 |Defts' letter of objections to proposed judgment.
1/5/84 66 | Notice of and mo. for leave to file brief as amicus.
1-9-84 67 |Pltfs' memo in reply to defts' proposed: judgment .
1-11-84! 68 |Defts' ans to proposed complt of intervenor.
1-11-84 69 | Pltf's response to mo for leave to file brief as amicus.
1/13/84 70 | Pltf's proposed schedule of further proceedings
*4#12/12/83 57%| Amended stip as to amendment of complaint.
1/31/84 71 |iDeft's 2nd proposed judgment.

 

 

 
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Case: 3:74-cv-00313-bbc Document #:1 Filed: 09/04/74 Page 4 of 53

CIVIL DOCKET CONTINUATION SHEET FPI-MAR—~7-14-80-70M-4398

 

PLAINTIFF

LAC COURTE ORETLLES BAND, et al.

DEFENDANT
pocket No, 74-C=-313-D

PAGE _4 OF

STATE OF WISCONSIN, et al.

 

 

 

 

 

 

PAGES
DATE NR. PROCEEDINGS
1/31/84 72 Stip of parties concurring w/agreement re: ice fishing.
\/31/84| 73 Agreement of parties re: off-reservation ice fishing season, w/
attached Trout Stream booklet.
L/31/84, 74 Order (JED) approving stip re: Off-Reservation ice fishing. CC mld.
L/31/84 Hrg (JED). Attys Rosenberg & Biebler appeared for pltf, & Attys
Bowman & Neimisto for defts. Court gives pltfs 10 day to respond
to deft's 2nd proposed judgment.
1/31/84} 75 ORDER granting motions for intervention for leave to intervene as parties pltf
& their respective proposed complaints are accepted in this action. cpys mld.
1/31/84! 76 ORDER (1)Obj to proposed judgment due 2/13/84; if none filed court will enter
order re: proposed judgment (2) granting Wis. Counties Assoc's mo. to file brief
as amicus curiae. cpys mid.
2/6/84 | 77 Ratification by Lac Du Flambeau Band of Lake Superior Chippew Indians of 1984
Chippewa Indian Subsistance Off-Reservation Ice Fishing Agreement.
2/7/84 | 78 Ratification by Bad River Band of the Lake Superior Tribe of Chippewa Indians
of 1984 Chippewa Indian Suhsistence Off-Reservation Ice Fishing Agreement.
2/9/84 | 79 Defts' proposed schedule of proceedings.
2/9/84 | 80 Comments to defts' proposed schedule of proceedings.
2/13/84 81 | P1ltf's memo in reply to defts' 2nd proposéd judgment.
2/22/84) 82 Pltf's response to defts' proposed schedule of further proceedings.
2/22/84 83 | Answer to complaint of pltf-intervenor Bad River Band.
2/22/84 84 | Answer to complaint in intervention of Sokoagan Chippewa Indians.
2/22/84, 85 | Answer to complaint in intervention of St. Croix Chi Indians. ;
2/27/84 86 |Lac du Flambeau Band of Lake Superior Chippéwa Indians motion to
intervene as party pltf.
2/27/84 87 |Stip as to intervention of the Lac du Flambeau Band of Lake Superior
Chippewa Indians.
'/27/84 | 88 (Complaint in intervention.
3/2/84 89 |Order granting mo. of Lac du Flambeau Band to intervene as party pltf. cc. mld.
3/2/84 90 !Stipulation between parties as to agreement.
3/6/84 91 | Partial judgment upon remand of USCA decision issued 1/25/83. cpys mid.
{7/84 92 |Order (JED) that annexed stip & agreement is approved insofar as
necessary to govern the off-reservation trapping activities of the
tribes during 1984 Treaty season. Cpys mld.
3/19/84 93 (Answer to complaint of pltf-intervenor Lac Du Flambeau Band.
3/19/84, 94 Ratification by Bad River Band of the 1984 Chippega Indian Off-Reservation Treaty
Trapping Agreement.
3/21/84 HRG. (JED) Apps. K. Tierney for Lac Courte Oreilles; D. Siegler for Bad River;
J. Janetta for Flambeau Band; M. Rosenberg for Red Cliff; H. Bichler for St. Croix.
Court will enter memo scheduling dates for submission of mo. for atty fees, and
hrg date.
3/26/84 95 Pitt suppl bill of costs & verification. (Cpy retained; orig ret'd; see
court's letter of 3/29/84)
3/26/84; 96 | ORDER (JED) scheduling deadlines. cpys mld.
4/3/84 97 | Deft's Notice of appeal. Cpys mld to counsel for pltfs 4/5/84.
4/4/84 98 |Affdvt of Service of notice of appeal.
4/12/84 | 99 (Notice of appearance for defts.

 

 

 
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DC 111A
(Rev. 1/75)
CIVIL DOCKET CONTINUATION SHEET fPiMAR—-7.14.80-70Mm.4398
PLAINTIFF DEFENDANT
DOCKET NO. 74-C-313-D
LAC COURTE OREILLES BAND OF LAKE CARROLL D. BESADNY, et al. PAGE ee PAGES
SUPERIOR CHIPPEWA INDIANS
DATE NR. PROCEEDINGS
4/17/84 | 100 Pltfs' mo. for pre. inj. based on declaratory judgment
4/17/84 | 101 Pitfs' brief in support of mo. for pre. inj.
4/17/84 | 102 Pitfs' submission of movant tribes in support of mo. for pre. inj.
4/19/84 | 103 Pltf Bad River Band's mo. for pre. inj. based on declaratory judgmt & notice of mo
4/19/84 | 104 Pltf Bad River Band's brief in support of mo. for pre. inj.
4/19/84 | 105 Affdvt of Neil E. Kmiecik in support of Bad River Band's pre. inj. mo.
4/19/84 | 106 | Affdvt of Neil E. Kmiecik in support of mo. for pre. inj.
4/19/84 | 107 Affdvt of Thomas R. Busiahn in support of Bad River Band's pre. inj. mo.
4/19/84 | 108 Affdvt of Frecerick A. Vande Venter in support of Bad River Band's pre inj mo.
4/19/84 | 109 Affdvt of Joseph Corbine w/attachments in support of Bad River Band's p/i mo.
4/19/84) 110 Courtroom minutes of status conf.. Hrg on p/i mos. set for 5/7/84, 9 am.
4/20/84 111 | ORDER (JED) setting hrg on 5/7/84, 9 am. & setting deadlines.
4/23/84; 112 | Cpy of defts mo for stay of mandate in USCA (filed for appeal purposes)
4/23/84| 113 | Cpy of Memo in support of mo for stay (appeal purposes)
4/23/84| 114 | Cpy of pet for rehearing & suggestion of rehearing (appeal purposes)
4/23/84; 115 | Cpy of Tribe's response in opposition to State's request for clarification.
(appeal purposes)
4/23/84 RECORD SENT TO USCA
4/24/84, 116 | Pltf's notice of taking depo of James Addis & Ronald Poff.
4/24/84, 117 | Copies of subpoenas for James Addis & Ronald Poff.
ia 1B Fa ei2 of report of Dr. Charles Cleland of Docket #102 in support of mo for PI.
4/25/84 | 120 Stipulation re; videotape depo of James Addis & Ronald Poff.
“Pid Re 1208 Gabte & propaged preliminary injunction. .,
(JED) that parties are to file proposed findings of fact by 5/4/84
that court may decide pltfs' mo. for pre. inj. on subject of open water
fising. cpys mld.
4/26/84) 122 | Deft's notice & motion for extension of time to file brief.
4/26/84) 123 | Affdvt of Mary Bowman.
4/26/84 124 | ORDER (JED) that defts' mo., line one of part II of the order entered herein
March 21, 1984 is amended to read: "Not later than 61 days from the date of entry’
-4/26/84| 125 BEE otice of witnesses & affiants.
4/30/84 | 126 |Transcript of videotape testimony of Ronald J. Poff.
4/30/84; 127 |Transcript of videotape testimony of James T. Addis.
4/30/84 | 128 |Defts' notice of & Mo. for leave to add to list of witnesses.
4/30/84, 129 Defts' supplemental list of witnesses.
4/30/84 | 130 (Affdvt of Mary V. Bowman.
5/2/84 131 |Order granting defts' mo. for leave to add deposition testimony of three
witnesses. cc. md.
5/3/84 | 132 |Transcript of depositionof Thomas R. Busiahn.
5/3/84 | 133 ifranscript of 4epositionof Neil E. Kmiecik.
5/3/84 | 134 |Transcript of deposition of Robert L. Pomeroy.
5/3/84 | 135 |Pltf Tribes' revised proposed pre. inj.
5/3/84 | 136 |Pltf Tribes' suppl. brief in support of m. for p/i.
5/3/84 | 137 |Affdvt of Kathryn Tierney in support of p/i m..
5/4/84 1138 | Defts' brief in opp. to mo. for pre. inj.
5/4/84 |139 | Submission of defts' in opp. to m. for pre. inj.
5/4/84 |140 | Pltf Tribes' proposed findings of fact.
5/4/84 {141 |Defts' proposed findings of fact.
5/9/84 | 142 | Defts' proposed suppl findings of fact.

 

 

 

 
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Rev. 1/75)

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CIVIL DOCKET CONTINUATION SHEET FPI-WAR—-7.14.00.70M-43 98

 

 

 

 

 

 

 

PLAINTIFF DEFENDANT
DOCKET NO. 74-C=313-9
LAC COURTE OREILLES BAND BESADNY, CARROLL, et al. 5
PAGEwg@_OF PAGES
DATE NR. PROCEEDINGS
577784 T4i=A Derlts* corréecter proposed findings or fact.
3/7/84 |141-BiCivil courtroom minutes of evid hrg on motions for pre. inj. Testimony heard.
3/8/84 (143 ‘Civil courtoom minutes, 2nd day evid hrg. Testimony heard.
3/9/84 (144 (Civil courtroom minutes, 3rd day evid hrg. Closing Arguments. Taken under advise-
ment.
3/10/84 1145 |Pl1tf£ Tribes' proposed findings of fact.
5/18/84 | 146 Affdvt of mailing of #145.
5/21/84 147 |Deft's brief insupport of affirmative defenses.
6/1/84 | 148 |ORDER (JED) denying pltf's mo. for p/i.
6/20/84 149 | Pltf£'s brief in opp to affirmative defenses.
1/21/84 | 150 |Notice of & Mo. for leave to file pltf & pltf-Intervenor's joint amended complaint.
6/21/84 Rec'd proposed joint amended complaint of pltf & pltf-intervenors. (docketed as #162)
6/26/84| 151 |Semi-final draft of open water fishing agreement.
6/28/84 | 152 | Civil courtroom minutes of hrg on Agreement. Court enters interim consent order;
Defts' opposition to amend complaint due 7/5/84.
6/28/84 | 153 | Stipulation that parties concur in the Agreement.
6/28/84 | 154 | Agreement re: Govening 1984 summer & Fall Chippewa Indian Subsistence Off~Reservay
tion Open Water Fishing Season for the Ceded Area.
6/28/84 | 155 | Interim Consent Order. cpys mld.
6/29/84 | 156 | Corrected Page 5 of Proposed Joint Amended Complaint of pltf & pltf-intervenors.
7/9/84 157 Ratification of 1984 summer and fall Chippewa Subsistence Off-Reservation
open water fishing agreement signed on behalf of Lac Courte Oreilles Band of
Lake Superior Chippewa Indians.
7/11/84 | 158 | Pltfs' & pltf-intervenor's notice of & mo. for extension of time to file atty
fee petition.
7/11/84 | 159 | Affdvt of Howard J. Bichler.
7/16/84; 160 |ORDER granting pltfs' mo, #158, for extension of time. cpys mld.
7/16/84 | 161 [ORDER granting pitf's & pltf-intervenor's mo to file joint amended complaint &
filing the amended complaint; setting due dates for ans & brfg schedule; non-evid.
_ jhrg, 8/28/84, 2pm. on affimative defenses. cpys mld.
7/16/84 162’ AMENDED COMPLAINT, of Plaintiff Lac Courte & five Intervening Bands (Pltf-Intervw)
7/18/84; 163 | Ratification of agreement (#154) by pltf-intervenor Lac du Flambeau Band of Lake
Chippewa Indians.
7/24/84! 164 jRatification of agreement (#154 by pltf-intervenor Bad River Bank of Lake
Superior Chippewa Indians.
7/31/84; 165 |Deft's Supplemental Brief in Support of Affirmative Defenses
7/31/84, 166 | Answer to Joint Complaint of Pltf-Pltf£ Intervenors
8/3/84 167 | Ratification of agreement (#154) by Mole Lake Band of Sokaogon Chippewa Community,
8/13/84| 168 Pltfs' reply brief to defts' supplemental brief on affirmative defenses.
8/17/84, 169 Defts' mo. for extension of time in which to file brief re: affirmative defenses.
8/17/84, 170 |Affdvt of John D. Niemisto in support of #169.
1/6/84 Rec'd copy of proposed deer hunting agreement.
9/7/84 171 |Defts' reply brief in support of affirmative defenses.
9/12/84 |172 Pltf's mo. for extension of time to file atty fee petition.
9/12/84'173 Affadvt of Howard Bichler in support of #172.
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Case: 3:74-cv-00313-bbc Document #:1 Filed: 09/04/74 Page 7 of 53

DC 111A
(Rev. 1/75)
CIVIL, DOCKET CONTINUATION SHEET

PLAINTIFE DEFENDANT
pocket No, /47C7313-D

 

 

LAC COURTE OREILLES BAND BESADNY, CARROLL, et al. pace © oF PAGES

 

 

 

DATE NR. PROCEEDINGS

9/12/84 | 174 | Agreement re: governing 1984 Chippewa Indian Off~Reservation Treaty Deer
Hunting Season.

9/12/84 175 | Stipulation re: #174.
9/12/84 | 176 | Interim Consent Order & Injunction. cpys handed to Atty Bowman for mailing.

9/12/84 | 177 | Civil courtroom minutes of hrg on deer hunting agreement. Court enters consent
order & injunction. Court grants pltf's request for extension of time to file
atty fee petition.

9/13/84! 178 |ORDER granting pltfs' mo. for extension of time until 9/12/84 to file atty fee
petition. cpys mid.

9/14/84 179 | Ratification by Lac Courte Oreilles Band of Lake Superior Chippewa Indians

of Agreement governing 1984 Chippewa Indian Off~Reservation Treaty Deer Hunting

Season.
Defs' mo for order amending the partial judgment entered by the ct on 3-6-84 and

 

 

9/20/84 | 180
i £ - fo ificati £ 1.

9/20/84 | 180a | BSEES? SonFftmation of points oF oral argument heard 9/17/84. jor

9/21/84] 181 |Ratification Agreement of pltf-intervenor Lac du Flambeau Band of Lake /CHt ppewna

Indians of 1984 Chippewa Indian Off-Reservaton Treaty Deer Hunting Season.

9/21/84 | 182 Ratification by Bad River Band of Lake Suprior Tribe of Chippewa Indians of
1984 Deer Hunting Season Treaty.
9/24/84! 183] Pltfs' letter confirming points of oral argument, 9/17/84.

9/26/84| 184) Ratification by Red Cliff Band of Lake Superior Chippewas of 1984 Deer Hunting
Season Treaty.

10/4/84 | 185 | Ratification of agreement of Mole Lake Band, Sokaogon Chippewa Community of the
1984 Deer Hunting Season Treaty.

10/16/84) 186 | Notice of appearance of Atty Candy L. Jackson for pltf Bad River Band of Lake
Superior Chippewa Indians.

10/19/84; 187 | OPINION & ORDER (JED) that defts' llth amendment immmity affirmative defense
is stricken. Defts are free to pursue any of their other affm. defenses not
disposed of by the implications of this ruling. cpys mild.

10/24/84, 188 | ORDER setting st. conf. for 11/9/84, 2 pm, to establish a schedule for trial on
the merits & for pretrial preparation. cpys mid.

10/25/84} 189 | ORDER directing Clerk of this court to enter an amended partial judgment, amend-
ing the partial judgment entered herein on 3/6/84, as #91. cpys mid.

10/29/84, 190 | AMENDED PARTIAL JUDGMENT entered. cpys mld.

10/30/84 191 | Pltf LCO Band's application for attys fees.
10/30/84 192 | Affdvt of Larry B. Leventhall in support of #191.
10/30/84 193 | Affdvt of Richard B. Collins in support of #191.
10/30/84 194 | Affdvt of Kathryn Tierney in support of #191.
10/30/84} 195 | Memorandum (JED) in prep of 11-9-84 status conf. requests counsel to be prepared
to discuss dates for trial, discovery, etc. cpys mld.
10/30/84} 196 | Agreement between tribal and state parties governing the 1984-85 Chippewa Indian
Off-Reservation Treaty Trapping Season.
10/30/84) 197 Stip re #196.
g.0./ 30/84 198 Interim consent order and injunction. cpys mld.
t, 11/1/84, 1994 Ratification-off-reservation treaty trapping season.
11/1/84 | 200 | Application of Wisconsin Judicare for attys fees.
11/1/84 | 201 | Affid of John M. Wiley
11/1/84 | 202 " " Peter J. Sferrazza
11/1/84 | 203 " " Gene M. Potack

 

 

 
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11/1/84 | 207 " "James L. Beck
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11/1/84 } 209 " "A. John Wabaunsee
11/1/84) 210 " "Gene D. Linehan

11/1/84 | 211 Memo of Wis Judicare in support of fee application

11/13/84 212 Status conf order (JED). see order for detailed info on case. cpys mid.
11/19/84) 213 Ratification by St. Croix Chippewa Indians of Wis. of off-reservation treaty
trapping season.

11/20/84, 214 | Ratification of pltf Bad River Band of 84-85 Chippewa Off-Reservation Treaty
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11/21/84| 215 |Agreement governing 1984-85 Chippewa Indian Off-Reservation Treaty Small Game
Hunting Season.

11/21/84| 216 |State of Wi's execution of 1984-95 Chippewa Indian Off-Reservation Treaty

Small Game Hunting Agreement.

11/21/84| 217 |Stipulation re: 1984-85 Treaty Small Game Agreement.

11/21/34| 218 | Interim Consent ORDER & INJUNCTION on stip. re: 1984-85 Treaty Small Game Agremt.

cpys mid. . .
11/28/84] 219 |Notice of Mo for Leave to File Amended Answer to Jt. Amended Complaint,

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11/28/84) 220 |Mo for Leave to File Amended Answer to Jt. Amended Complaint & for Leave to
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11/28/84 221 | Amended Answer to Jt. Amended Complaint

11/28/84} 222 | Summons

11/28/84] 223 | Third Party Complaint “ASA }

11/28/84| 224 |Memo in Support of Mo for Leave to File Amended Answer to Jt. Complaint & For
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12/6/84 | 225 | Ratification by St. Croix Chippewa Indians of Agrement governing '84-85 Chippewa

Indians Off-reservation Treaty Small Game Hunting Season.
12/10/84 226} Pltf Bad River Band's Ratification of 1984-85 Chippewa Indian Off—Reservation

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Off-Reservation Treaty Small Game Hunting Season Agreement.

.2/13/84 | 228 | Agreement re: 1984-85 Chippewa Indian Off-Reservation Treaty Ice Fishing Season.
2/13/84 | 229 (Stipulation re: Agreement 84-85 Ice Fishing Season.

.2/13/84 | 230 (Interim Consent ORDER & injunction. cpys mld. 12/17/84.

2/13/84 | 231 Civil courtroom minutes of hrg approving Ice Fishing agreement for 84-85.

2/13/84 | 232 Pltfs' joint response to state defts' motions to amend answer & to serve 3rd party
complaint.

.2/17/84;| 233 |Mo for Order Amending Prior Order Relating to Certain Time Limitation,

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7 4 fidavit of AAG James H. McDermott
HIALH PR, eet BC ef A ion of the agreement among the parties concerning ice fishing
12/28/84) 236 | Ratification of the 1984-85 Indian Off~Reservation Treaty Ice Fishing Agreement.
2/29/84 | 237 | Ratification of pltf. St. Croix Tribe's agreement concerning ice fishing

2/28/84 | 238 | Response in opposition to motion for order amending prior order relating to certalin

time limitations, and to motion hearin
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1/3/85 | 240 | Defts' reply in support of mos. for leave to file amended answer and for leave tc
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1/3/85 Proposed third party complaint.
1/9/85 |241 |Order granting defts' mo. for leave to file amended answer. cc. mld.
1/9/85 |242 | Order granting defts. request for leave to substitute a proposed third-party
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1/9/85 {243 | Order setting status conference for 1/25 at 1:30. cc. mid.
1/9/85 |244 |Order granting defts' motion to amend status conference order of 11/12/85. cc. ml
1/9/85 (245 |Third-part complaint (Filed on 1/3/85).
1/11/85 246 | Pltfs' Joint Response to Defts' Mos Regarding Proposed Third Party Complaint
1/25/85 | 247 +Summonses to U.S.A., Donald P. Hodell, John Fritz , with proofs of service
| 1/28/85 | 248 | Status conf. order setting due dates for brfg on affirmative defenses; s/}j;
money damages; mo. to dismiss.
1/30/85 | 249} Memo in Support of Mq for Order Dismissing Action in Part
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K. Tierney as counsel for Lac Courte Oreilles Band. cpys mild.
3/20/85 | 259 |Third-party deft's mo for enlargement of time
3/20/85 | 260 (Order granting 3rd party defts' mo. for enlrgmt to 4/18/85 to respond. cys mld.
3/22/85 | 261 | ORDER directing parties to serve all materials on all parties including
U.S. Atty Byrnes & Atty Goodsell. cpys mld.
3/22/85 | 262 |ORDER granting extension of time on brfg of mo. to dismiss & on amended affir-
mative defenses. cpys mid.
4/5/85 | 263 |Pltf, Lac Du Flambeau's ans to defts' lst interrogs
4/8/85 264 Memorandum in opposition to mo. to dismiss cause of action.
4/9/85 265 (Pitf Tribes' response to State-Defts' brief in support of amended affirm defenses
4/9/85 (266 third-party,’ 8 me, to dismiss & to_strike third-partyccomplaint
YER R66A d-party' s brief in support of #266.
1/85 | 267 GRDER 3rd party defts 4/9/85 mo. is construed as mo. to dsm/sj & setting
brfg schedules. cpys mld (4/10/85)
4/11/85 |268 |1985 Spring Spearing Season Agreement (draft)
4/12/85 | 269 |Plitf, St. Croix Indians' ans to defts' lst interrogs
4/15/85 |270 |Pltf, Bad River's ans to defts' Ist interrogs
4/15/85 | 271 | AGREEMENT ~ Governing 1985 Chippewa Indian Subsistence Off-Reservation Open

Water Spring Spearing Season for the Ceded Area.

 
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4/15/85} 273 (Interim Consent ORDER & Injunction on Agreement #271 (1985 Spearing season)

4/15/85| 274 |Civil courtroom minutes of hrg on Agreement #271.

4/17/85| 275 |Ratification of Agreement #271 (1985 Spearing) by St. Croix Chippewa.

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4/23/85 | 277 |Ratification of Lac du Flambeau for Agreement for 1985 Spearing Season

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(25/85 | 280 |Defts' mo for partial summary judgment

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1/25/85 | 282 |Affidavit of Carroll D. Besadny

(25/85 | 283 |Affidavit of James R. Huntoon

1/25/85 | 284 |Affidavit of George E. Meyer

1/25/85 285 |Defts' reply brief in support of amended affirmative defenses

3/2/85 286 |Defts' 2nd interrogs to pltfs

5/2/85 287 |Defts' proposed findings of fact, conclusions of law, & judgment in support of
mo for partial summary judgment

5/9/85 | 288 | Pltf Tribes’ non-expert witness list

5/10/85 | 289 State's brief in opp to mo to dismiss third-party complaint

5/10/85} 290 | Courtroom minutes of hearing.

5/13/85 | _ 291 | Schedpling order..c Pf .

s/ajhe | 2358 | ELeest. Gkeepe Baa CUPS etter reset feck 9f,4/34/88 USK Qde5 BSF the
Seventh Circuit on further proceedings in this case.

5/21/85 |293 |Certified Copy from USCA that this part is vacated & the case is remanded, parties
will bear respective costs on appeal in accordance with opinion of this Court filed
this date.

1/21/85 1 volume of pleadings returned

5/24/85|  294| Federal Defts' reply to state's brief in opposition to mo. to dismiss third-party
complaint.

5/31/85 | 295 | ORDER denying pltfs' request for extension of time to respond to mo. for partial
Ss/j; pltfs response due 6/12/85; defts reply w/o 10 following. cpys mld.

5/31/85 | 296 | Pltfs' letter re: supplementation to existing pretrial schedule, agreed upon .
by pltf's & defts.

6/4/85 | 297 ORDER relating to pretrial schedule as to phase I trial commencing 9/16/85;
stating pretrial due dates; FPIC-8/29/85, 10:30 am. cpys mld

(/13/85 | 298 |Pltf Tribes' response in opp to State Defts' request for time extension to brief
affirmative defense of re judicata

(/13/85 | 299 Plitf Tribes' cross-mo for partial s/j

(/13/85 | 300 |Pltf Tribes' memo in support of cross-mo for partial s/j

1/13/85 | 301 /Pltfs' proposed findings of fact, of law & judgment in support of cross-mo

/14/85 | 302 'PItf Tribes' submission of add'l issues for trial as result of appellate decision

/17/85 | 303 ‘Defts' submission of add'l issues for trial as a result of appellate decision

/17/85 | 304 |Pltf Tribes’ designation of expert witnesses & proposed summary judgment

/17/85 | 305 (Curriculum vita of Charles E. Cleland

3/13/85 **306 |Courtroom Minutes from hearing on 3rd Parties mo to dismiss

3/24/85 | 307 |Pltf Lac Du Flambeau's ans to defts' 2nd interrogs

1/28/85 | 308 agits’ memo in opp to pltfs' cross-mo for s/j & in support of mo for partial
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7/05/85 {311 |PItf Mole Lake Band's ans to defts' 2nd interrogs
7/09/85 |312 Defts' statement of expert witness info
7/09/85 | 313 | Summary of opinions & conclusions of defts' witness, Robert A. Birmingham
7/9/85 |314 | ORDER setting due date for defts to file suppl. interrogs; denying defts'
request in 4/25/85 memo for extension of time to file s/j_mo. on res judicata.cc m
7/11/85 1315 |Mole Lake Band's supplement to pltf Tribes' designation of expert witnesses
7/11/85 |316 (Notice of Depos of Robert Gough, Charlies Cleland . . .
7/24/85 | 317 Defts' notice of mo for order compelling discovery or imposing sanctions
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7/24/85 | 319 Affidavit of Mary Bowman in support of mo for order
7/26/85! 320 |}P1ltf Mole Lake's letter advising withdrawal of Rbt Gough as expert witness.
8/02/85 |321 |Pitf Lac Courte Oreilles' ans to defts Ist interrogs
8/05/85 | 322 |iNotice of Depos & subpoena duces tecum of Alan S. Newell & Robert A. Birmingham
8/13/85 | 323 | ORDER that 3rd party defts' mo. to dismiss 3rd party complaint for failure to
state a claim is granted. cpys mld.
8/14/85 | 324 Transcript of depo of Charles E. Cleland, 7/18/85.
8/19/85 | 325 Pltfs' notice of mo in limine
8/19/85 | 326 Pltfs' mo in limine & other relief
6/19/85 | 327. Preliminary report of historical findings
8/21/85 328 |Stipulation off Ricing Agreement. cpys mld.
8/21/85} 329 |INTERIM CONSENT ORDER & INJUNCTION on Ricing Agreement wAGREEMENT attached.
cpys mld.
8/21/85 | 330 | Stipulation & ORDER of the treatment of legal issue of the use of Lake Superior
under Treaty of 1842. cpys mid.
8/27/85 | 331 | Depo of Robert A. Birmingham
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8/27/85 | 333 | ORDER directing defts to file statement of interpretation & construction of 1837
& 1842 treaties which the evidence will require. cpys mld.
429/85 33d Defendants! statement re: position on mo. in limine.
£7 788 FEA a CORE oO a manutes OF BSI & fig Of JED's ruling from bench.
8/30/85| 336 |ORDER denying pltf's mo. in limine to bar certain evid.purporting to aid in con-
struction & interpretation of 1837 & 1842 treaties; granting pltfs' mo. to call
Dr. Clifton as rebuttal expert witness. cpys mid.
9/06/85} 337 |pefts' notice of mo & mo to adjour trial date
9/06/85} 338 \Affidavit of Mary Bowman in support of mo to adjourn
9/9/85 | 339 |Pltfs' brief in opp. to mo. for continuance.
9/9/85 | 340 Pltf Tribes joint porposed findings of fact.
9/9/85 | 341 ,Pltfs' pretrial statement.
9/9/85 | 342 |Civil courtroom minutes of hrg on defts' mo. to adjourn trial-DENIED.
9/10/85 343 | ORDER denying defts' mo. for postponement of 9/16/85 trial date. cpys mld.
9/10/85 344 | Ratification by St. Croix Chippewa of 1985 Treaty Ricing Agreement.
9/12/85 | 345 Defts' preliminary proposed findings of fact
9/12/85 | 346 | ORDER that on court's initiative trial set for 9/16/85 is postponed; to be not
earlier than 11/1/85. cpys mid. (9/11/85)
9/13/85 | 347 jLac du Flambeau's ratification of 1985 wild rice season agreement

 

 

 
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9/16/85| 350 [Civil courtroom minutes of hrg on 1985 deer hunting & migratory bird hunting
agreements. So ordered.
9/16/85| 351 |Stipulation re: 1985 Chippewa Indian Off-Reservation Treaty Deer Hunting Season
Areement, attached.
9/16/85| 352 |Interim Consent Order & Injunction entered re: 1985 Deer Hunting Agreement.cc mid.
9/16/85| 353 |Stipulation re: 1985 treaty migratory bird hunting agreement, attached.
9/16/85| 354 |Interim Consent Order & Injunction re: 1985 treaty migratory bird hunting agreemt.
cpys mid.
9/23/85 | 355 |Ratification of Agreement of 1985 Chippewa Off-Reservation treaty deer hunting
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9/23/85 | 356 ;Depo of James A. Clifton; 9/11/85 (Attached exhibits
9/26/85 357 Copies of St. Croix's' mtification of the 1985 off-reservation deer hunting
aqreement and the 1985 off-reservation migratory bird agreement.
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9/27/85 | 359 | Ratification by Red Cliff Band of Lake Superior Chippewa of bird hunting season.
9/27/85 | 360 | Ratification of Agreement on deer hunting season by Red Cliff Band of Lake
Superior Chippewa.
9/30/85 | 361 |Stipulation re: correcting typo errors in 1985 Deer HuntingSeason Agreement.
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11/15/85} 365 | Order confirming trial date of 12/9/85. cc. mld.
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12/11/85 371 | Civil courtroon minutes of 3rd day court trial. Cleland & Alan News] tesco)
12/12/85) 372 Civil courtroom minutes of 4th day court trial. Newell testimony CONC Ines - ,
12/13/85| 373 |Civil courtroom minutes of 5th day court trial. Newell & Robert Birmingham
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12/16/85 374 Civil courtroom minutes of 6th day court trial, Transcripts ordered prepared;
brfg ordered. Hrg to be set after last brief filed.
12/19/85 375 |ORDER that ct reptr inform clerk when transcripts mailed to counsel; brfg then
commences; hrg to be set. cpys mld.
t/146/86 376 \Transcript of 3rd day Court Trial; 12/11/85.
1/14/86 | 377 |Transcript of 4th day Court Trial; 12/12/85.
1/15/86 | 378” Transcript of ist day Court Trial; 12/9/85.
1/15/86 | 379° Transcript of 6th day Court Trial; 12/16/85, a.m.
1/15/86 | 380 Transcript of 6th day Court Trial; 12/16/85, p.n.
1/15/86 | 381° [Transcript of 2nd day Court Trial; 12/10/85 a.m.

 

 

 

 
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Pitf Red Cliff Band's post-trial statement

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Pltfs' response to Red Cliff Band's post-trial statement

Pitf's responsive brief

Ratification Agreement re: Chippewa Indian Subsistence Off-Reservation Treaty
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Stipulation re: 1986 Chippewa Indian Subsistence Off-Reservation Treaty

Open Water Spring Fishing Season Agreement w/Agreement attached. (4/9/86)
Intermim Consent Order & Injunction on #398. cpys mld. (4/9/86)

Ratification of #398 & 399 by St. Croix Chippewa Indians of Wis.

Civil courtroom minutes of hrg on matters briefed following court trial of
12/9/85-12/16/85. Arguments heard. Court will enter written memo.

MEMO (JED) on hrg of 4/16/86 describing manner which Court proposes to proceed
“Eo decision on issues of 12/85 trial & setting brfg schedule. cpys mld.

Red Cliff Band's ratification of 1986 Chippewa Indian Subsistence Off-Reservatior
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Ratification of Agreement/ Bad River Band'sagreement governing 1986 Chippewa
Indian Subsistence Off-Reservation Treaty Open Water Spring Fishing Season
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Ratification of agreement re: off-reservation ricing season.
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Ratification of Agreement of off-reservation ricing season.
Ratification of Agreement-1986 Chippewa Indian Ricing Season
STIPULATION re: 1986 Migratory Bird Hunting; Bear Hunting; Deer Hunting Season
Agreements.
Agreement on 1986 Migratory Bird Hunting Season.
Agreement on 1986 Deer Hunting Season.
Agreement on 1986 Bear Hunting Season.

INTERIM CONSENT ORDER & INJUNCTION ENTERED re: 1986 Off-Reservation Treaty
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9/23/86 426 |Bad River's Ratification of Agreements of 1986 Chippewa Indian Off-Reservation
Migratory Bird, Bear & Deer Hunting Seasons :
9/24/86 | 427 |Pltf£ Lac Courte Oreilles's Ratification of 1986 Migratory Bird Hunting Season
10/2/86 |428 Stipulation as to 1986 small game hunting season
10/2/86) 429 INTERMINCONSENT ORDER & INJUNCTION re:1986 off-reservation treaty small game
hunting season. cpys mld.
10/8/86 430 Ratification by Sokaogon Chippewa of 1986 Chippewa Migratory Bird Hunting Ordinance
10/8/86 431 Ratification by Sokaogon of 1986 Ricing Season entered as interim #429
10/10/86 | 432 Ratification by St. Croix for 1986-87 Chippewa Small Game Hunting Season
10/15/86| 433 |Ratification by Sokaogon of 1986 Migratory Bird, Bear & Deer Hunting Season
10/15/86 | 434 Ratification by Lac du Flambeau of 1986-87 Small Game Hunting Season
0/27/86 | 435 | Ratification by Bad River of Lake Superior of 1986-87 Small Game Hunting Season
11/5/86 436 |Ratification of Agreements between Red Cliff & Lac Courte Oreilles
12/5/86 | 437 |Ratification of agreement re: 1986-87 Chippewa Indian Off-Reservation Treaty
Trapping Season.
12/8/86 | 438 STIP. re: 1986-87 Trapping Season Agreement & Ice Fishing Season Agreement.
12/8/86 | 439 INTERIM CONSENT ORDER & INJUNCTION re: 1986-87 Trapping Season Agreement & Ice
Fishing Season Agreement. cpys mld. (Agreements attached)
12/9/86 | 440 |Ratification of Agreements of 1986-87 Chippewa Indian Off-Reservation Trappin
& Ice Fishing Seasons ,
12/11/86; 441 |Ratification by Lac Courte Oreilles of 1986-87 trapping & ice fishing agreement
12/11/86] 442 |Ratification by Bad River Band of 1986-87 Off-Reservation Teaty Ice Fishing
12/11/86; 443 |Ratification by Bad River Band of 1986-87 Off-Reservation Teaty Trapping Season
12/12/86} 444 |Ratification by St. Croix for 1986-87 Trapping Season
12/12/86) 445 |Ratification by St. Croix for 1986-87 Ice Fishing Agreement
2/4/87 | 446 |ORDER (JED) directing defts to file brief by 2/13/87 stating their position on
certain points relating to their mo. to dismiss (#251) filed on 1/30/85.cc mld.
2/10/87 | 447 (ISTIP & ORDER that Atty Schlender may withdraw as atty for LCO; Atty Zorn remains
as counsel. cpys mld.
2/13/87 | 448 | Defts' brief oursuant to court order of 2/3/87.
2/18/87 | 449 *OPINION & ORDER (JED) re: Phase I of Dec. 1985 trial. (SEE Order for details)
cpys mld.
2/23/87 | 450 | ORDER (JED) directing clerk to enter "partial declaratory judgment." (See Order
for details) cpys mld.
2/23/87 451 | Pltf's brief in response to Court's 2/3/87 Order.
2/23/87 | 452 | PARTIAL DECLARATORY JUDGMENT entered on #450. (See Judgment for details)cpys mld.
2/25/87 | 453 | Defts' notice of & mo. to amend judgment re: Rule 54(b), FRCP.
"24-87 | 454 |No of appeal by defts of partial judgmt entered 2-23-57. FEE PD cc: parties
3/30/87 | 455 iDefts' Brf in spt of mo for Rule 54(b) Certification.
3-31-87 1 456 |Ltr req from pltfs to include(#385, #387, #391 & #395).
4/3/87 | 457 Stipulation & attached Agreement.
4/3/87 458 | Deft's Memorandum in response to suggestion of mootness.
4/8/87 459 | Ratification of Agreement by St. Croix Chippewa Indians governing the 1987
Chippewa Indian Subsistence Off-Reservation Open Water Spring Fishing Season
4/10/87 ; 460 | Cetrm Min., Mo. Hrg., BBC, apps: Howard Bichler, Katherine Tierney, Milt Rosenberg
James Zorn, Earl Chariton, Candy Jackson for Pltfs; Chas Larsen, Michael Lutz for
Defts. Consent orddersigned; S.C. set 5/1/87; J.T.: 3/21/88.

 

 

 
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4/13/87 461 | Interim consent order and injunction. Cys. mld.
4/15/87, 462 | Ratification of Agreement by Pltf Lac du Flambeau Band.
4/17/87 | 463 | Ratification of Agreement by Pltf Lac Courte Oreilles Band.
4/17/87 464 | Ratification of Agreement by Pltf Bad River Band.
4/17/87 465} ORDER ON 4/10/87 HRG ON PROPOSED AGREEMENT COVERING SPRING FISHING ACTIVITIES.
(BBC)
4-20-87 466 jOrder that defts' mo for amendmt of part judgmt on 2-23-87 is DENIED. BBC cc mld
4/29/87 | 467| Pitfs' Prop. Schedule & Memo on Sc. ope of Further Proceedings
5/4/87 468 | ORDER on status conf.; Atty. Hassett to file mot. to intervene by 5/22/87;
brfg. set on mot. to intervene; counsel to submit briefs as to regulatory
phase of trial; discovery, etc. deadlines set; fptc 2/18/88, 4:00 p.m.;
pretrial briefs due 3/4/88. (BBC)
5/8/87 469 Ratification of Agreement by Pltff Red Cliff Band of Lake Superior Chippewa.
5/19/87 | 470 | Defts' mot. for ext. of time to file brief (State of WI).
5/19/87 | 471 | Affid. of Mary V. Bowman in support of State's mot. for ext.
5/19/87 472 | Deft. State of WI's notice of mot. for ext. of time.
5/21/87 473 Mot. of Muskies, Inc., to intervene.
5/21/87 | 474 | Intervenor's brief in support of mot.
5/21/87 | 475 | Affid. of William Davis in support of mot. to intervene.
5/21/87 | 476 | Affid. of James Holperin in support of mot. to intervene.
2/51/87 238 cai fid- of Stephen 2. Schuitz in support of mot. to intervene.
5/22/87 | 479 | Order granting defs an ext of time until 6/5/87 ty cee & fale thee brief
on the standards that in defs' opinion should govern the regulatory phase of
this litigation; pltfs reply due 6/15/87;(BBC) .
6/2/87 480 |ORDER & Stip. to thé w/drawal of David J. Siegler as atty for Bad River Band
of L. Superior Tribe of Chipp. Indians. (BBC)
6/8/87 481 | Defts' Brf on Scope of STate Authority to Regulate
6/12/87 | 482 Pitf's Memorandum in Oppos to Mo to Intervene by Muskies, Inc.
6/12/87 | 483 | oRDER amending briefing schedule on legal standard applicable to the state's
regulatory authority (BBC)
6/19/87| 484 | Reply Memorandum in spt of Mo to Intervene by Muskies, Inc. ;
6/24/87| 485 | ORDER that defs' mo to dismiss for want of subject matter jurisd. DENIED ; defs.
mo. to dsm St of WI as a def is GRANTED w/respect to pltfs' §1983 claim only.
Pet for attys fees of pltf LOC GRANTED & briefing set; (BBC) 6/23/87
6/25/87 | 486 | Pltf's reply brief on scope of State authority to regulate tribal activities.
6/30/87| 487 Defts' identification of resources subject to regulation and current applic.
7-7-87 |488 | No of appeal Wyedctie wr 6-23-87 order. no—FEE—2p. (FEE PD)
" 489 Defts' statemt regarding objections to attys fees.
7/7/87 490 |State's Response on Pre-Emption by Tribal Self-Regulation
7/8/87 491 Pitfs' Letter Notification that it will not seek leave of the Crt to file a
responsive brief to State's Ju.6, 1987 "State's Response on Pre-emption by
Tribal Self-Regulation"
7-17-87 492 |Appellants' statemt of issues on appeal.
7-21-87 493 iLtr frm Atty Bowman & McDermott re:documts to go to 7th cir on appeal.
7-22-87 | 494 | Ltr req to include #466 by Atty McDermott.
7/22/87 495 |ORDER, BBC, directing Pltfs to file reply brf by 8/3/87 on Pre-emption
submission.
7/23/87 | 496 Lac Courte Oreilles' letter confirmation of no reply brief on atty. fees.
7-23-87 | 497 Ltr req to include documts in USCA record by Atty Tierney.
7/27/87 |498 | Pltfs'. Document Production Req to St of Wis.
" 499 |Pitfsfirst interrogs to defts in regulatory phase.
8/3/87 500 |Pltf Tribes' Identification of Activities subject to Tribal Regulation. .
" 501 [Pltfs' Reply Brf on Preemption of St Regulation of member usufructuary activity.

 

 

 
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8/6/87 502 ORDER that mot. to intervene by Muskies, Inc., is DENIED. (BBC) (8/5/87)
8/14/87 | 503 | Stipulation on 1987 off-reservation ricing.

8/17/87 | 504 | INTERIM CONSENT ORDER AND INJUNCTION governing off-reservation ricing activities
during 1987 season. (BBC) ce mld. (8/14/87)

8/17/87 505 Affid. of mlg. re interim consent order and inj. by State of WI.

8/18/87 506 Ratification of agreement re ricing season, 1987.

8/21/87 507 | ORDER that the state may regulate the exercise of the pltf tribes' off-reserv.

usufructuary rts in the interest of conservation & in the interest of the
public health & safety as set forth in this op. The state may not regulate in th
interest of any other purpose. State's request for ruling that it may regulate tc
ensure tribal adherence to a moderate living standard DENIED. ORDER that effec-
tive tribal self~regulation of pltf tribes' members in exercise of their off-res
rts precludes concurrent st reg. Developmt of a precise standard for determining
when tribal reg. is effective is set for further briefing; (BBC)
8/21/87 | 508 | ORDER setting add'l briefing on pltfs' atty fees; (BBC)

8/24/87 | 509 | Ratification of 1987 Chippewa Indian Off-Reservation Treaty Ricing Season

Agreement, by Sokaogon Chippewa Community, Mole Lake Band.
8/25/87 | 510 | Ratification of 1987 Ricing Agreement by St. Croix Tribes.
8/26/87] 511 Ratification of 1987 Ricing Agreement by L. Superior Chippea Indians

8/26/87) 512 Defs' Mo for Immediate Stay of Specified Proceedings; & Alt. Mo for Such Stay
8/26/87 513 ORDER amending last paragraph of 8/20/87 order to reference atty. fees submitted
by pltfs. (BBC)

8/26/87 | 514 | Order that defs' mo for a STAY of briefing schedule entered on 8/20/87 is DENIED
as is defs' alt. mo. for a STAY: (BBC)

8/28/87 515 |Ratification of 1987 Ricing Agreement by Pltf Bad River Band.

8/31/87 |516 |Defts' Response to Pltfs' First Document Production Request.

8/31/87 |517 | Defts' Response to the Pltfs' First Interrogs to Defts in Regulatory Phase.
8/31/87 | 518 |Defts' Objections to Specific Request for Attys' Fees submitted by Pltts.
9/8/87 519 |Order that pltfs may have until 9/15/87 to respond to defs' objections to

Specific Request for Attys' fees. BBC (9/3/87)
)-4-87 520 | Opinion frm USCA that appeal is DISMISSED w/sanctions.
9/10/87 521 Ratification of agreement on off-reservation open water fishing by Red Cliff.

9/10/87 | 522] Ratification of agreement on off-reservation ricing by Red Cliff.

9~3-87 523 | Order frm USCA that mo is DENIED re: writ of ibiti
: Manda &
9/11/87} 524] ORDER on status conf. Order of 8/21/87 vacated as to schedul the Yequirements;

counsel agree to follow schedule in order of 5/4/87; amending 8/21/87 order

by deleting final four sentences; brfg. set on atty. fees w/reply due 9/21/87.
(BBC) ce mld. (9/10/87)

9/11/87 | 525 | Deft St of WI Mo for Clarification of 2/18/87 Opinion & order, or in alternative,
joinder of persons needed for just adjudication.

9/15/87 | 526 | Deft. lst set of interrog. to Lac Du Flambeau Indians in regulatory phase.
9/15/87 | 527 | Deft. Ist docu. prod. req. to Lac Du Flambeau Indians in regulatory phase.
9/15/87 | 528 Deft. Ist docu. prod. req. to Bad River Indians in reg. phase.

9/15/87, 529 | Deft. lst set interrog. to Bad River Indians in reg. phase.

9/15/87} 530 | Deft. Ist doc. prod. req. to St. Croix Chippewa Indians in reg. phase.
9/15/87; 531 | Deft. Ist set interrog. to St. Croix Chippewa Indians in reg. phase.
9/15/87} 532 | Deft. Ist doc. prod. req. to Sokaogon Chippewa Indians in reg. phase.
9/15/87; 533 Deft. lst set interrog. to Sokaogon Chippewa Inians in reg. phase.
9/15/87, 534 Deft. lst doc. prod. req. to Red Cliff Band Indians in reg. phase.

 

 

 
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9/15/87 535 Deft. lst set interrog. to Red Cliff Indians in reg. phase.
9/15/87| 536 | Deft. lst doc. prod. req. to Lac Court Oreilles Indians in reg. phase.
9/15/87 537 Deft. lst set interrog. to Lac Courte Oreilles Indians in reg. phase.
9/15/87) 538 Deft. statement re: expert witnesses.
9/15/87, 539 | Deft. statement re: proposed regulatory measures.
9/16/87, 540 | Pitf.'s response to Deft. objections to attorney's fees.
9/18/87 541 | ORDER setting brfg. on defts' mot. for clarification of order entered 2/18/87.
B
9/18/87 542 {BRC consent order and injunction governing off-reservation
deer hunting activities of members of pltf. Tribes except Bad River Band
during 1987 off-reservation treat deer hunting season. (BBC) cc mld.
9/18/87 543} Stipulation and agreement on off-reservation deer hunting-1987.
9/18/87 544} Interim consent order and injunction governing 1987 Chippewa Indian off-reserva-
tion mogratory bird hunting, bear hunting and small game hunting seasons.
(BBC) cc mld. (Bad River Band excluded as to bear and small game)
9/18/87 545 | Stipulation and agreements as to migratory bird, bear and small game hunting
seasons~1987 treaty off-reservation.
9/21/87 546 Sokaogon's ratification of 1987 Chippewa Indian Off-Reservation Treaty
Bear Hunting, Deer Hunting, Small Game Hunting, and Migratory Bird Hunting
season agreement.
9/21/87 547 Certification of election results and certificate of service of Lac Du Flambeau
band.
9/21/87 548 Lac Du Flambeau band' Ratification of 1987 Off-Reservation Deer Hunting Agreemnt
9/21/87 549 Deft State's Brief in support of motion to clarify or in the alternative to
join parties needed for just adjudication.
9/21/87 ; 550 Affidavit of Guy Rodgers.
9/22/87 | 551 | Letter of AAG Stephen Nicks w/drawing portions of objections filed by AAG
McDermott re:Attys' fees in this action (filed 9/10/87)
9/22/87 552 | Response of James M. Jannetta to Deft's objections to attorney's fees.
9/22/87 553 | Red Cliff Band's ratifications of the 1987 Chippewa Indian Off-Reservation
Bear, Deer, Small Game and Migratory Bird Hunting Agreements.
9/23/87 | 554 | Defs' Statement correcting Witness List to show first expert's correct name
is Professor Richard Bishop
9/23/87 | 555 | Ratification of Agreement by LOC re:1987 Chippewa Ind. Off-Reservation Migratory
Bird Hunting Season
9/23/87 | 556 | Ratification of Agreement by LOC re: 1987 Chippewa Ind. Off-Reservation
Bear Hunting Season
9/23/87 | 557 | Ratification of Agreement by LOC re: 1987 Chippewa Ind. Off-Reservation
Small Game Hunting Season
9/28/87 | 558 Defts' Second Set of Interrogs to Lac Du Flambeau Band of Lake Superior in
Regulatory Phase.
9/28/87 | 559 Defts' second document production request to Lac du Flambeau Band of Lake
Superior Chippewa Indians in regulatory phase.
9/28/87 | 560 Defts' second set of interrogs to Bad River Band of Lake Superior Chippewa
Indians in regulatory phase.
9/28/87 | 561 Defts' second document production request to Bad River Band of Lake Superior
Chippewa Indians in regulatory phase.
9/28/87 | 562 Defts' second set of interrogs to St. Croix Chippewa Indians of WI in
regulatory phase.
9/28/87 563 | Defts' second document production request to St. Croix Chippewa Indians of WI
in regulatory phase.

 

 

 
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9/28/87 564 Defts' second set of interrogs to Sokaogon Chippewa Indian community, Mole Lake
Band of WI in regulatory phase.
9/28/87; 565 Defts' second document production request to Sokaogon Chippewa Indian community,
Mole Lake Band of WI in regulatory phase.
9/28/87| 566 | Defts' second set of interrogs to the Red Cliff Band of Lake Superior Chippewa
Indians in regulatory phase.
9/28/87, 567 | Defts' second set of interrogs to the LCO Band of Lake Superior Chippewa
Indians in regulatory Phase.
9/28/87| 568 | Defts' second document production request to the LCO Band of Lake Superior
Chippewa Indians in regulatory phase.
9/28/87 569 | Defts' second document production request to the Red Cliff Band of Lake Superior
Chippewa Indians in regulatory Phase.
9/29/87 570 Ratification of Agreements of 1987 Chippewa Indian Off-Reservation Migratory
Bird, Bear, & Small Game Hunting Seasons.
9/29/87 571 Pltfs' Notice of Depositions on Oct 6 & 7, 1987 of: James T. Addis, Ronald J.
Poff, Michael D. Staggs, w/Cert. of Service.
10/1/87 572 | Ratification of Deer Hunting season by St. Croix Chippewa Indians of WI.
10/1/87 | 573 | Ratification of Bear Hunting season by St. Croix Chippewa Indians of WI.
10/1/87 574 | Mot. by Lawrence Krak to file amicus brief re trial issues.
10/2/87 | 575 Certified Cy of Judgment of 7th Cir. Dismissing w/Sanctions against defts.
Pltfs to submit verified stmnt of expenses incurred, to 7th Cir.
10/2/87 | 576 | Certified Cy of Opinion of 7th Cir.
" No record to be ret'd.
" 577 | Defts' third set of interrogs to Lac du Flambeau Band of Lake Superior Chippewa
Indians in Regulatory Phase.
" 578 | Defts' third document production request to Lac du Flambeau Band of Lake Superior
Chippewa Indians in Regulatory Phase.
" 579 | Defts' third set of interrogs to Bad River Band of Lake Superior Chippewa
Indians in Regulatory Phase.
" 580 | Defts' third document production request to Bad River Band of Lake Superior
Chippewa Indians in Regulatory Phase.
" 581 | Defts' third set of interrogs to St. Croix Chippewa Indians of
Wisconsin in Regulatory Phase.
" 582 | Defts' third document production request to St. Croix Chippewa Indians of
Wisconsin in Regulatory Phase.
" 583 | Defts' third set of interrogs to Sokaogon Chippewa Indian Community,
Mole Lake Band of Wisconsin in Regulatory Phase.
" 584 | Defts' third document production request to Sokaogon Chippewa Indian Community,
Mole Lake Band of Wisconsin in Regulatory Phase.
" 585 | Defts' third set of interrogs to Lac Courte Oreilles Band of Lake
Superior Chippewa Indians in Regulatory Phase.
" 586 | Defts' third document production request to Lac Courte Oreilles Band of Lake
Superior Chippewa Indians in Regulatory Phase.
" 587 | Defts' third set of interrogs to Red Cliff Band of Lake Superior
Chippewa Indians in Regulatory Phase.
" 588 | Defts' third document production request to Red Cliff Band of Lake Superior
Chippewa Indians in Regulatory Phase.
10/5/87 589 Stipulation to videotape depo. during regulatory phase of trial.
10/7/87 590 | Pltfs' Notice of Depositions Duces Tecum for J. Addis.(Pltf Lac du Flambeau Band)
w/eert of service
10/8/87 591 | Order extending briefing on Defs' Mo to Clarify or Join Parties; (BBC)

 

 

 
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10/13/87{592 |Depo of Ronald J.POff taken 10/5/87
10/13/87|593 |Pltf Bad River Band's Response to Request for Pro. of Documents
10/13/87 |594 |Pltf£ Bad River Band's Response to Defs' Ist Interrogs to Pltfs in Reg. Phase
10/13/87/595 |P1tf Lac du Flambeau Band's Response to Defs' Ist set of Interrogs in Reg. Phase
10/13/87/596 |Plt£ Lac du Flambeau Band's Response to Defs' lst Document Request
10/15/87 | 597 | Pltfs' Joint Statement re: expert witnesses.
10/16/87 598 | Pltf Red Cliff Band's Answer to Defts' First Set of Interrogs, in regulatory
phase.
10/16/87 599 | Pltf Red Cliff Band's Response to deft's first document production request in
regulatory phase.
10/19/87, 600} Pitfs' Jt. brief in oppo to State's mot. to clarify and alternative mot. for
joinder.
10/21/87] 601 Response of Pltf St Croix Chippewa Indians of WI, to Defs' lst Set of Interrogs
in Regulatory Phase
10/26/87 | 602 Deposition of James Addis taken October 12,1987.
10/26/87 | 603 Deposition of Ronald J. Poff taken October 6, 1987.
10/26/87 | 604 Deposition of James T. Addis, taken October 13, 1987.
10/27/87; 605 Ratification of agreement by St. Croix Chippewa Indians re off-reservation smal]
game.
10/27/87; 606 Ratification of agreement by St. Croix Chippewa Indians re off-reservation
migratory bird hunting.
10/27/87, 607 | Defts' revised statement regarding expert witnesses.
10/27/87! 608 | Defts' summary of testimony of expert witnesses.
10/27/87] 609 Pltf's response to defts' lst interrogs in regulatory phase. (copy)
10/27/87) 610 | Pltf£'s response to req. for docu. (copy)
10/29/87 | 611 Defs’ Reply Brief in Supp of Mo to Clarify/Alt to Join Parties Needed for Just
Adjudication
10/30/87! 612 Pltf's Summary of Testimony of Expert Witnesses
10/30/87} 613 Pltf Tribes' Notice of Depositions re:Paul Driben, Richard Ryder & P. Colby
11/2/87 | 614 Pltf Tribes' Notice of Depositions re: Steve Miller, Homer Moe, George E. Meyer,
Ralph Christensen, w/cert. of service.
11/3/87 | 615 | Stip & Consent Order for W/Drawal of James E. Zorn and substitution of Sarah
Lewerenz as counsel for pitf Lac Courte Oreilles bank of L. Superior Chippewa
Indians. (BEC)
11/4/87 | 616 | Ratification of Agreement between the Tribal & State Parties Governing the
1987-88 Chippewa Indian Off-Reservation Treaty Trapping Season
11/5/87 | 617 Pltf. Bad River Band's response to defts' 2nd docu. req.
11/5/87 | 618 | Pltf Bad River Band's response to defts' 2nd set of interrogs re regulatory
phase.
11/9/87 619] Pltf's Response to Defts first interrogs to Pltfs in Regulatory Phase.
11/12/87, 620 | Order that Pltf Lac Courte Oreilles Band of Lake Superior Chippewa Indians
is awarded attorneys" fees and costs in the amount of $166,722.24, to be paid to
pltf£ no later than 12/1/87;(BBC) 11/10/87
11/12/87 | 621 | Judgment entered on pltf's atty fees & costs;cpys mld (JWS)
11/16/87] 622 |Pltf's Answer to Defts' Second Set of Interrogatories, Regulatory Phase.
" 623 Pltf£'s Response to Defts' Second Document Production Request in Regulatory Phase.
11/17/87, 624 | Pltfs' notice of depos. re Frank w/certif. of service. (copy)
11/18/87 | 625 | Pltf Lac du Flambeau Band of L. Superior Chippewa Indians Respone to Defs'
2nd Document Request
11/18/87 | 626 | Pltf£ Lac du Flambeau Band's Response to Defs' 2nd Set of Interrogs in Reg. Phase
11/20/87 | 627 Stipulation re: interim consent order & injunction.
11/20/87 | 628 | Pltf St Croix Chippewa Indians of WI's Response to Defts' Second Set of Interrog
11/20/87 | 629 | Pltf 3t Croix Chippewa Indians of WI's Response to Defts' Second Doc. Request.
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11/24/87| 630 Interim Consent Order and Injunction to govern the off-reservation treaty
trapping activities of members of the plaintiff Tribes, except the Bad River
Band, during the 1987-88 off-reservation treaty trapping season to commence
as of this date and continue through Sept 15, 1988; (BBC)
11/24/87} 631 Defts' notice of depo. re Busiahn, Kmiecik, Ebener, Shively, David and Gilbert
w/o affid. of mlg.
11/25/87, 632} Pltfs' Notice of Depo of Richard C. Bishop on 12/1/87
11/25/87, 633 | Subpoena Duces Tecum to Richard C. Bishop on 12/1/87
11/25/87, 634) Deposition of Steven W. Miller on 11/4/87
11/25/87, 635 | Deposition of Ronald Cummings on 11/19/87
11/27/87} 636 Pltf Tribes' Revised Statement re: Expert Witnesses in Regulatory Phase.
" 637 Pltf Lac du Flambeau's Ratification of Trapping Agreement.
2/2/87 638 Video Depo of James Thannum taken 11/9/87 (transcript)
.2/2/87 639 | Defs' No & Mo to Compel Discovery RE: Defs' 2nd Set of Interrogs.
2/2/87 640 | Affidavit of Stephen J. Nicks in Supp of Mo to Compel Discovery Re: Defs' 2nd
Set of Interrogs.
2/2/87 641 Defs' No & Mo for Order Compelling Discovery & For Sanctions for Refusal to
Cooperate in Discovery :
2/2/87 642 | Affidavit of Stephen J. Nicks in Supp. of Mo. (#641)
12/4/87 | 643 Defts' Fourth Set of Interrogs to Lac Du Flambeau Band of Lake Superior
Chippewa Indians in regulatory phase.
" 644 Defts' Fourth Set of Interrogs to Bad River Band of Lake Superior Chippewa
Indians in regulatory phase.
" 645 Defts' Fourth Set of Interrogs to St. Croix Chippewa Indians of WI in
regulatory phase.
" 646 Defts' Fourth Set of Interrogs to Sokaogon Chippewa Indian Community, Mole Lake
Band of WI in regulatory phase.
" 647 Defts' Fourth Set of Interrogs to Red Cliff Band of Lake Superior Chippewa
Indians in regulatory phase.
" 648 Defts' Fourth Set of Interrogs to Lac Courte Oreilles Band of Lake Superior
Chippewa Indians in regulatory phase.
" 649 Pltf Lac Courte Oreille Tribe's First Set of Interrogs to Defts in regulatory
phase.
12/7/87 | 650 Depo of Paul Driben on 11/5/87. Vol. #1 (Pgs 1-59)
12/7/87 |651 Depo of Paul Driben on 11/5/87. Vol. #2 (Pgs 60-120)
12/7/87 |652 Depo of Richard A. Ryder on 11/5/87. Vol. #1 (Pgs 1-69)
12/7/87 | 653 | Depo of Richard A. Ryder on 11/5/87. Vol. #2 (Pgs 70-146)
12/8/87! 654 | Deposition of James M. McClurken, taken 11/17/87.
12/8/87} 655 Deposition of Charles E. Cleland, taken 11/17/87.
12/9/87 | 656.| Defs' No & Mo for Partial S/J
12/9/87 | 657. | Brief in Supp of Defs' Mo for Partial S/J
12/9/87 | 658+ | Affidavit of James Addis in Supp of Defs' Mo for Partial S/J
12/9/87 | 659- | Affidavit of Steven W. Miller in Supp. of Defs' Mo for Partial S/J
12/9/87 | 660° | Affidavit of Burneatta L. Bridge in Supp of Defs' Mo for Partial S/J
12/9/87 | 661 | Defs' Letter State of Summary of Testimony of Expert Witnesses Drs.Gross & Kottak
12/11/87| 662 Ctrm Min., Hrg on Motions, BBC, Apps for Pitfs: Katherine Tierney, Howard
Bichler, Sarah Lewerenz, Milt Rosenberg, Candy Jackson (Charleton not present);
For Defts: Stephen J. Nicks, AAG, Lisa Levin, Burneatta Bridge, David Gilles.
Pltf to pay costs for expenses incurred in depo's of expert witnesses.
Brfg to be set on Mo for Partial S/J. State to submit ltr re: portion of
interrogs; Up-dated management plan to be fld by 1/11/88; up-dtd regulations to
follow.
12/14/87| 663 | ORDER, directing Pltfs to reimburse defts for expenses re: depo's of expert

 

 

 
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witnesses; Dr. Cummings in protected from answering only those questions
that relate to settlement discussion. Brfg set on defts' mo concerning
allocation. Cnsl for Mole Lake Band to advise Ct of status of his
representation or OTSC to be set (BBC)
12/16/87 664, Defs' Revised Questions 13, 32, 43 and 44 from Defts' 2nd set of interrogs.
(per order of 12/11/87)
12/17/87 665, Pltf's response to defts' 3rd set of interrogs.
12/17/87 666, Pltf's response to defts' 3rd docu. req.
12/17/87; 667, Pitfs' not. of depo re Scovel (copy) w/affid. of mlg.
12/17/87 668, Pltf Sokaogon Chippewa's response to defts' Ist set of interrogs. in regulatory
phase. (copy)
12/18/87) 669 | Depo of Peter J. Colby taken by pltfs on 11/6/87 ppl-64
12/18/87} 670 | Depo of Peter J. Colby taken by pltfs on 11/6/87 pp 65-130 (Exh.#1 rec'd 12/24/87)
12/18/87, 671-|Defs' Prop Findings of Fact & Concl. of Law
12/21/87 672; Pltf Red Cliff Band's Answer to Defts' Third Set of Interrogs in Regulatory
Phase.
" 673; Pltf Red Cliff Band's Response to Deft's Third Doc. Production Request in
Regulatory Phase.
" 674 | Pltf Bad River Band's Response to Deft's Third Set of Interrogs to Pltfs in
Regulatory Phase.
" 675 | Pltf Bad River Band's Response to Request for Prod. of Doc's.
12/22/87, 676 | Pltf's Response to Defts' third set of interrogs in regulatory phase.
" 677~| Defts' Revised Proposed Findings of Fact & Concl of Law. in Supp of S/J #656
12/24/87 | 678 Pltf's St Croix Chippewa Indians Ratification of Agreement.
12/24/87 | 679 Response ofPltf St Croix Chippewa to Defts' third Doc. Request.
12/28/87, 680} Pltf£ Red Cliff Band's first set of interrogs in regulatory phase to St of WI.
" 681 | Pltf Red Cliff Band's first doc. production request to St of WI in regulatory
phase.
12/30/87, 682) Bad River Band's lst set of interrogs to defts ~- regulatory phase.
12/30/87, 683) St. Croix Chippewa's Ist req. for prod. of docu to defts-regulatory phase.
12/30/87, 684! St. Croix Chippewa's lst interrogs to defts-regulatory phase.
12/31/87 685 | Pltf£ Lac du Flambeau Band's Response to Defts' Revised Interrogatories #13,32,
43 & 44 fm second set of interrogs in regulatory phase.
12/31/87| 686! Pltf Lac du Flambeau Band's Response to Defts' Revised Interrogatories #13b
(inadvertently omitted from Doc. #685)
" 687 Pitf Red Cliff Band's Answers to Defts' Supp'l Interrogs #13, 32, 43, 44.
1/4/88 688 | Pltf Sokaogon Chippewa Indian Community, Mole Lake Band's Response to Defts'
First set of Interrogs in regulatory phase.
1/4/88 689 Pltf Mole Lake Band's Response to defts' first document request.
1/4/88 |690 | Pltf£ Sokaogon Chippewa Community Mole Lake Band's Response to Defts' Second and
Third Document Requests.
1/4/88 691 Pltf Sokaogon Chippewa Community Mole Lake Band's Response to Defts' second set
of interrogs in regulatory phase.
1/4/88 | 692 | P1tf Sokaogon Chippewa Community Mole Lake Band's Response to Defts' Third Set
of Interrogatories in regulatory phaw.
1/4/88 |693 |Pltfs' Joint Statement re: non-expert witnesses in regulatory phase.
1/4/88 694 Pitf Bad River Band's Response to Questions 13, 32, 43, 44 fm Defts' Second Set
of Interrogs,
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1/5/88 | 695 St. Croix's response to defts' revised interrogs #13, 32, 43 and 44.

1/5/88 | 696 Deposition of Gary F. Scovel, taken 12/22/87.

1/5/88 697 State's itemization and rationale for expenses re discovery dispute w/pltfs.
1/5/88 | 698 seoPe) ion of Larry Wawronowicz, taken 12/2/87.

1/5/88 | 699 Deposition of Scott McDougall, taken 12/2/87.

1/6/88 700° Pltfs' Joint Prop. Findings of Fact & Concl. of Law

1/6/88 | 701: Pltfs' Joint Response to Defs' Prop. Findings of Fact & Concl. of Law

1/6/88 702+) Pltfs' No & Joint Mo. for Partial S/J

1/6/88 703.| Pltfs' Joint Memo Opposing Defs' Mo for Partial S/J & in Supp. of Their Mo

for Partial 8/J
1/6/88 704 Transcript of Hrg before Judge Crabb on 12/11/87
1-6-88 705 Cert copy of order from USCA that pltf be award expenses, costs & fees are
GRANTED to Lac Du Flambeau in the amt of $1,762.74 & to WI Judicare in the amt
of $1,450.58.

1/8/88 706 Copy of Pltfs' Notice of Depos of Henry Regier, Kenneth Loftus, E.J. Crossman,

w/attached cys of subpoenas.

1/8/88 707 Copy of Pltfs' Notice of Depos of Frank Haberland, Chuck Pils, w/attached cys

of subpoenas.

1/8/88 708 Pltf Red Cliff Band's Answer to Defts' fourth set of interrogs in reg. phase.
1/11/88 709! Defts' Answers to Pltf LCO of Lake Superior Chippewa Indians’ First Set of

Interrogatories in Regulatory Phase, w/attached Exh. #1-22.
1/11/88 710; Piltf Lac Courte's response to defts' revised interrogs. #13, 32, 43 and 44.
1/11/88 711, Pltf Tribes' 2nd draft of Natural Resource Mgt Plans for Northern WI CGeded Terr.

1/12/88 | 712 | Order that defs' mo for clarification of the order of 2/18/87 and their

alternative motion for joinder are DENIED; (BBC)

1/11/88 713+| Defs' letter identifying 2 new issues in pltfs' joint Mo for Partial S/J with

proposed briefing schedule.
1/13/88 714 | Defs' Notice of Depos. & Subpoenas for H. Locke, J. Schlender, T. Busiahn, M.
Whitebird, K. Loftus, Dr. Oetting, Dr. G. Spangler

1/12/88 | 715-| Letter of Atty Tierney in agrement w/proposed briefing schedule of defs on
pltfs' partial s/j mo. & stating no objection to State's Request for ext to
reply to pltfs' responsive brief on State's partial s/}j Mo.

1/14/88, 716+) Defts' response to pltfs' proposed findings and concl re NR 13.

1/14/88{| 717 -| Defts' reply brief on mot. for s/j and defts' statement of non-oppo to "case or
controversy" issue raised in pltfs' joint mot. for partial s/j.

1/15/88| 718 4 Defts' Response to Pltfs' Remaining Findings of Fact & Concl. of Law.

1/15/88} 719 + Defts' Responsive Brief re: Pltfs' Joint Motion for Partial S/J.

1/20/88 720 | Defs' Notice of Deposition of Raymond K. Anderson on 1/28/88
1/20/88 | 721 Subpoena Duces Tecum for Raymond K. Anderson
1/21/88 | 722 | Notices of depo. re Cummings, Gethes, Locke and Schwallenberg w/subp. (copies).
1/22/88 723 Pltfs' Reply Brief in spt of Joint Mo for Partial S/J.

1/22/88; 724+ Pitf Red Cliff's Reply Brief on Allocation and Case or Controversy.

1/25/88 725 | Pltf Lac du Flambeau Band's Response to Defts' Fourth Set of Interrogs in

Regulatory Phase.

1/25/88 726 Pltf Bad River Band's Response to Deft's Fourth Set of Interrogs in Reg. Phase.
1/29/88 | 727 | Pltf LCO's Response to Deft's Fourth Set of Interrogs. (Supplement rec'd 8/12/88)
2/2/88 728 Pltf£'s amended response to deft's 4th set of interross.

2/3/88 729 Pitf St. Croix Chippewa Ind.'s Response to Defs' 4th Set of Interrogs.
2/3/88 730 | Pltf£ Bad River Band's Supplemental Response to Interrgs No. 2 of Defs' Ist
Set of Interrogs in the Regulatory Phase
2/10/88 | 731 | Defs' Answers to Pltf Red Cliff's lst set of Interrogs. in Regulatory phase
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ORDER denying defts' mot. for partial s/j and denying pltfs' mot. for partial
s/j- (BBC) ce mld.

WORKING MEMORANDUM re trial procedures, requirements, etc. (BBC) cc mld.
Deposition of Franklin P. Haberland, taken 1/16/88.

Deposition of Charles M. Pils, taken 1/16/88.

Deposition of Richard C. Bishop, taken 12/1/87.

Deposition of George Meyer, taken 11/6/87.

Deposition of Joseph Frank, taken 11/18/87.

Deposition of Ralph Edward Christensen, taken 11/6/87.

Deposition of George R. Spangler, taken 11/13/87. (See revised transcr. #842)
Deposition of Homer E. Moe, taken 11/6/87.

Exhibits to Moe depo. taken 11/6/87.

Defs' Letter Outline of Phase II case
Deposition of Henry Regier, taken 1/14/88.
Deposition of Edwin Crossman, taken 1/15/88.

Deposition of Edwin Crossman, taken 1/19/88.

Pltf Mole Lake Band's Response to Deft's Fourth Set of Interrogs to Pltf in

Regulatory Phase.

ORDER ON FPTC held on 2/18/88. Set for Ct Trial on 3/21/88; Scheduling of add'l
sub-phases of Phase II of trial to be done upon completion of trial on 3/21/88
& entry of decision on the issues tried at that time. Deadlines for trial
submissions/brfs set; cnsl to agree among themselves as to any extensions.
Deadline set for Pltfs' Mo in Limine re: Dribben expert testimony. (BBC)

Defts' Ltr stating species which the state contends must be managed in the
interest of conservation.

Deposition of Robert Oetting, on 1/22/88.
Defs' Answers to Pltf Bad River Band's lst set of Interrogs in Regulatory Phase

Defs' Answers to Pltf St. Croix Chippewa's 1st set of Interrogs in Reg. Phase
Pltfs' No & Mo In Limine re:phrase "moderate,satisfactory living"

Affidavit of Kathry L. Tierney in Supp of Mo In Limine
Memo in Supp of Pltfs' Mo In Limine

Defts' Ltr stating activities State contends must be managed in interest of
public health & safety.

Pltfs' Statement re: Natural Resources & Management Requirements.

Affid. of David Gilles in oppo to pltfs' mot. in limine.

Defts' brief in oppo. to mot. in limine of pltfs.

 

Pltfs' Submission re: Activities & Health & Safety Regulation Requirements.

Pltf Red Cliff Band's Notice & motion to Preclude Testimony.

Pltf Red Cliff Band's Memo in spt of Mo to Preclude Testimony.

Excerpt of Proceedings held before Judge Crabb on 2/18/88 (FPTC)

Depo of Raymond K. Anderson, Ph.d. taken 1/28/88 (taken by defs

Depo of Robert Oetting, Ph.D. taken 1/22/88

Defs' Statement of Withdrawal of following activities:1)Use of pole traps, 2)Use
bf unattended lines and snagging; 3)Use of implant telemetry devices; 4)Setting
fishing nets w/out appropriate identification markings; 5)Hunting de@ without
back tag displayed (as more appropriately placed in the conservation realm)

Defts' Trial Brief for first subphase of Phase II, 3/21/88. . .
ORDER granting mot. in limine precluding Driben testimony; confirming resolution

between counsel re Bishop testimony; setting guidelines for trial 3/21/88. (BBC)
(3/11/88)

Pitfs' Pretrial Brief.

 

 
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3/14/88! 769] Depo of Jonathan Howard Gilbert, on 12/3/87.
3/14/88 770; Depo of Neil Kmiecik, on 12/3/87.
3/14/88} 771} Depo of Mark Ebener, on 12/2/87.
3/14/88 772| Depo of James J. Schlender, on 1/29/88.
3/14/88 | 773] Depo of Maynard R. Whitebird, on 1/29/88.
3/14/88; 774] Depo of Jimmy Dale Shively, on 12/3/87.
3/14/88| 775, Defts' Witness Disclosure.
3/15/88} 776] Plitfs' witness list.
3/18/88 777 Defts' Notice of Mo & Mo for Partial $/J.
3/18/88 778 | Defts' Proposed Findings of Fact & Concl of Law.
3/18/88 | 779 | Defts' Brf in spt of Mo for Partial S/J.
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3/18/88 | 780 | Depo of DeWayne Schwallenberg, on 1/30/88. (unsigned )Sign. page/Erxatg Bheet rec d
3/18/88, 781 | Depo of Hubert G. Locke, on 1/29/88. (unsigned)
3/18/88} 782 | Depo af Ronald G. Cummings, on 1/28/88. (unsigned)
3/21/88 783 Ctrm. minutes of Ist day Ct. Trial. Pltfs. by Tierney, Leverenz, Bruck,
Rosenberg, Jackson and Bichler; Nefts by Gilles, Nicks, Bridge and Levin.
Opening stmts., pltfs' case.
3/22/88 | 784 Depo of Thomas R. Busiahn, on 1/29/88.(Depo Exhibits rec'd 4/5/88)
3/22/88 |785 Depo of Thomas R. Busiahn, on 12/2/87. (Rec'd Exhibits 8/17/88)
3/22/88 | 786 Ctrm. minutes of 2nd day Ct. Trial. Pltfs' case cont'd.
3/23/88 787 Ctrm Minutes of 3rd day Ct. Tr. (BBC) Same apprs. Pltf & Def. rest. Briefing
schedule set w/tel status conf 4:30 4/12/88 w/Ms. Bridge placing call.
3/23/88 788 ORDER setting forth species stipulated to by parties that need management
and activities needing regulation for human health and safety. (BBC) cc mld.
3/24/88 | 789 | Ctrm Min., 4th day Ct. Trial. (BBC) Closing Arguments. Brfs due.
3/25/88 | 790 |Transcript of 3rd day of Ct Trial, on 3/23/88.
3/28/88 791 |Depo of David H Getches, on 1/29/88, w/attached errata sheet.
3/28/88 792 Pltfs' Joint Proposal on a Conference Strategy for Narrowing Issues in Reg. Phasa.
3/30/88 | 793 Transcript of Ist day of Court Trial, on 3/21/88. (Vol. 1)
3/30/88 | 794 Transcript of 2nd day of Court Trial, on 3/22/88. (Vol. 2)
3/30/88 | 795 Transcript of 4th Day of Court Trial, on 3/24/88. (Vol. 4)
3/31/88 | 796 Pitfs' letter req. for ext. of time to file post-trial subm. to 4/8/88.
4/4/88 | 797 Defts' Proposal on Joint Management Plan Approach.
4/8/88 | 798 Pltfs' Proposed Findings of Fact & Conclusions of Law in Ist subphase.
4/8/88 799 Pltfs' Reply to Defts' Proposal on Joint Management Plan Approach.
4/8/88 800 | Pltf Red Cliff Band's Proposed Findings of Fact & Concl of Law: Moderate Living
Subphase.
4/8/88 801 | Pltf£ Red Cliff Band's Reply to Defts' Proposal.
4/11/88, 802 Pltf Mole Lake Band's 1988 Chippewa Indian Off-Reservation Treaty Spring
Open Water Fishing Season Agreement.
4/11/88 803 [Stipulation re: 1988 Chippewa Indian Off-Reservation Treaty Spring Open Water
Fishing Season Agreement.
4/12/88 | 804 | Interim Consent Order and Injunction Governing the 1988 Chippewa Indian
Off-Reservation Treaty Spring Open Water Fishing Season (BBC)
4/13/88 |805 | Ratification of Spring Open Water Fishing Agreement Governing 1988 of Chippewa
Indian Off-Reservation Season
4/14/88 896 Ratification of agreement by St. Croix Chippewa Indians re off-reservation spring
spearing.
4/15/88 807 | Pltfs' Joint Memorandum in Oppos to Defts' Mo for Partial S/J.
4/15/88 | 807a

 

 

 

 

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Pitfs Jt Resp to Defs' Prop- Findings & Conel. ef Law

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4/15/88 | 808 | ORDER on scheduling conference held 4/12/88. Hrg. as to next subphase of trial
set for 4/20/88, 1:30 p.m. (BBC)

4/18/88 | 809 | Pltf Bad River Band's Ratification of Spring Open Water Fishing Agreement.

4/18/88 810 |Defts' Post Trial Brief for first subphase of Phase II, 3/21/88.

4/18/88 | 811 |Defts' Proposed Findings of Fact and Concl of Law.

4/20/88 812 |Ratifaction of Agreement Governing 1988 Chippewa Indian Off-Reservation Treaty
Spring Fishing.

4/21/88 | 813 | ORDER on Status Conference held on 4/20/88. Deadlines set for advising Ct of
status of issues to be tried; disclosure of witnesses. Trial set: 10/11/88.
Further scheduling conferences to be held as necessary. (BBC)

4/25/88 814 | LacCourte's ratification of agreement governing '88 off-reservation spring

fishing.

4/26/88) 815 Pltf's response to defts' proposed findings and concl.

4/27/88 | 816 Pltfs' Joint Responsive Brief in Moderate Living Subphase of Regulatory Phase

5/2/88 817 | Defts' Reply Brf in spt of Mo for Partial S/J.

5/4/88 818 | Defs' 5th Set of Interrogs to Bad River Band in Reg. Phase

5/4/88 819 | Defs' 4th Set of Interrogs to Lac Courte Band in Reg. Phase

5/4/88 820 | Defs' 5th Set of Interrogs to Lac Courte Band in Reg. Phase

5/4/88 _|--821 | Defs' 5th Set of Interrogs to Red Cliff Band in Reg. Phase

5/4/88 822 | Defs' 5th Set of Interrogs to St. Croix Band in Reg. Phase

5/4/88 823 | Defs' 5th Set of Interrogs to Sokaogon /Mole Lake Band in Reg. Phase

5/4/88 Correction Sheet & Signature Page to Depo of Hubert G. Locke taken 1/29/88
(Document #781)

5/26/88} 824 | Report to the Court in response to Ct. Order of 4/21/88 re narrowing issues.

5/27/88 825 | Pltfs' Report to Crt in response to Ct. Order of 4/21/88 re: Narrowing issues

5/31/88 826| Order that defs' mo for partial s/j, construed as a Mo for Relief from an
Order, pursuant to Rule 60(b) is DENIED (BBC)

6/3/88 827| ORDER ruling on 3/88 court trial on issues of economic value of "modest standard
of living" guaranteed pltfs under their treaties with U.S. and the income-
generating potential of available resources in territory of northern WI; Ct.
finds in pltf's favor that they established the monetary measurement of a
“modest standard of living" and have proven that they could not achieve the
standard even if permitted to harvest every available resource--the modest
living standard imposes no practical limit on amt. of natural resources that
can be harvested by tribal members. (BBC) cc mld.

6/6/88 | 828 | Pltf Lac du Flambeau Band's Response to Defts' Fifth Set of Interrogs in the
Reg. Phase.

6/9/88 | 829 | Stmt. of agreed subject re 10/11/88 trial -- Walleye and Muskellunge regulation.

6/10/88} 830 Bad River Band's response to defts' 5th set of interrogs-regulatory phase.

6/13/88} 831| ORDER confirming that trial set for 10/11/88 will focus upon walleye and
muskellunge only. (BBC) (6/10/88)

6/15/88 | 832 Pitf Tribes' Model Off-Reservation Conservation for Walleye and Muskellunge
Per Crt Order of 4/21/88

6/17/88 | 833 | Pltf Lac Courte Oreilles Off-Reservation Conservation Code.
6/21/88 | 834 | Response of St. Croix Chippewa Ind. of WI to Def's 5th Set of Interrogs in
Reg. Phase
6/28/88 835 | Ratification of the 1988 Chippewa Indian Off-Reservation Open Water Fishing Agmt
8/2/88 (836 Stipulation on 1988 treaty off-reservation ricing season.
8/4/88 (837 Interim CONSENT ORDER and injunction governing off-reservation ricing. (BBC)
cc mld.
8/4/88 838 Ratification of ricing agreement.
8/5/88 | 839 | Ratification of ricing agreement by Pltf Red Cliff Band.

 

 
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Ratification of Ricing Agreement by Bad River Band.

Pltfs' joint stmt concerning walleye and muskellunge subphase of Hees '4 qd
Deposition transcript w/corrections by deponent George Spangler/ hot os FFE 4
ORDER on status conference held 8/17/88. Trial estimate: 10 days. (BBC)

Stipulation and ORDER for withdrawal and substitution of counsel for Lac Courte.
(BBC)

Pitf Mole Lake Band's Response to Defts' 5th set of interrogs reg. phase.
Order in non-jury trials mld. to counsel.

Ratification of Ricing Agreement Governing 1988 Chippewa Indian Off-Reservation
Ricing Season by Plaintiff LacCourte Oreilles Ban

Ratification of Ricing Agreement Governing the 1988 Chippewa Indian Off-
Reservation Ricing Season by Pitf St. Croix Chippewa Indians

Pitfs' Notice of Depos on Sept 1 & 2, 1988 of: Carl Walters, Richard Ryder,
E.J. Crossman, w/out cert. of svc.

Pltfs' Notice of Depos on Sept 6-9, 1988 of: Gary Beaver, Terry Margenau,
Michael Hansen, Michael Staggs, Dennis Schupp, John Klingbiel, James Addis,
Goeffrey Emerson, w/out cert. of svc.

Stipulation re: 1988 Chippewa Indian Off-Reservation Treaty Deer Hunting Season

Agreement.
Ratification of Deer Hunting Agreement by St. Croix Chippewa Indians.

Ratification of Deer Hunting Agreement by Red Cliff Band.
INTERIM CONSENT ORDER AND INJUNCTION (re: 1988 Chippewa Indian Off-Reservation

Treaty Deer Hunting Season) (BBC) (cc mld)
Lac du Flambeau Band's ratification of bear hunting agreement.

Lac du Flambeau Band's ratification of deer hunting agreement. .
INTERIM CONSENT ORDER AND INJUNCTION covering off-reservation bear hunting.
(BBC)

Ratification of Deer Hunting Agreement by Bad River Band of Lake Superior Tribe

of Chippewa Indians.

Ratification of Deer Hunting Agreement by Sokaogon Chippewa Community (Mole Lake

Band)

INTERH CONSENT ORDER AND INJUNCTION re: Agreement...Governing the 1988 Chippewa

Indian Off-Reservation Treaty Deer Hunting Season
LacCourte's ratification of bear hunting agreement.

LacCourte's ratification of deer hunting agreement.
Red Clitf Band's ratification of bear hunting agreement.

Red Cliff Band's ratification of migratory bird agreement.

Ratification of Bear Hunting Agreement by St. Croix Chippewas.

Ratification of Small Game and Migratory Bird agreements by Lac du Flambeau Band.
Stip. w/1988 Chippewa Indian Off-Reservation Treaty Small Game Hunting Season

Agreement.

St. Croix Chippewa's ratification of migratory waterfowl hunting agreement.
St. Croix Chippewa's ratification of small game hunting agreement.

INTERIM CONSENT ORDER & INJUNCTION covering small game hunting season. (BBC)

Depo of Richard Armitage Ryder, taken 9/1/88.

Depo of Michael J. Hansen, taken 9/7/88.

Depo of Michael Dane Staggs, taken 9/7/88.

Depo of Geoffrey Lane Emerson, taken 9/8/88.

Depo of Carl Walters, taken 9/2/88.

Depo of Carl Walters, taken 9/1/88.

Depo of E.J. Crossman, taken 9/2/88. .

Pltf's ratification of 1988 Bear Hunting Agreement, by Bad River Band of Lake
Superior Tribe of Chippewa Indians.

Pltf's ratification of migratory bird hunting agreement by Bad River Band of

 

Lake Superior Tribe of Chippewa Indians.
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LAC COURTE STATE OF WIS POCKET NOTA=C=313=€
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DATE NR, PROCEEDINGS
9/26/88) 879 Stipulation re: 1988 Chippewa Indian Off-Reservation Migratory Bird Season
Agreement.
9/27/88 | 880 | Depo of Michael D. Staggs taken 9/19/88 (Errata sheet rec'd 10/11/88), c'd w/%:
9/27/88 | 881 | Depo of Dennis H. Schupp taken 9/8/88 (Exh.1-10 rec'd 10/7/88; atehd oreggd Of
9/28/88 882 INTERIM CONSENT ORDER & INJUNCTION governing off-reservation treaty migratory
bird hunting season. (BBC) cc mld.
10/3/88 883 Pltf LCO's Ratification of Agreement re: 1988 Off-Reservation Small Game Hunting
Season.
10/3/88 | 884) Depo of Thomas Busiahn, taken 9/20/88.
10/3/88 | 885 | Depo of Neil Kmiecik, taken 9/20/88.
10/3/88 886 | Pltfs' Statement of Contested Issues of Law, Walleye & Muskellunge Regulation
Subphase Trial.
10/3/88 | 887 Pitfs' Proposed Findings of Fact in Walleye & Muskellunge Harvest Regulation
Subphase Trial.
10/3/88 888 | Ctrm Min., Hrg., BBC, Apps: Kathryn Tierney, Milt Rosenberg, Howard Bichler,
Tracey Schwalbe, Candy Jackson for Pltfs; AAG's: Thomas Dosch, Burneatta Bridge,
Steve Nicks, David Gilles for Deft. Discussion of issues remaining in case set
for ct trial.
10/4/88 | 889] Defts' trial stmt.
10/4/88 | 890) Defts' proposed findings of fact.
10/4/88 | 891 | ORDER on status conference held on 10/3/88. Defts to proceed first with their
case in chief. (BBC)
10/5/88 | 892 | Pitf Lac Courte Oreilles Band's Ratification of Agreement governing the 1988
Off-Reservation Migratory Bird Hunting Season
10/7/88 | 893 | Pltfs' Pretrial Brief for Subphase Trial Re: Walleye & Muskellunge Harvest
Regulation.
hO/07/88 |894 | Defts' Trial Brief for the Second Subphase of Phase II, Oct 11, 1988
| 10/11/88 895 Red Cliff Band's ratification of off-reservation small game hunting agreement.
10/11/88) 896 Ctrm. minutes of lst day Ct. Trial, Phase 2. Tierney, Rosenberg, Jackson,
Bichler, Bruck and Schwalbe for pltfs; Gillis, Dosch and Nicks for defts.
Opening stmts; deft's begin evid.(BC) (Walleye & Muskellunge Harvest)
10/12/88 897 | Depo. of Thomas Busiahn, taken 9/19/88.
10/12/88 | 898 | Depo. of James Schlender, taken 10/3/88. a
10/12/88 | 899 | Depo. of James T. Addis, taken 10/4/88. ‘“
10/12/88 | 900 | Ctrm. minutes of 2nd day Court Trial, Phase 2. Appear. same; defts' case cont'd.
10/14/88} 901 | Transcript of 3rd day of trial (testimony of Michael Hansen)
10/14/88, 902 | Ctrm Minutes of 3rd day Crt Trial. Apprs. Same. defs case cont'd.
10/14/88! 903 | Ctrm Minutes of 4th day Crt Trial. (BC) same apps. Defts case cont'd.
10/14/88 | 904 | Subpoena w/Ret on Thomas Busiahn.
10/17/88 905 Transcript of cont'd direct testimony of Michael Hansen, held on 4th day of ct
trial, on 10/14/88.
10/18/88 906 | Lac du Flambeau's supplemental response to deft's 2nd set of interrogs on
regulatory phase (#14).
10/18/88 907 | Transcript of Michael Hansen testimony from 10/14/88.
10/20/88 | 908 Transcript of Testimony of Michael Hansen during 4th day jury trial 10/14/88
10/20/88 909 Stipulation covering off-reservation treaty trapping season.
10/20/88 910), Transcript of cross-examination of Michael Hansen taken 10/14/88, 9:10 a.m.
10/21/88 911 | Stipulation on Biological & Certain Remaining Issues.
10/21/88) 912 | Stipulation on Fish Processing.
10/21/88! 913 | Stipulation on Gear Identification & Safety Marking.
10/21/88 914 | Stipulation on Enforcement & tribal court issues.
10/24/88) 915 |Transcrip: of Excerpt of Direct Exam of Michael Staggs, on 10/21/88.
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10/24/88} 916 | Ctrm. minutes of 5th day Court Trial. Defts' case cont'd.

10/24/88} 917 | Ctrm. minutes of 6th day Court Trial. Defts' case cont'd.

10/24/88] 918 INTERIM CONSENT ORDER and injunction covering off-reservation treaty trapping
season. (BBC) cc mld. (10/21/88)

10/25/88 919] Ratification of 1988-89 Off-Reservation Small Game Agreement by Sokaogon Chippewal
Community (Mole Lake Band).

10/25/88} 920 | Ratification of 1988-89 Off-Reservation Trapping Ordinance & Agreement by Sokaogoy
Chippewa Community (Mole Lake Band).

10/25/88; 921 |Ratification of 1988-89 Off-Reservation Bear Hunting Agreement by Sokaogon Chippewa
Community (Mole Lake Band)
10/25/88; 922 |Ratification of 1988-89 Off-Reservation Bear Hunting Agreement by Sokaogon Chippewa
Community (Mole Lake Band)

10/25/88} 923 | Ctrm Minutes of 7th day Court Trial, held on 10/24/88. Defts' case cont'd.
10/25/88} 924 | Ctrm Minutes of 8th day Court Trial, held on 10/25/88. Defts' case cont'd.
10/25/88} 925 | Depo of Edwin John Crossman, taken on 1/15/88.
10/25/88) 926 Depo of Edwin John Crossman, taken on 1/19 9/88
10/27/88 927 (|Ctrm Minutes of 9th day Ct Trial, held on 10/26/88.
10/27/88 928  Pltfs' Mo in Limine.
10/27/88 | 929 Deposition of George R. Spangler, taken 9/20/88.
10/27/88| 930 LacCourte's ratification of agreement on off-reservation trapping season.
10/28/88} 931 | Transcript of Testimony re:Tom Bousiahn 9th day crt trial 10/26/8
10/28/88) 932 | Transeript of llth day of trial 10/28/88
10/28/88, 933 |Transcript of 6th day ert trial 10/21/88
10/28/88, 934 |Transcript of 5th day ert trial 10/20/88
10/28/88) 935 |Transcript of 3rd day crt trial 10/13/88
10/31/88; 936 |Transcript of 9th day crt trial 10/26/88
10/31/88] 937 |Transeript of 8th day crt trial 10/25/88
11/1/88! 938 |Ctrm Min., 10th day Ct Trial, held on 10/27/88. Pltfs' case.
11/1/88; 939 |Ctrm Min , llth day Ct Trial, held on 10/28/88. Pltfs' case cont'd.
11/1/88) 940 |Ctrm Min., 12th day Ct Trial, held on 10/31/88. Pltfs' case cont'd.
11/1/88] 941 |Transcript of testimony of Michael Staggs, held on 7th day of trial, on 10/24/88.
11/1/88| 942 |Transcript of testimony of Michael Staggs, held on 8th day of trial, on- 10/25/88.
11/1/88; 943 | Transcript of excerpt of testimony of Michael’ Staggs, held on 7th day of trial,
on 10/24/88.
11/1/88} 944 |Ctrm Min, 13th day Ct Tr. held on 11/1/88. Pltfs rest. Defs begin rebuttal case.
11/2/88 | 945 Transcript of Staggs testimony taken 10/21/88, 2:40 p.m.

11/3/88 | 946 | ORDER setting brfg schedule for post-trial briefs. Deadline & brfg set for pltfs'

C a s/j; reserve ruling on parties request for oral argument following brfg.
BBC

11/3/88 947 Transcript of testimony of Addis taken 10/12/88.

11/3/88 | 948 |Ctrm Min, 14th day Ct Tr. held on 11/2/88.

11/17/88 | 949 |Transcript of testimony of James T. Addis on Ist day of trial on 10/11/88

11/17/88 | 950 |Transcript of direct Exam of Michael D. Staggs had on 5th day of trial, 10/20/88

11/17/88 | 951 Transcript of cont'd Cross Exam of Michael Staggs on 8th day of trial, 10/25/88
11/18/88; 952 | Pltf St Croix Chippewa Indians' Ratification of Trapping Agreement of 1988-89.

11/18/88, 953 Transcript of cont'd direct testimony of George Spangler, on 12th day of Ct tr,
on 10/31/88.
11/18/88) 954 Transcript of testimony of Michael Hansen & Neil Kmiecik, on 14th day of Ct tr,

on 11/2/88.
11/21/88! 955 |Transcript of testimony of George Russell Spangler & Michael Hansen, on 11/1/88,

on 13th day of Ct tr.
11/21/88, 956 |Transcript of testimony of George Russell Spangler on 13th day Ct tr, on 11/1/88.

11/21/88} 957 |Transcript of testimony of Neil Kmiecik & George Russell Spangler on 12th day Ct
Tr, on 10/31/88.

 

 

 
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11/21/88 958 | Transcript of testimony of Neil Kmiecik on llth day Ct tr, on 10/28/88.
11/21/88 959 | Transcript of testimony of Tom Busiahn & James H. Schlender on 11th day Ct tr,
on 10/28/88.
11/21/88) 960 Transcript of testimony of Tom Busiahn on 9th day Ct tr, on 10/26/88.
11/21/88 961 Transcript of testimony of Richard Ryder on 8th day Ct tr, on 10/25/88.
11/21/88 962 | Transcript of testimony of Dennis H. Schupp & Richard Ryder on 7th day Ct tr,
on 10/24/88.
11/22/88 963 | Pltf Red Cliff Tribe's Ratification of the 1988 Chippewa Indian Off-Reservation
Trapping Agreeement.
11/23/88 964 | Pltfs' mot. for partial s/j (walleye and musky regulatory phase) on grounds
that certain state statutes and regulations are inapplicable as a matter of law.
11/23/88 965; Pltfs' joint proposed finding of fact/conclusions of law in support of partial
s/j.
11/23/88 966, Pltfs' joint brief in support of mot. for partial s/j.
11/23/88 967 | Transcript of testimony of Edwin John Crossman taken on 10/25/88, 3:10 p.m.
11/23/88 968] Transcript of continued testimony of Thomas R. Busiahn and Neil Kmiecik taken
10/27/88, 1:30 p.m.
11/23/88| 969 | Defts' post-trial brief on subphase 2, Phase II. (Walleye & Muskellunge)
11/28/88| 970 | Pltf£ Bad River Band of Lake Superior's Ratification of the 1988 Trapping
Agreement.
11/28/88, 971 | Pltf Lac du Flambeau Band's Ratification of 1988-89 Trapping Agreement.
11/29/88, 972) Transcript of Cont'd Cross-Exam. of George Spangler on 13th day of Trial 11/1/88
11/29/88, 973 Transcript of Cont'd Testimony of George Spangler on 13th day of trial 11/1/88
11/29/88 975 Transcript of Morning Session of Cont'd Testimony of Neil Kmiecik on llth day
of trial; 10/28/88
12/2/88 976! Transcript of Motion & Opening Statements on lst day of Ct Trial, on 10/11/88.
12/2/88; 977 | Transcript of 14th day of Ct tr, afternoon session, held on 11/2/88.
12/14/88| 978 octets Brief in Response to Pltfs' Mo for Partial S/J on the Applicability of
ertain Statutes & Reg. to the E i - i i
12/15/88 | 979 Pltfs' Letter Request for 2-day oer te Elle post eee ation Freaty Rights
12/16/88 980 | Order granting pltfs' request for ext of time to file post-trial briefs; last
brief due 12/29/88; (BC)
12/19/88 981 Pltfs' Proposed Findings of Fact & Concl of Law re: Walleye & Muskellunge
Harvest Reg. Subphase.
12/19/88 982 Pltfs' Brief on case or controversy requirement.
12/20/88, 983 | Pltf£'s Post-Trial Brief in Walleye & Muskellunge
12/27/88, 984 | Pltfs Reply Brf in spt of Mo for Partial S/J.
1/6/89 985 | Defts' Post-Trial Reply Brief for The Second Subphase of Phase II, October 11,
1988-November 2, 1988 (Walleye & Muskellunge)
1/6/89 986 | Defts' Comments & Objs Re: Pltfs' Prop. Findings of Fact & Concl. of Law
1/6/89 987, Defts' Prop Findings of Fact & Concl. of Law (re: second subphase of phase II)
1/13/89 988 | Letter req. and Court approval of pltf's subm. of a response to defts' proposed
findings/conclusions (due 1/23/89). (JWS) ce mld.
1/23/89 | 989 Pltfs' Response to Defts' Proposed Findings of Fact & Concl of Law.
2/17/89 | 990 wenden 3 are Oe ae eument BBC, Apps: Attys Tierney, Schwalbe, Charleton,
icnler, Jackson for Pltfs; AAG i
3/3/89 991 ORDER ruling on Phase II-Regulatory, Walleye and Nuskellunge Harseee Riohts.
Defts enjoined from interfering w/regulation of off-reservation harvest rights
of pltfs w/such rights reserved to pltfs on condition that managenent plan
be enacted for conservation of species per Court's opinion; stipulations of
parties docketed #911, 912, 913 and 914 incorporated into order; s/j issue on
enforcement of chapter 9, Wis. Stats., etc. to he addressed in subsequent
proceedings. (BBC) cc mid.

 
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3/6/89 992 Transcript of arguments held 2/17/89.

3/24/89 1993 Pltf's Off-Reservation Model Code, as amended per Ct's order of 3/3/89.

3/27/89} 994 | Pltfs' Mo for Ct Approval of Tribes' Management Plan for Regulation of Walleye
& Muskellunge Harvest, and for Issuance of Injunction.

3/28/89 | 995 Ctrm Min, Mo Hrg, BC, Apps: Attys Tierney, Jackson, Rosenberg, Charleton,
Schwalbe, Bichler for Pltfs; AAG Dosch. Changes to model plan read into record.
Ct to issue order.

3/30/89 | 996 Order that the tribes' model plans provide for the securing of advance approval
of scientific studies. Clk of Crt to schedule status conf. May, 1989, to
determine form & scope of next stage of this litigation; (BC)

3/31/89 997 Transcript of Motion Hrg held on 3/28/89, before BC.

4/4/89 998 Pltfs' letter req. for reconsideration of issue re DNR advance concurrence with
tribal assessment work is required.

4/7/89 999 | Voigt Inter-Tribal Task Force Protocol on Walleye and Muskellunge Harvest Levels,
submitted by Pltfs.
4/7/89 | 1000 |Methods Used to Calculate Safe Haravest Levels for 1989, _submi db
4/12/89 |1001 |Pltf Bad River Band's Off Reservation Conservation Code for Walleye & festtiunge
adopted by Bad River Tribal Council on 4/5/89

4/13/89 Rec'd notice of change in lead counsel for Mole Lake Bank.

4/17/89 | 1002 Pltf St Croix Chippewa Indians' Off Reservation Conservation Code for Walleye
& Muskellunge.

4/17/89 | 1003 | Pitf Lac du Flambeau Band's Notice of Enactment of Walleye/Muskellunge
Management Plan/off reservation conservation code.

4/17/89 1004] Defts' Notice of Motion and Motion for Clarification of 3/3/89 Decision.

4/17/89 | 1005] Affid. of Michael Hansen.

4/21/89 | 1006 | Pltf Red Cliff Band's Off-Reservation Conservation Code.

4/24/89 |1007 Pltf Lac Courte Oreilles Band's Off-Reservation Conservation Code (on 3/28/89)

4/25/89 | 1008; Pltfs' response in oppo to defts' mot. for clarification.

4/25/89 | 1009} Affid. of Kathryn Tierney.

4/25/89 | 1010] Affid. of Julianna Valliere.

4/25/89 | 1011 Ratification of Sokaogon Chippewa Off-Reservation Conservation Code.

4/28/89 1012 | Pltf Red Cliff Band's Resolution re sale of off-reservation fish, which is a
supplement to off-reservation conservation code fld 4/21/89.

4/28/89 | 1013 Ctrm. minutes of hrg. held 4/25/89. All pltf. tribes by ensl of record or
by substitute counsel per stipulation; deft. by Dosch. Mots. for clarification
granted, order to follow.

5/1/89 1014 | ORDER amending 3/30/89 ORDER to state that pltfs are free to move for reconsid.
of requirement that tribes model plans provide for securing advance approval fro
State of scientific studies conducted by tribes. (BBC) (4/28/89)

5/1/89 |1015 | ORDER amending 3/3/89 ORDER to state that lakes having l-yr old mark recapture
survey, defts use a safety factor of 35% to derive safe harvest; lakes having
2-yr mark recapture survey, defts use safety factor of 30%. (BBC) (4/28/89)

5/1/89 {1016 | ORDER on status conf. held 4/25/89. (BBC) (4/28/89)

5/3/89 (1017 State of WL's Application for TRO

5/3/89 1018 | Certification Pursuant to Rule 65

5/3/89 1019 NDS fo & Mo for P/I re: Lac du Flambeau taking 100% of safe harvest

5/3/89 {L020 | Affidavit of George E. Meyer

5/4/89 [021 |Defts' No & Mo for P/I re: Suspend exercise of treaty spearfishing rights,etc

5/4/89 1022 | Affidavit of Allen Shanks (copy)

 

 

 
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DATE NR. PROCEEDINGS
5/4/89 | 1023/Order that request for temp. restrining order is DENIED; (BC)
5/4/89 1024 Order that defts' motion to enjoin the Ldac du Flambeau tribe from taking

 

 

5/4/89 1025

5/5/89 | 1026
5/5/89} 1027
5/8/89 | 1028
5/8/89 | 1029
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5/16/89 | 1031
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100 percent of the safe harvest from any lake designated by the tribe for
spearing is DENIED w/out prejudice to defts' renewing the mo. and suppl.

it w/add'l evidence at the hrg on 5/5/89 @1:30 pm; (BC)

Ctrm Min re: Hrg on TRO re: Lac du Flambeau. Apprs by Phone: Deft by S. Nicks.
Pltfs by Tierney, Janetta, Rosenberg. TRO Mo. DENIED w/out prej. deft may suppl
their support at time of hrg 5/5/89 @1:30 re: TRO and P/I as to other bands. (BC)

Ctrm Min., Mo Hrg., BBC, same apps. Testimony. Defts' Mo for P/I denied.

ORDER denying defts' mo for P/I. (BBC) CC mld.
Transcript of Mo Hrg held on 5/5/89, before BBC.

Statement by Judge Barbara B. Crabb following hrg on May 5, 1989.

Memorandum stating forth the basis for the ruling denying defts' mo for a

p/i prohibiting pltfs from exercising their treaty spearfishing rts after
midnight May 5, 1989 for the remainder of the 1989 spring spearing season; cpys
mld (BC)

Order setting trials to determine the extent to which the state may regulate:
wild tail deer on Aug 7, 1989 and FPTC 8/4/89 @4:00 p.m. Wild rice on 9/25/89:
Fisher on 11/27/89 and all fur bearers other than fisher (or timber) on

2/5/90 w/discovery table attached; (BC)

Defts' No & Mo to AMend Scheduling Order.

Pitfs' Regulations for the Harvest of White-Tail Deer
ORDER amending 5/15/89 order to provide that pltfs will submit deer harvest
regulations to defts no later than 5/30/89; deadlines extended re designation
of witnesses; deadlines set for subm. of wild vice, fisher and timber regula.
(BBC/JWS )
Transcript of Mo Hrg held on 5/12/89.
Defts' Statement of Expert Witnesses.(corrected pg. 2 rec'd 6/30/89)

Defts' 5th set of interrogs and request for production of doc's to Lac du
Flambeau Band of Lake Superior Chippewa Indians in regulatory phase. (wild rice)
Defts' 5th set of interrogs and request for production of doc's to Bad River
Band of Lake Superior Chippewa Indians in Regulatory phase. (wild rice)

Defts' 5th set of interrogs and request for production of doc's to St. Croix
Chippewa Indians of WI Band of Lake Superior Indians in reg. phase. (wild rice)
Defts' 5th set of interrogs and request for production of doc's to Sokaogon
Chippewa Indian community, Mole Lake Band of Lake Superior Indians in
regulatory phase. (wild rice)

Defts' 5th set of interrogs and request for production of doc's to Red Cliff
Band of Lake Superior Indians in Regulatory Phase. (wild rice)

Defts' 5th set of interrogs and request for production of doc's to LCO Band
of Lake Superior Indians in reg. phase. (wild rice)

Pltfs' Notice & Motion for Establishment of Fisheries Technical Working Group.

Affidavit of Thomas R. Busiahn.
Memorandum by pltfs' inspt of Mo for Establishment of Fisheries Technical

Working Group.
Pltfs' Nomination of Persons to Serve on Technical Working Group.
Std. order in non-jury trial mld. to cnsl - Deer Reg. Phase.

Pltf St. Croix Chippewa Indians lst req. for adm. (Reg. Phase.) _. :
Pitf St. Croix Chippewa Indians Statement of Expert Witnesses.- Whitetailed deer.

Defts' 7th set of interrogs and req for production of doc's to LCO Band of Lake
Superior Chippewa Indians in reg. phase. (deer)
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9/30/89 1050| Defts' 7th Set of Interrogs & Request for Production of Doc's to Red Cliff Band
of Lake Superior Chippewa Indians in reg. phase. (deer)
9/30/89 1051 Defts' 7th Set of Interrogs and Req. for Production of Doc's to Sokaogon
Chippewa Indian Community, Mole Lake Band of WI in reg. phase. (deer)
5/30/89 | 1052! Defts' 7th Set of Interrogs and Req. for Production of Doc's to St. Croix
Chippewa Indians of WI in reg. phase. (deer)
1/30/89 1053 Defts' 7th Set of Interrogs and Req. for Production of Doc's to The Bad River
Band of The Lake Superior Chippewa Indians in Reg. Phase. (deer)
1/30/89 1054 Defts' 7th Set of Interrogs and REq. for Production of Doc's to Lac Du Flambeau
Band of Lake Superior Chippewa Indians in reg. phase. (deer)
)/30/89 | 1055! Defts' Request for Admission to The St. Croix Chippewa Indians of WI in
reg. phase. (deer)
1/30/89 1056 Defts' Request for Admission to the LCO Band of Lake Superior Chippewa Indians
in reg. phase. (deer)
1/30/89 1057 Defts' Request for Admission to Red Cliff Band of Lake Superior Chippewa
Indians in reg. phase. (deer)
1/30/89 1058 Defts' Request for Admission to The Sokaogon Chippewa Indian Community, Mole
Lake Band of WI in reg. phase. (deer)
1/30/89 1059 Defts' Request for Admission to The Lac Du Flambeau Band of Lake Superior
Chippewa Indians in reg. phase. (deer)
1/30/89 1060 | Defts' Request for Admission to The Bad River Band of The Lake Superior Chippewa
Indians in reg. phase. (deer)
7/3/89 1061 | Notice of Depo by Pltf Tribes, of Ralph Christensen, on 7/6/89, w/cy of subpoena
attached, w/out cert. of svc.
7/3/89 1062} Defts' Statement of Expert Witnesses. (wild rice)
7/5/89 1063 St. Croix Chippewa Indians’ lst req. for prod. of docu re Whitetail Deer.
7/5/89 1064 St. Croix Chippewa Indians' lst set of interrogs re Whitetail Deer.
7/7/89 (1065 Pltfs' off-reservation regulation and management system-Wild Rice.
7/7/89 1066 Defts' Answers to Pltf St. Croix Chippewa Indians First Request for Admissions.
7/7/89 1067 Defts' Notices of Depositions on: Jonathan H. Gilbert, Raymond Anderson, Chick
Connor, Eugene Defoe, Fred Ackley, James Schlender, Thomas Busiahn, taken
July 10-13, 1989, w/o cert of mlg.
7/10/89 |1068 Depo of Ralph Christensen taken 7/6/89
7/10/89 1069 | LCO Notice of Depo & Subpoenas duces tecum re:Gary Scovel, David Zeug, Keith
McCaffery, Homer Moe, Steven Miller,Lloyd Keith, George E. Meyer w/cert of service
7/13/89 |1070  Pltf's response to defts' 6th set of interrogs.
7/14/89 |1071 | Defts' Brief in oppos to Mo to Establish Three-Party Fisheries Technical
Working Group.
7/14/89 | 1072 Affidavit of James Addis.
7/17/89 |1073 | Pltf Bad River Band's Responses to Defts' 6th Set of Interrogs. & request for
production of doc's. (wild rice)
7/17/89 | 1074 Pltf Lac du Flambeau Band's Response to Defts' Request for Admissions. (deer)
7/19/89 | 1075 Defts' Answers to Pltf, St. Croix Chippewa Indians of WI, lst set of Interrogs.
in Regulation Phase (Whitetail Deer)
7/20/89 1076 St. Croix Chippewa Indians' response to defts' 6th set of interrogs.
7/20/89 |} 1077 | Lae Courte Oreilles Band's response to defts' 6th set of interrogs.
7/20/89 | 1078 | Bad River Band's response to defts' req. for adms. (deer).
7/20/89 | 1079 Bad River Band's attachments to response to deft's 6th set of interrogs.,
question #9.
7/21/89 |1080 |Pltf Lac du Flambeau Band's Response to Deft's 7th set of interrogs.

 

 

 
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7/21/89} 1081] Deft's Notice of Depo of James Zorn, on 7/25/89, w/cy of subp. attached.
7/24/89 1082) Depo of Jonathan Gilbert taken 7/10/89
7/24/89 1083; Depo of Fred Ackley taken 7/10/89
7/24/89 1084! Depo of James Schlender taken 7/13/89
7/24/89 1085| Depo of Lloyd B. Keith taken 7/12/89
7/24/89 1086; Depo of Eugene F. Defoe taken 7/11/89
7/24/89 1087} Depo of Steven W. Miller taken 7/23/89
7/24/89 | 1088, P1tf LCO's Response to Defts' request for Admissions (Deer)
7/24/89 1089) Pitf Tribes Notice of Depo & Subpoena duces tecum re:Proposed Expert Witness
David Arnold re:deer regulatory phase trial
7/24/89 | 1090) Pltf Bad River Ban of L. Sup. Tribe's Response to Defts' 7th Set of Interrogs.
- in the Reg Phase (Deer)
7/24/89 1091; Pltf St Croix Chippewa Indians of WI Response to Defts' Request for Adm. (Deer)
7/26/89 | 1092 | Pltf Lac Courte Band's Response to Defts' 7th Set of Interrogs. (Deer)
7/26/89 1093 | Pltfs' Off-Reservation Regulation & Management System for Member Fisher Harvest
7/27/89 | 1094 Notice of appearance for Bad River Band.
7/31/89 | 1095} Pltfs' Reply Brf in spt of Mo for Establishment of Fisheries Technical Working Gp
7/31/89 | 1096 | Affidavit of Kathryn L. Tierney.
7/31/89 | 1097} Depo of David J. Zeug, taken 7/10/89.
7/31/89 | 1098| Depo of Gary F. Scovel, taken 7/10/89.
7/31/89! 1099| Pitfs' Proposed findings of Fact in Whitetailed Deer Reg. Subphase Trial.
7/31/89 | 1100 Defts' Pretrial Statement.
7/31/89 | 1101 | Defts' proposed uncontested facts re: reg. phase trial of off-reservation deer
harvest.
/?He? 1102, Defts' Proposed Findings of Fact. (Deer) . ;
Lac Courte's 2nd interrogs and req. for prod. to defts (wild rice).
8/1/89 1104; Pltfs' stmt of expert witnesses (wild rice). (correction rec'd 8/4/89)
8/2/89 1105) Defts' Statement of Expert Witnesses (fisher harvest)
8/2/89 1106 Depo of Archie Mosay taken 7/15/89 (by defts)
8/2/89 1107, Depo of James E. Zorn taken 7/25/89 (by defts)
8/3/89 1108, Pltfs' pretrial brief (deer)
8/3/89 1109| Deposition of George E. Meyer, taken 7/13/89.
8/3/89 1110 , Deposition of Homer E. Moe, taken 7/11/89.
8/3/89 1111; Deposition of Thomas Busiahn, taken 7/13/89.
8/3/89 1112| Deposition of Raymond Anderson, taken 7/12/89. (Exhibits rec'd 8/7/89)
8/3/89 | 1113, Defts' pretrial brief (deer).
8/4/89 | 1114| Pltfs' Statement of contested issues.
8/4/89 1115| Pitfs' proposed uncontested facts. (supplemental)
8/4/89 1116 STIPULATION & ORDER SUBSTITUTING Atty David Siegler for Candy Jackson, as
cnsl for Bad River Band of Lake Superior Tribe of Chippewa Indians. (BC) Cc mld.
8/4/89 1117 Ctrm Min., Hrg, BBC, apps: Pltfs: Tierney, Charleton, Rosenberg, Schwalbe,
Siegler, Bichler; Deft: Gabrysiak, Levin, Dosch. Ct tr to commence 8/7/89, at
8:30 AM.
8/7/89 | 1118 | Depo of Charles Connors, taken 7/11/89.
8/7/89 1119 | Depo of Keith R. McCaffery, taken 7/11/89.
8/7/89 1120 |ctrm Min., lst day Ct Trial, (BC), Apps: Attys Tierney, Bichler, Schwalbe,
Rosenberg, Siegler, Charlton for pltfs; Dosch, Levin, Gabyrsiak for deft.
Opening Statements. Testimony. (DEER)
8/8/89 1121; Ctrm. minutes of 2nd day court trial. Defts' case cont'd.
8/9/89 1122! Transcript excerpt taken 8/8/89, 3:15 p.m.

 

 

 
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Subpoenas w/return re: James Schlender, Thomas Busiahn, Eugene DeFoe, Chuck
Connor, James Zorn & Archie Mosay to appear at trial as requested by defts.

Ctrm Minutes of 3rd day court trial. White tail Deer. Same ,apprs - Defts rest.
ORDER withdrawing OTSC directed to Charles Connors on defts presentation

f. subpoena. (BBC),cc mld.
they, ths dee ROt PEK qn forcement fa tbeer . SPBE2: com fide testimony;
no closing arguments heard by Court; brfg. set w/order to follow on further
scheduling. (BC)

Transcript of continued testimony of Homer Moe, held on 3rd day of Ct Tr on

8/9/89.
ORDER setting brfg. on deer harvest phase of trial; addl trial dates set for
9/25/89; 11/27/89; 2/5/90; 3/5/90 and 4/16/90; damages phase of case set for

9/10/90. (BBC) cc mld.
Mot. to intervene as defts by WI County Forests Assoc., Ashland County, Burnett

County, Florence Cty., Langlade Cty., Lincoln Cty., Marinette Cty., Vilas Cty.
and Washburn Cty.

Brief in support of mot. to intervene by WI Cty. Forests and WI Counties.
Affid. of Patricia N. Engel.

Affid. of William Sosnay.

Rec'd proposed answer and affirm. defenses of intervenors/defendants.
Transcript of direct exam. of Homer Moe, taken 8/8/89.

Affidavit of Eugene Schmit, Jr. (re: mo to intervne by WI Cty Forests, et al)
Letter req. of pltfs. for ruling on issues relating to damage phase of trial.
Defts' Notice of Motion & Alternative Motion to Join Necessary Parties or Dismiss
Defts' Brief in spt of Alternative Mo to Join Necessary Parties or Dismiss.
Defts' notices of depos. re Gilbert, David, Busiahn, Zorn and Voigt Intertribal
Task Force designee w/o affid. of mlg.

SCHEDULING ORDER for remaining trials in Phase II: 11/27/89 subject of trial is
fisher, fur bearers, small game. 2/5/90 trial will be timber & all remaining
species of fish. 3/5/90 trial will be migratory birds, bear. 4/16/90 trial
will be on all remaining species. (BC)

Interim Consent Order & Injunction governing the 1989 Chippewa Indian Off-Reserv.
Ricing, 1989-90 off-reservation small game hunting and 1989 off-reservation

Deer Hunting w/Stipulation attached; cpys mld (BC)

Defts' notice of depo. re James Schlender.

Lac du Flambeau's ratification of wild rice, small game and deer hunting

agreements.
Defts' responses to LacCourte's 2nd set of interrogs and req. for prod. re

wild rice.
Lac Courte Oreilles' ratification of agreement re ricing season.

Pltfs' notice of depositions re J. Flanagan, J. Berquist, T. Andryk., L. Abney.
Transcript of 2nd day Crt Trial (White tail deer) 8/8/89 (Volume

Transcript of 4th day Crt Trial 8/10/89 (White tail deer) Volume 4)
Transcript of lst day court trial held 8/7/89 (Deer).

Transcript of 3rd day court trial held 8/9/89 (Deer).
Bad River Band's ratification of 1989 ricing, small game and deer agreements.

Plitfs' Memorandum in oppos. to Mo to Intervene as party-defts fld by Counties
of Ashland, Burnett, Florence, Langlade, Lincoln, Marinette, Vilas & Washburn,
& by WI County Forests Assoc., Inc.

Affidavit of Kathryn L. Tierney.

Pltf LCO Band of Lake Superior Chippewa Indians' Ratification of Agreement
governing 1989 off-reservation small game hunting season.

Defts' Ltr-Brf re: Mo to Intervene by WI County Forest Assoc & individually-
named counties.

 

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9/11/89 1155] Pltf£ Lac Courte Oreilles Band's Ratification of Agreement governing 1989

off-reservation deer hunting season.

9/13/89 | 1156 ORDER that pltfs‘ mot. for establishment of Technical Working Group to assist

in implementation of court's order concerning defts' authority to regulate
pltfs’' right to harvest walleye/muskellunge is DENIED. (BBC)

9/14/89 1157 Lac Courte Band's ratification of agreement re off-reservation bear hunting agr

9/14/89 1158} Stipulation of parties re off-reservation bear hunting.

9/14/89 1159| Lac du Flambeau Band's ratification of off-reservation bear hunting agreement.

9/15/89 1160, Pltfs' Model off-reservation conservation code (small gave harvest regulations)

for 11/27/89 trial.

9/15/89 1161) Pltfs' Voigt Intertribal Task Force Protocol, Otter, Bobcat & Fisher Harvest

Levels, for 11/27/89 trial.

9/15/89| 1162, INTERIM CONSENT ORDER AND INJUNCTION covering off-reservation treaty bear

hunting season.

9/18/89 | 1163) Reply Brief of Pet-Intervenors, to Pltfs' Memo in Oppo to Mo to Intervene

9/18/89 | 1164) Affvdt of Mary M. Harding in Supp of Petitioning-Intervenors

9/18/89 1165) Defts' Post-Trial Brief for Third Subphase of Phase II, 8/7/89 thru 8/10/89

9/18/89 | 1166; Defts' Prop Findings of Fact Re:deer Regulations

9/18/89 1167| Stipulation for the Deer Trial

9/21/89 | 1168 | Bad River Band's ratification of 1989 bear hunting agreement.

9/21/89 1169! Affid. of Gerald L. Vande Hei.

9/21/89 | 1170] Affid. of Mark Hazelbaker (signed).

9/21/89 1171, Deposition of James E. Zorn, taken 8/29/89.

9/21/89 1172| Deposition of Fred A. Ackley, taken 8/29/89.

9/21/89 1173} Deposition of Peter F. David, taken 8/29/89. (Exhibits rec'd 10/18/89)

9/21/89 1174| Deposition of Thomas Maulson, taken 8/29/89. (Exhibits rec'd 10/18/89)

9/21/89 1175| Deposition of Jonathan H. Gilbert, taken 8/29/89. (Exhibits rec'd 10/18/89)

9/21/89 1176| Deposition of Thomas R. Busiahn, taken 8/29/89. (Exhibits rec'd 10/18/89)

9/22/89 | 1177) Depo of Loyal Abney, taken 9/8/89.

9/22/89 | 1178, Depo of Timothy Andryk, taken 9/8/89.

9/22/89 | 1179} Depo of Jon R. Bergquist, taken 9/7/89.

9/22/89 | 1180) Depo of James H. Schlender, taken 9/7/89.

9/22/89 | 1181] Depo of James Flanigan, taken 9/7/89.

9/28/89 | 1182] St. Croix Chippewa Indians' ratification of small game hunting agreement.

9/28/89 | 1183; St. Croix Chippewa Indians' ratification of bear hunting agreement.

9/28/89 | 1184} St. Croix Chippewa Indians' ratification of wild rice agreement.

9/28/89 | 1185 St. Croix Chippewa Indians' ratification of deer hunting agreement.

9/28/89 | 1186, ORDER that pets’ Mo/Intervene is GRANTED w/respectonly to issue of extent to
which state or counties may regulate pltfs' exercise of their usufructuary rts
to harvest timber on public lands under the 1837 & 1842 treaties. (BC)

9/29/89 1187 Answer & Affirm. Defenses of Intervenors, Defts, WI County Forests Assoc. Inc.
on behalf of Itself & Its Members & Additionally, the Counties of Ashland,
Burnett, Florence, Langlade, Lincoln, Marinette, Vilas & Washburn (Filed 8/14)

10/2/89 | 1188 | Defts' Statement of Expert Witnesses for 11/27/89 trial.

10/2/89 | 1189 | Defts' Proposed regulations on 2/5/90 trial, re: timber.

10/2/89 | 1190 | Defts' Proposed regulations on 2/5/90 trial, re: remaining species of fish.

10/3/89 | 1191; ORDER GRANTING interv. defts until 10/16/89 to sub. prop. regulations re:harvest
of timber on public land; pltfs' amend prop. regulations to follows;cc mld (BC)

10/5/89 |1192 | Pltf Sokaogon Chippewa Community Mole Lake Band's Ratifications of 1989 Chippewa

Off-Reservation Hunting for Wild Rice; Deer Hunting; Small Game Hunting,
Waterfowl Hunting, Bear Hunting.

 

 

 
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10/10/89] 1193 Defts' mot. to join necessary parties or dms claims (re 11/27/89 trial).
10/10/89! 1194 Defts' brief in support of mot. to join parties.
10/13/89) 1195 Pltf LCO's Model off-reservation conservation code chapter 11 (timber harvesting
regulations).
10/13/89] 1196 Voigt Intertribal task force protocol for timber harvest permitting, o goehalt y
of Pltf LCO, Red Cliff Band, St Croix Band, Mole Lake & Bad River Band £29PaS Pian £83
10/16/89 1197 | Letter Notification from Kathryn L. Tierney that effective immediately she is ape.
no longer acting as lead counsel for pltf tribes Lac du Flambeau Band in this case.
10/16/89! 1198 | Defts' 8th SEt of Interrogs & Request for Pro of Documents to Sokaogan Chippewa -
Ind. Community, Mole Lake Band of WI. in Reg. Phase (Fisher, Fur Bearers, Sm Game} (
10/16/89| 1199 | Defts' 8th Set of Interrogs & Request for Pro of Documents to St. Croix Chippewa
Indians of WI in Regul. Phase (Fisher, Fur Bearers & Small Game)
10/16/89) 1200 | Defts' 8th Set of Interrogs & Request for Pro of Documents to Bad River Band of
L. Superior Chippewa Indians in Reg. Phase (Fisher, Fur Bearers & Small Game)
10/16/89] 1201 | Defts' 8th Set of Interrogs & Request for Pro of Documents to Lac du Flambeau Band
of L. Superior Chippewa Ind. in Regul. Phase (Fisher, Bur Bearers & Small Game)
10/16/89 1202 | Defts' 8th Set of Interrogs & Request for Pro. of Documents to Red Cliff Band of
L. Superior Chippewa Ind. in Regul. Phase (Fisher, Fur Bearers & Small Game)
10/16/89 1203 | Pltfs' Statement of Expert Witnesses
10/16/89] 1204 ; Plt£ St Croix Chippewa Ind. of WI Doc. Pro Request to Deft, State of WI, et al.
in the Regul. Phase (Small Game/Furbearers)
10/16/89) 1205 | Pltf St. Croix Chippewa Ind. of WI Set of Interrogs to Defts. in Reg. Phase
(Small Game/Furbearers)
10/16/89 1206 | Deft's 8th Set of Interrogs & Request for Pro of Documents to Lac Courte Orielles
Band of L. Superior Chippewa Indians in Reg. Phase (Fisher, Fur Bearers & Small Game )
10/16/8911207 |Prop. County Regulations for Timber Harvesting by Treaty Rights Participants
10/18/89| 1208 | Lac du Flambeau Band's Regulatory System for Timber Harvest
10/19/89 11209 | Pitfs Lac du Flambeau Band, St. Croix Chippewa and Bad River Band's post trial
brief on deer regulatory phase. (, go 797 23
10/19/89 |1210 Pltfs Lac du Flambeau, St. Croix Chippewa and Bad River Band's r gpqnse to defts'
proposed findings/conclusions. (also Lac Courte Ore 8 Tey Bake ins in 4/23/90)
10/19/89| 1211] Pltfs Lac du Flambeau, St. Croix Chippewa and Bad River Band. s findings/concl.
on deer regulation phase. (a4 La Sakag Ke Bad. River.
10/20/89 | 1212} Ratification of agreement by LacCourte of off-reservation migratory bird hunting | |
and trapping seasons.
10/23/89 1213} Ratification of Migratory Bird Hunting Season & Trapping Season Agreements by
Pltf Lac du Flambeau Band.
10/24/89 | 1214 Ratificatioa of migratory bird and trapping agreements by St. Croix Chippewa.
10/25/89} 1215 Stipulation between LacCourte and all pltfs and State of WI re off-reservation
treaty trapping season w/attached agreement.
10/25/89, 1216 INTERIM CONSENT ORDER & INJUNCTION covering pltfs. and deft's agreement on
off-reservation treaty trapping. (BBC) cc mld. (10/24/89)
10/25/89} 1217| Stipulation between pltfs and State of WI covering off-reservation migratory
bird season for ceded area in 1989.
10/25/89! 1218 INTERIM CONSENT ORDER & INJUNCTION covering pltfs..and deft's agreement on
off-reservation migratory bird hunting. (BBC) cc mld. (10/24/89)
10/26/89} 1219] Ratification - 1989 Migratory Bird & Trepping Agreements of pltf£ Bad River Band
11/1/89 1220] Subpoena Duces Tecum re:Arlyn E. Loomans, Steve Miller, Bruce A. Moss, Wm. Creed,
R. Christensen, Bruce E. Kohn, Charles Pils (copies)
11/1/89 | 1221 Notice of Depos of Steve Miller, Ralph Christensen, Charles M. Pils, Bruce E. Kolin,
Wm. Creed, Bruce Moss, Arlyn E. Loomans
11/1/89 (1222 CONSENT DECREE on Wild Rice Regulatory Phase w/attached stipulation of parties.
ec mld.

 

 

 
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11/3/89 |1223 | Defts' Reply Brief for 3rd subphase of Phase II, 8/7/89 through 8/10/89. (Deer)
11/6/89 |1224 Defts' Notices of Depositions of: Jonathan Gilbert, Thomas Busiahn, James

Schlender, Eugene Defoe, Raymond Anderson, on Nov 9 & 10, 1989, w/eys of
Depo Subpoenas, w/o afdvt of mlg.
11/7/89 1225; Pltfs' brief in oppo to mot. to join necessary parties or dms claims relating
to 11/27/89 trial.
11/7/89 |1226 | Defts' 1st set of damages interrogs.
11/7/89 |1227 |Schedule Order:Howard Bichler to be lead counsel for pltfs. Cty to submit prop.
to counsel re:timber submissions by 11/17/89; (BC)
11/9/89 11228 |Lac du Flambeau's Ist set of interrogs in regulatory phase w/req. for prod.
11/13/89 1229 | Mo to W/D as atty of record by Atty Jannetta for Lac du Flambeau Band.
11/14/89; 1230) Defts' answers to St. Croix Chippewa Indians' interrogs. in regulatory phase
(fur bearers) and response to req. for prod. of docu.
11/15/89 | 123] Pltf Tribes' Model Off-Reservation Code (for March 5, 1990 trial) Including
a resubmission of Chapters 1-3 Chapters 7 (Bear), 10 (Migratory Birds) and 12
(Wild Plant Harvesting) including Voigt Inter Tribal Task Force Protocol Bear
Harvest Levels, & Voigt Inter Tribal Task Force Migratory Bird Harvest Protocol.
11/15/89 | 1232 Pitf Bad River Band's Response to State-Defts 8th Set of Interrogs.
11/15/89 | 1233 | Pltf Lac du Flambeau Band's Response to State-Defts' 8th Set of Interrogs.*
21/15/89 1234| Defts' stmt of expert witn. *Pe 16 substituted 11/20/89.
41/16/89 1235 Pirkmosdddete d 26d B9dnse to defts' 8th set of interrogs-regulatory phase.
21/16/89 1236| Pltf St. Croix Chippewa's response to defts' 8th set of interrogs.
L1/16/89 | 1237| Deposition of Bruce Alan Moss, taken 11/6/89.
11/16/89 1238; Deposition of William Creed, taken 11/6/89.
11/16/89 1239} Intervening defts' stmt of expert witn.
11/17/89 | 1240 | Order GRANTING Mo of James Jannetta to w/draw as atty of record for pltf Lac
du Flambeau. (BC)
11/17/89 | 1241 | Order GRANTING defts" request to file suppl Mo. concerning Phase II trial
w/briefing to end on 2/20/90. (BC)
11/17/89 1242 | Proposed Regulations for Timber Harvesting by Deft-intervenors WI Co Forest.
11/17/89) 1243 | Depo of Jonathan H. Gilbert, taken 11/9/89.
11/17/89 1244 | Defts' Reply Brf in spt of alternative mo to join necessary parties or dismiss
claims re: 11/27/89 trial.
11/20/89, 1245) Pltf£ Lac du Flambeau Band's 2nd Interrogs to Defts. in regulatory phase.
11/21/89} 1246] ORDER: based on Notif of Agreement between parties the FPTC of 11/22/89 & TR of
11/27/89 are cancelled; briefing schedule on disputed issues to be set. (BC)
11/22/89 | 1247! Depo of James Schlender taken 11/9/89
11/22/89 | 1248] Depo of Thomas Busiahn taken 11/9/89
11/24/89; 1249) Pitfs' Ltr-Objection to expansion of deft-intervenors' expert witness listing.
11/28/89 | 1250} ORDER that deft Intervenors be permitted to call expert witnesses they have named
already & any expert witnesses designated by the pltfs. (BC)
11/29/89 | 1251 | Pltf Red Cliff Band's lst Set of Interrogs to Intervenor Ashland Cty:Timber Issue
11/29/89 | 1252 | Pitf Red Cliff Band's 1st Document Request to Intervenor Ashland Cty: Timber Phase
11/29/89 | 1253 | Pltf Red Cliff Band's lst Set of Interrogs to Interv. Burnett Cty: Timber Subphasé
11/29/89 | 1254 | Pltf Red Cliff Band's lst Document Request to Interv. Burnett Cty:Timber Subphase
11/29/89 | 1255 | Pltf Red Cliff Band's lst Set of Interrogs to Interv. Florence Cty: Timber Subphag$
11/29/89 | 1256 | Pltf Red Cliff Band's lst Document Request to Interv. Florence Cty: Timber Subphab’
11/29/89 | 1257 | Pltf Red Cliff Band's lst Set of Interrogs. to Interv. Langlade Cty: Timber Subph
11/29/89 | 1258 | Pltf Red Cliff Band's lst Document Request to Interv. Langlade Cty: Timber Subph.
11/29/89 | 1259 | Pltf£ Red Cliff Band's lst Set of Interrogs. to Interv Lincoln Cty: Timber Subphase
11/29/89 | 1260 | Pltf Red Cliff Band's 1st Document Request to Interv. Lincoln Cty: Timber Subphase

 

 

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11/29/89| 1261 | Pltf Red Cliff Band's Ist Set of Interrogs to Interv Marinette Cty: Timber Subph.
11/29/89] 1262 | Pltf Red Cliff Band's lst Document Request to Interv. Marinette Cty: Timber Subph,
11/29/89|1263 | Pltf Red Cliff Band's lst Set of Interrogs to Interv Vilas Cty: Timber Subphase

11/29/89} 1264 |Pltf£ Red Cliff Band's lst Document Request to Interv. Vilas Cty: TIMBER Subphase
11/29/89/1265 |Pltf Red Cliff Band's Ist Set of Interrogs to Interv. Washburn Cty: Timber Subphage

11/29/89|1266 |Pltf Red Cliff Band's Ist Document Request to Interv.. Washburn, Cty: Timber Subphage
L1/30/89 | 1267} Bad River Band's lst set of interrogs re Timber Regulations. (copy)

12/5/89 1268; LacCourte's 3rd set of interrogs/req. for prod. of docu. (Timber Regulatory Phase
12/5/89 1269| LacCourte's lst set of interrogs/req. for prod. of docu to intervenors (Timber)

12/5/89 1270; Bad River Band's Ist req. for prod. to County Defts (Timber )
12/7/89 1271! Stipulation of uncontested facts re issues of law (Fur Bearers/Small Game)

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12/8/89 | 1272 | Defts' Responses to Pltf Lac du Flambeau Band's First Set of Interrogatories &
Request for Production of Documents in Regulatory Phase.

12/8/89 (1273 |Defts' 9th Set of Interrogs and Request for Prod. of Doc's to LCO Band of Lake
Superior Chippewa Indians in Regulatory Phase (Fish species other than Walleye &
“Muskellunge.

12/8/89 |1274 iDefts' 9th Set of Interrogs and Request for Prod. of Doc's to Red Cliff Band of
Lake Superior Chippewa Indiansin Regulatory Phase (Fish species other than Walleye
& “Suskellunge.

12/8/89 {1275 \iDefts' 9th Set of Interrogs and Request for Prod. of Doc's to Sokaogon Chippewa
Indian Community, Mole Lake BAnk of WI in Regulatory Phase (Fish species other
tuan Walleye & Muskellunge.

12/8/89 (1276 |Defts' 9th Set of Interrogs and Request for Prod. of Doc's to St. Croix Chippewa
Indians of WI in Regulatory Phase (Fish species other than Walleye & '
Muskellunge).

12/8/89 {1277 |Defts' 9th Set of Interrogs and Request for Prod. of Doc's to Bad River Band of
Lake Supeior Chippewa Indians in Regulatory Phase (Fish species other than Walleye
& Muskellunge.
12/8/89 |1278 |Defts' 9th Set of Interrogs and Request for Prod. of Doc's to Lac du Flambeau Band
of Lake Superior Chippewa Indians in Regulatory Phase (Fish species other than
Walleye & Muskellunge.

12/8/89 | 1279 | ORDER setting brfg schedule for contested issues re: off-reservation treaty

harvest of fur bearers and small game. (BC)
12/12/89 1280| Bad River Band's response to Ist set of interrogs by defts.

12/13/89| 1281| Defts 10th Interrogs & Request for Pro of Documents to LCO In Reg. Phase (Timber)
12/13/89| 1282| Defts 10th Interrogs & Request for Pro of Documents to Red Cliff Band Reg. (Timber)
12/13/89} 1283) Defts 10th Interrogs Request for Pro of Documents to Mole Lake Reg. (Timber)
12/13/89] 1284| Defts 10th Interrogs & Request for Pro of Documents to St Croix Reg. (Timber)
12/13/89} 1285| Defts 10th Interrogs Request for Pro of Documents to Bad River Reg. (Timber)
12/13/89; 1286) Defts 10th Interrogs & Request for Pro of Documents to Lac du Flambeau Reg. (Timber

12/13/89 | 1287 | Pltf£ Bad River Band's lst Set of Requests for Admissions to Cty Defts re:Timber Reg.
12/13/89 | 1288 | Pltf Bad River Band's lst Set of Requests for Admissions to State Defts re:Timber| Re
12/13/89 | 1289 | Stip for Fisher, Fur Bears & Small game

12/13/89! 1299; Red Cliff Band's answer to defts' Ist set of damages interrogs.

12/14/89} 1291) Lac du Flambeau's 2nd set of interrogs.-regulatory phase.

12/15/89} 1292 Pltfs' Model Off-Reservation Conservation Code, Chapters 1-4, 8, 13 and 14.
2/15/89 | 1293 | Defts' stmt. of expert witnesses re trial on bear, migratory birds and wild

plant harvesting (3/5/90).
12/18/39} 1294 /PLtf $t Croix Chippewa Indians' Answers to deft's first set of damages phase

interrogs. ;
12/18/89| 1295| Pltfs' Statement of expert witnesses for 2/5/90 trial timber & remaining fish

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12/18/89 1296) CONSENT DECREE re Fisher, Fur Bearers and Small Game regulatory phase. cc mld.
(12/14/89)
12/19/89 1297 WI Admin. Code Chapter NR 13, submitted by defts purs. to Ct Order of 8/24/89,
re: regulations on all species not included in Phase II trials. (FILED 12/4/89)
12/20/89 1298 Defts' Brief for Fourth Subphase of Phase II (Fisher, Furbearers & Small Game)
12/21/89, 1299, Lac Courte'’s response to defts' Ist set of interrogs-damage phase.
12/21/89| 1300 Defts' responses to Lac du Flambeau's 2nd set of interrogs-regulatory phase.
12/22/89 1301, Pltf Mole Lake Band's Answers to Defts' First Set of Damages Phase Interrogs.
12/22/89 1302} Depo of Steven W. Miller, taken 11/14/89.
12/22/89 1303) Depo of Charles M. Pils, taken 11/14/89.
12/26/89 1304, Pltf St Croix Chippewa Indians' Set of Interrogs to Defts in Reg. phase. (Black
Bear)
12/26/89 1305) Pltf£ St Croix Chippewa Indians' Document Request to Defts in Reg. Phase. (Black
Bear)
12/26/89 1306, Pitf St Croix Chippewa Indians' Set of Interrogs to Defts in Reg. Phase.
(Migratory Birds)
12/26/8) 1307; Pltf St Croix Chippewa Indians' Document Request to Defts in Reg. Phase.
(Migratory Birds)
12/26/8) 1308 Pltf St Croix Chippewa Indians' Set of Interrogs to Defts in Reg. Phase. (Wild
Plants and Gathering)
12/26/89 1309) Pltf St Croix Chippewa Indians' Document Request to Defts in Reg. Phase. (Wild
Plants and Gathering)
12/26/89, 1310) Defts' Amended Statement of Expert Witnesses, re: 3/5/90 trial (bear,
migratory birds, wild plan harvesting)
12/26/89} 1311, Defts' llth Set of Interrogs & Request for Production of Doc's to Pltf
Lac du Flambeau Band in Reg. Phase. for 2/5/90 trial.
12/26/89| 1312! Defts' 11th Set of Interrogs & Request for Production of Doc's to Pltf St Croix
Band in Reg. Phase for 2/5/90 trial.
12/27/89 | 1313] Pltfs' Supp'l Statement of Expert Witnesses for 2/5/90 trial (timber).
12/27/89] 1314) Intervening Defts' First Set of Interrogs to Pltf Red Cliff Band of Lake
Superior Chippewa Indians in Reg. Phase. (Timber)
12/27/89 | 1315} Intervening Defts' First Request for Prod. of Doc's to Pltf Red Cliff Band of
Lake Superior Chippewa Indians in Reg. Phase. (Timber)
12/27/89 | 1316] Intervening Defts' First Set of Interrogs to Pltf Sokaogan Chippewa Indian
Community, Mole Lake Band, in Reg. Phase (Timber)
12/27/89, 1317, Intervening Defts' First Request for Prod. of Doc's to Sokaogan Chippewa Indian
Community, Mole Lake Band in Reg. Phase (Timber)
12/27/89; 1318; Intervening Defts' First Set of Interrogs to Pltf Bad River Band of Lake Superior
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12/27/89, 1319! Intervening Defts' First Request for Prod. of Doc's to Pltf Bad River Band of
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12/27/89; 1320; Intervening Defts' First Set of Interrogs to Pltf Lac du Flambeau Band of Lake
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Lake Superior Chippewa Indians in Reg. phase. (timber)
12/27/89 1322 Intervening Defts' First Set of Interrogs to Pltf LCO in Reg. phase. (timber)
12/27/89  1323| Interveing Defts' First Request for Prod. of Doc's to Pltf LCO in Reg.
Phase. (Timber)
12/27/89} 1324) Intervening Defts' First Set of Interrogs to Pltf St. Croix Chippewa Indians in
Reg. Phase. (Timber)
12/27/89, 1325| Intervening Defts' First Req for Prod. of Doc's to Pltf St. Croix Chippewa
Indians in Reg. Phase. (Timber)
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12/28/89} 1326] Pltf£ Lac du Flambeau Band's First Interrogs to Deft Intervenors and Request for

Production of Documents.
1/5/90 | 1327] Ashland Cty's answers and obj. to Red Cliff Band's lst set of interrogs (timber).

1/5/90 | 1328| Marinette Cty's answers and obj to Red Cliff Band's lst set of interrogs (timber)}
1/5/90 | 1329| Florence Cty's answers and obj to Red Cliff Band's Ist set of interrogs (timber).
1/5/90 | 1330| Vilas Cty's answers and obj to Red Cliff Band's lst set of interrogs (timber).
1/5/90 1331 | Langlade Cty's answers and obj. to Red Cliff Band's Ist set of interrogs (timber),
1/5/90 | 1332 | Burnett Cty's answers and obj to Red Cliff Band's Ist set of interrogs (timber).
1/5/90 1333 | Washburn Cty's answers and obj to Red Cliff Band's Ist set of interrogs (timber).
1/5/90 1334 | Lincoln Cty's answers and obj. to Red Cliff Band's lst set of interrogs (timber).
1/5/90 1335 | Intervening defts' obj and responses to Red Cliff Band's lst req. for prod of
docu (timber).

1/5/90 1336 | Defts' mot. for partial s/j re monetary relief.

1/5/90 | 1337 | Defts' proposed Finddnes(conctustons in support of s/j re monetary relief.
' . 1 a . . :

1/5/90 1338 | Defts brie t/SPRopRar f mot. for partial s/j re monetary relief.

1/8/90 1339 | Sokaogon Chippewa Community's answer to defts' Ist set of damages phase interrogs,
1/9/90 | 1340 | Defts'’ answers to Lac Courte Band's 3rd set of interrogs/req. for prod. (timber)

1/9/90 | 1341] Defts' Response to Pltf Lac Courte Oreilles Band's lst Request for Pro of
Documents in Reg Phase (Timber)

1/11/90 1342| Bad River Band's response to defts' 10th set of interrogs and req. for prod.
(timber).

1/11/90 1343! Pltfs' brief on Fisher, Burbearers and Small Game phase of trial.

1/11/90 | 1344| Intervening defts' answers/obj. to Bad River Band's interrogs. re timber regula.
1/11/90 1345! Intervening defts' responses/obj. to Bad River Band's lst req. for prod. re’
timber regula.

1/16/90; 1346! Defts' stmt. of expert witn.

1/17/90| 1347| Pltfs' Statement of Expert Witnesses (Bear, Waterfowl, Plants)

1/17/90 1348) Intervening defts' answers & objections to pltf, LCO's lst set of interrogs to
the deft-intervenors in regulatory phase (Timber).

1/17/90 | 1349! Intervening defts' objections & responses to pltf LCO's lst request for produc-
tion of documents to deft-intervenors in reg. phase (Timber).

1/17/90 1350! Intervening defts' responses & objections to pltf Bad River Band's lst req. for
admissions.

1/17/90 }1351 Defts' llth set of interrogs & req. for prod. of docs. to LCO (Bear, migratory
birds & wildplants & gathering) (Corrected 1/23/90)

1/17/90 |1352 | Defts' 11th set of interrogs & req. for prod. of docs. to Red Cliff Band (Bear,
migratory birds & wildplants & gathering) (Corrected 1/23/90)

1/17/90 |1353 | Defts' llth set of interrogs & req. for prod. of docs. to Sokaogon Chippewa, Mole
Lake band in re. phase (Bear, migratory birds & wildplants & gathering) (Correch edgy
1/17/90 |1354 | Defts' llth set of interrogs & req. for prod. of docs. to St. Croix Chippewa
(Bear, migratory birds & wildplants & gathering) (Corrected 1/23/90)

1/17/90 11355 | Defts' llth set of interrogs & req. for prod. of docs. to Bad River Band of Lake
Superior Chippewa (Bear, migratory birds & wildplants & gathering)(Corrected 1/23/*
1/17/90 |1356 | Defts' llth set of interrogs & req. for prod. of docs. to Lac du Flambeau Band
(Bear, Migratory birds & wildplants & gathering) (Corrected 1/23/90)

1/17/90 | 1357 Notice of depo of Eugene Defoe, by Defts, on 1/18/90.

1/17/90 |1358 Notice of depo of Thomas Busiahn, by Defts, on 1/18/90.

1/17/90 |1359 | Notice of depo of Joseph St. Germaine, by Defts, on 1/18/90.

1/17/90 | 1360 Notice of depo of Scott McDougals by Defts, on 1/18/90.

1/17/90 | 1361 State defts answers to pltf Bad River Band's lst set of req. for admissions
re: timber reg.

 

 

 

 
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1/18/90 | 1362 | P1ltf Lac du Flambeau Band's Response to State Defts' 9th Set of Interrogs and
Request for Production of Documents. (Fish Species)
1/18/90 | 1363 | Pltf Tribes' Notice of Depo of Ole Hanson, on 1/25/90.
1/18/90 | 1364 | Pltf Tribes' Notice of Depo of James Varro, on 1/25/90.
1/18/90 | 1365 | Pltf Tribes' Notice of Depo of David Majewski, on 1/25/90.
1/18/90 | 1366 | P1ltf£ Tribes' Notice of Depo of Michael F. Sohasky, on 1/25/90.
1/18/90 | 1367 | Pltf£ Tribes' Notice of Depo of Jerome W. Best, on 1/25/90.
1/18/90 | 1368 | Pltf Tribes' Notice of Depo of Tom Fegers, Jr., on 1/25/90.
1/18/90 | 1369 | Defts' Notice of Depo of James H. Schlender, on 1/23/90.
1/18/90 | 1370 Defts' Notice of Depo of A. Scott Reed, on 1/22/90.
1/18/90 | 1371 Defts' Notice of Depo of Arnold Rice, on 1/22/90.
1/18/90 | 1372 | Defts' Notice of Depo of Jeffrey Groeschl, on 1/22/90.
1/18/90 1373 |Defts' Notice of Depo of James Zorn, on 1/23/90.
1/19/90 | 1374 | Pltf St croix's Response to Defts 10th set of interrogs & req. for prod. of
doc's in reg. phase. (timber)
1/19/90 | 1375 | Pltf Lac du Flambeau Band's Response to Defts' 10th set of interrogs & req. for
prod. of doc's in reg. phase. (timber)
1/22/90 | 1376 | Pltf Lac du Flambeau Band's Response to Intervening Defts' lst set of interrogs
‘ & request for production of documents.
1/22/90 |1377 |Intervening Defts' Notice & Motion for Expedited Hearing.
1/22/90 |1378 |Affidavit of Truman Q. McNulty.
1/22/90 |1379 |Intervening Defts' Notice & Motion to Quash Pltfs, Red Cliff Band, Lac du Flambeat
Band, LCO, Bad River Band, Sokaogan Band of Mole Lake, St. Croix Chippewa Indians'
Notice of Depo and subpoena duces tecum.
1/22/90 |1380 |Affidavit of Truman Q. McNulty in spt of intervening defts' Mo to quash notice of
depo and subpoena duces tecum, and for a protective order.
1/23/90 |1381 |Defts' reply for 4th subphase of trial (Fisher, Furbearers, Small Game).
1/23/90 |1382 |Bad River Band's response to intervening defts' Ist interrogs. and req. for
prod. (Timber)
1/23/90 |1383 |Bad River Band's response to defts' 9th set of interrogs/req. for prod. in
regulatory phase (other fish species).
1/23/90 |1384 |Pltfs' notices of depo. w/affid. of mlg. re Vande Hei, Frank, Gunter, Coffman,
Radcliffe, Tubbs, Mortier, Martin, Stier, Erickson, Locey w/subpoenaes.
1/23/90 |1385 jLacCourte's response to defts' 9th set of interrogs/req. for prod. (fish). (copy)
1/23/90 |1386 |LacCourte's response to intervening defts' lst set of interrogs. in regulatory
phase (Timber).
1/23/90 |1387 |Affidavit of David J. Siegler in oppos to Intervening Defts' Mo to Quash
Notice of Depo & Subpoena and for a protective ordder. (FAX COPY)
1/24/90 (1388 | Affvdt of David J. Siegler in Oppo to Intervening Defts' Mo to Quash Notice of
Depo & Subpoena and for a Protective Order
1/24/90 (1389 Interv Defts. Notice of Depo. of J. Groeschl, Arnold Rice, A. Scott Reed, for
1/22/90 w/o affvdt of mlg
1/24/90 |1390 | Interv. Defts. Notice of Depos. of James Schlender, Jim Zorn, on 1/23/90
w/o affvdt of mlg
1/24/90 (1391 Interv. Defts' Notice of Depos. of David Getches, Howard E. Thompson, Robert Roe,
on 1/29/90 w/out affvdt of mlg
1/24/90 (1392 | Interv. Defts' Notice of Depo of Hubert L. Locke on 1/31/90 w/out affvd of mlg
1/24/90 | 1393 Ctrm Min., Mo Hrg., RJG, Apps: Milt Rosenberg, Tom Dosch, Lisa Levin, Truman
McNulty. Mo/Quash Subpoenas by intervening defts is denied. Ct to iss order.

 

 

 
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1/25/90 (1394 | ORDER that Depos of Varro,Sohasky & Fegers be taken by pltfs on 1/25/90 & Depos
of Hanson, Best & Majewski on 1/27/90;cpys mld (RJG)
1/25/90 |1395 | Defts' Answers to Pltf St Croix Chippewa Indians Set of Interrogs in Reg Phase,
(Migratory Birds) and Response to Request for Production of Documents.
1/25/90 |1396 | Defts' Answers to Pltf St Croix Chippewa Indians Set of Interrogs in Reg Phase,
(Black Bear) and Response to Request for Production of Documents.
1/25/90 |1397 | Defts' Answers to Pltf St Croix Chippewa Indians Set of Interrogs in Reg Phase,
(Wild Plants and Gathering) and Response to Request for Prod. of Documents.
1/26/90 | 1398] Bad River Band's lst suppl of its response to defts' 10th interrogs.
1/26/90 | 1399| Bad River Band's notice of depo re Harry Mills w/affid. of mlg.
1/26/90 | 1400 | Depo. of Thomas R. Busiahn, taken 1/18/90.
1/26/90 | 1401 | Depo. of Eugene F. Defoe, taken 1/18/90.
1/26/90 | 1402| Depo. of Scott McDougall, taken 1/18/90. (Mislabelled Craig McDougall)
1/26/90 | 1403 | Depo. of Scott McDougall, taken 1/19/90. (Vol. IL)
1/26/99 1404} Deft State's mot. for expedited hrg. on mots. in limine/mot. for costs.
1/26/90 1405| Deft State's mots. in limine/mot. for costs.
1/26/90 14N6| Affid. of Lisa Levin in support of deft's mots. in limine/mot. for costs.
1/26/90 1407| Affid. of Lisa Levin in support of expedited hrg. on mots. in Linine.
1/29/90 1408| Pltf£ Bad River Band's 2nd Supplementation to Response to Defts' 10th Set of
Interrogs.
1/29/90 1409| Defts' Notice of Depo of Hubert L. Locke, on 1/31/90, w/attached depo subpoena.
1/29/90 1410| Pltf St. Croix Chippewa Indians' Response to Defts' 9th Set of Interrogs and
Request for Production of Doc's (other fish species).
1/29/90 1411) Pltf St. Croix Chippewa Indians’ Response to Intervening Defts' First Set of
Interrogs and Requeest for Production of Documents (timber).
1/29/90 | 1412] Depo Subpoenas w/ret's of service on: Jerome Best, James Varro, Tom Fegers, Jr.,
Michael Sohasky, Ole Hanson, David Majewski.
1/29/90 | 1413} Defts' Notice of Depo of David Getches, on 1/29/90, w/attached depo subpoena.
1/29/90 | 1414} ORDER on discovery disputes re depo. of Vero taken 1/27/90. (JWS) cc mld.
1/29/90 | 1415| Intervening Defts' Pretrial Statement. (timber)
1/29/90 1416; Intervening Defts' Proposed Findings of Fact. (timber)
1/29/90 1417; Intervening Defts' Proposed Special Verdict. (timber)
1/29/90 | 1418] Defts' Pretrial Statement (timber).
1/29/90 | 1419! Defts' Proposed Findings of Fact. (timber. )
1/29/90 1420 | Mo to Intervene by Wisconsin Broadcasters Assoc., State Bar of WI, et al.
1/29/90 1421 | Mo to Suspend local order on camers in the courtroom, by Wisconsin Broadcasters
Assoc., State Bar of Wi, et al. (with support)
L/29/90 1422 | Plt£ Bad River Band's Proposed Findings of Fact for Timber Subphase.
1/29/90 1423" Pltf£ Bad River Band's Pretrial Brief for the Timber Subphase.
L/29/90 1424 | Pltf Bad River Band's Notice of Depo of Dr. Robert J. Engelhard, on 2/2/90,
w/attached depo subpoena.
1/29/90 | 1425 | Defts' Supplemental Answers to Pltf LCO's 3rd Set of Interrogs. (Timber)
1/30/90 | 1426 | Intervening Defts' Answers and Objections to Pltf Lac du Flambeau Band's Ist set
of Interrogs to the Deft-Intervenors.
1/30/90 | 1427 | Intervening Defts' Objections and Responses to Pltf Lac du Flambeau Band's lst
Request for Production of Documents to the Deft-Intervenors.
1/30/90 |1428 | Intervening defts' mot. in limine and for costs re witness Thompson.
1/30/90 | 1429! Ctrm Min., Hrg re: trial on timber, BC, Apps: Schwalbe, Bichler, Plantinga,
Siegler, Rosenberg, Tierney, Stadler, McNulty, Dosch, Sosnay, Levin, Peterson.
Ct tr to commence 2/5/99; brfg on part. s/j on phase II. Mo to intervene granted
only to argue susp. of ct order. Mo denied. Local rule to be enforced.

 

 

 
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1/30/90 | 1430 | ORDER denying intervenor's mo for suspension of local rule. (BC) Cc mld.
1/31/90) 1431) Response of Pltf Sokaogon Band of Mole Lake to Defts' 10th Set of Interrogs &
Request for Pro of Documents in Reg. Phase (Timber)
1/31/90 | 1432 | ORDER granting pltfs' request for ext of brfg on defts' mo for part. s/j.
Dates set. (BC) Cc mld.
1/31/90 | 1433 | ORDER NO. 2 on Status Conf. held 1/30/90. (BC) Cc mld.
2/1/90 1434+; Intervening defts' trial brief (timber).
2/1/90 | 1435+) Defts' pretrial brief (timber).
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Sokaogan Chippewa Indian Community, Mole Lake Band's response to intervening
defts' lst set of interrogs and req. for prod. (timber).
Depo of Carl H. Tubbs taken 1/12/90

Depo of Michael Beaufeaux taken 1/11/90

Depo of John E. Gunter taken 1/24/90

Depo of Arnold L. Rice taken 1/22/90

Depo of Howard E. Thompson taken 1/29/90

Depo of Arthur Scott Reed taken 1/22/90

Depo of A. Jeff Martin taken 1/26/90

Depo of Jeffrey G. Groeschl taken 1/22/90

Depo of Samuel J. Radcliffe taken 1/12/90

Depo of Ralph Mortier taken 1/22/90

Depo of Michael Scott Coffman taken 1/11/90

Defts' Notice & Motion to Strike.

Pltf Bad River Band's 3rd Supplementation to Response to Defts' 10th Set of
Interrogs in Reg. Phase.

ORDER on hrg. held by telephone 2/2/90. (BBC) cc mld.
Depo of Charles J. Erickson taken 1/23/90
Depo of Gerald L. Vande Hei taken 1/23/90
Pitfs' Pretrial Statement

Depo of Jeffrey Charles Stier, on 1/30/90.

Depo of James Schlender,a on 1/23/90.

Depo of Jerome Best, on 1/27/90.

Depo of David S. Majewski, on 1/27/90.

Depo of Michael Sohasky, on 1/25/90.

Depo of Thomas G. Fegers, Jr., on 1/25/90.

Depo of A. Jeff Martin, on 1/26/90.

Depo of Robert Roe, on 1/29/90.

Depo of James E. Zorn, on 1/23/90.

Depo of James Varro, on 1/27/90.

Depo of Craig Thomas Locey, on 1/29/90.

Depo of Robert J. Engelhard, on 2/1/90.

Depo of Ole Hanson, on 1/27/90.

Crtrm Min re: lst Day Crt Trial rE:TIMBER Apprs: Pltfs by D. Siegler, K. Tierney
H. Bichler, M. Rosenberg, T. Schwalbe, E. Charlton. Defts by AAG Dosch & Levin.
Inter. Defts by W. Sosnay, T. McNulty & R. Stadler. Opening Statements. Defts'
Mo to Strike portion of pltfs' Pretrial brief. Granted. Testimony. (BC)
Transcript of hrg. held 1/30/90, 5:20 p.m.

Ctrm Min of 2nd day Crt Trial re:TIMBER. Same Apprs. Testimony. (BC)

Ctrm Min of 3rd day Crt Trial re: TIMBER, Same Apprs except Victor Plantinga
in place of Earl Charlton. Testimony. (BC)

Ctrm Min of 4th day Crt Trial re: TIMBER, Same Apprs. Testimony. (BC)
Transcript of excerpt of testimony of Richard Rollman & A. Jeff Martin, held on

 

4th day Ct Trial, on 2/8/90.
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2/9/90 | 1473] Transcript of excerpt of proceedings, held on 4th day Ct Trial, on 2/8/90,(Timbey
re: comments of Ct and partial testimony of Tom Fegers, Jr., & Richard Rollman.
2/9/90 | 1474) Ctrm Min of 5th day Ctr Trial re: TIMBER, same apprs. , Testimony. (BC)
2/12/90 1475] Ctrm. min. of 6th day Ct. Trial. Intervenor case cont /d.
2/13/99 1476 | Ctrm. min. of 7th day Ct. Trial. Intervenor case cont'd.
2/13/90 | 1477| Transcript of Hrg before Magistrate Groh on 1/24/90
2/14/96 1478) Depo of David Getches taken 1/29/90
2/14/90| 1479} Ctrm. min. of 8th day court trial. Deft State begins its case. (Timber)
2/16/90! 1480 Transcript (excerpt) of trial 2/15/90 (Timber).
2/15/90 | 1481 Pitfs' Statement of Expert Witnesses for April 6, 1990 Trial
2/15/90; 1482} Defts' 12th Set of Interrogs & Request for Pro. of Documents to the Lac Courte
Band (Miscellaneous Species & Reg. Matters)
2/15/90] 1483 Defts' 12th Set of Interrogs & Request for Pro. of Documents to the Red Cliff
Band ( Miscellaneous Species & Reg. Matters)
2/15/90] 1484] Defts' 12th Set of Interrogs & Request for Pro. of Documents to the Sokaogon
Chippewa Ind. Comm, Mole Lake Band of WI In Regul. Phase (Miscellaneous Species
& Reg. Matters)
2/15/90; 1485| Defts' 12th Set of Interrogs & Request for Pro. of Documents to the St. Croix
Band (Miscellaneous Species & Reg. Matters)
2/15/90} 1486!) Defts' 12th Set of Interrogs & Request for Pro. of Documents to the Bad River
Band (Miscellaneous Species & Reg. Matters)
2/15/90] 1487 Defts' 12th Set of Interrogs & Request for Pro. of Documents to the Lac du
Flambeau Band (Miscellaneous Species & Reg. Matters)
2/16/90 | 1488| Ctrm Min re: 9th Day Crt Tr (Timber) Same Apprs. State's Case Cont'd. Mo for
direct verdict by pltfs on conservation fee only DENIED. (BC)
2/16/90 | 1489 | Ctrm Min re: 10th Day Crt Tr (TIMBER) Same Apprs. State Defts rest. (BC)
2/20/90 | 1490 | Depo of Hubert G. Locke taken 1/31/90
2/20/90 | 1491 | Transcript of 7th Day @t Trial (TIMBER) 2/13/90 (Excerpt Testimony of Gerri Allen
2/20/90 | 1492 Transcript of 6th Day Crt Trial (TIMBER) 2/12/90(" " of Leo H. LaFernier) Ti
2/20 90] 1493| Transcript of 7th day Crt Trial (TIMBER) 243/900" " of Leo H. LaFernier) Ti
2/20/90 14941 Deposition of Howard Thompson, taken 2/19/90
2/20/90} 1495} Ctrm Min re: lith Day Crt Tr (Timber) Same Apprs. Pltfs' case resumed.
2/21/90 1496; Ctrm Min re: 12th Day Crt Tr (Timber) Same Apprs. Pltfs' case resumed.
'/22/90 | 1497 | Ctrm Min re: 13th Day Crt Tr (Timber) Same Apprs. Pitfs' case resumed.
2/23/90! 1498 | Subpoena w/Return of Service, on Samuel J. Radcliffe.
2/23/90 |1499 | Ctrm Min re: 14th day Ct Tr (Timber) Same Apprs. Pltfs' case resumed.
2/26/99 1500 Transcript of Excerpt of Proceedings held on 14th Day of Ct Trial, on 2/23/90 (Timber
2/27/90 1501 Ctrm. min. of 15th day Ct. Trial. (Timber) Pltfs' case cont'd.
2/28/99 | 1592 | Gtrm. min. of 16th day Ct. Trial. (Timber) Pltfs rest; rebuttal by Counties.
3/1/90 | 1503, Ctrm. min. of 17th day Ct. Trial. (Timber) Court rules on and receives exhibits
and offers of proof; brfg. set w/intervening defts and State to file first brief
3 weeks after transcripts of trial completed; pltfs' brief due 3 weeks thereafte
and reply due 2 weeks later. (BC)
3/1/90 1504 | Subpoena w/execution as to Michael Beaufeaux.
3/1/90 1505 | Subpoenaes w/executions as to Busiahn, Defoe, Groeschl, Rice, and Zorn.
3/13/90 | 1506 | Stip., Consent & Order for Substitution of Joseph L. Young may be substituted
for Kathryn L. Tierney as counself or Lac du Flambeau Band;cpys mld (BC)
3/16/90 |1507 |Defts' Second Set of Damages Phase Interrogatories, First Set of Requests for
Production of Doc's, and First Set of Requests for Admission.
3/16/90; 1508] Transcript of 3rd day morning session, Ct Trial, on 2/7/90, VOL. 3-A. Timber
3/16/90) 1509] Transcript of 8th dav morning session, Ct Trial, on 2/14/90, voL. 8-4, Timber
3/16/90} 1510} Transcript of llth day morning session, Ct Trial, on 2/20/90, VOL. 11-A. Timber

 

 

 
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3/16/90} 1511) Transcript of 12th Day afternoon session, Ct Trial, on 2/21/90, VOL. 12-B.(Timber
3/16/901 1512| Transcript of 13th Day afternoon session, Ct Trial, on 2/22/90, VOL. 13-B.(Timber
3/16/90; 1513) Transcript of 14th Day afternoon session, Ct Trial, on 2/23/90, VOL. 14-B.(Timber
3/16/90; 1514} Transcript of 15th Day morning session, Ct Trial, on 2/27/90, VOL. 15-A. (Timber
3/26/90} 1515} Plitfs' Reply Brief in oppos. to Defts' Mo for Partial S/J.
3/28/90 1516} Pltf's proposed findings/conclusions re damages.
3/28/90 1517} Pltf's response to defts' proposed findings/conclusions re damages.
3/28/90 1518, Pltfs' "CORRECTED" copy of brief in oppo to defts' mot. for partial s/j.
3/29/90 1519| Transcript of Ist day of trial, afternoon session, held 2/5/90 (Timber) Vol. 1-B
3/29/90 | 1520] Transcript of 4th day of trial, afternoon session, held 2/8/90 (Timber) Vol. 4-B
3/29/90 1521} Transcript of 16th day of trial, afternoon session, held 2/28/90 (Timber) Vol.
16~-B.
3/29/90 1522} Transcript of 2nd day of trial, morning session, held 2/6/90 (Timber) Vol. 2-A.

4/2/90 1523} Transcript of lst day of morning session of Ct Trial, on 2/5/90. Vol. 1-A.
4/5/90 1524 Transcript of 3rd day of afternoon session of Ct Trial, on 2/7/90. Vol. 3-B.
4/6/90 | 1525| Response of Pltf St Croix Chippewa Indians to State Defts' 12th Set of Interrogs
& Request for Production of Doc's in Regulatory Phase. (Miscellaneous Species
and Regulatory Matters)

4/9/90 1526 Defts' Pretrial Statement. (4/16/90 Ct Trial)

4/9/90 |1527 | Defts' Proposed Findings of Fact. (4/16/90 Ct Trial)
4/9/90 1528 Defts' Notice & Motions for Sanctions & In Limine. (4/16/90 trial)

4/9/90 {1529 | Defts' Reply Brief in spt of Mo for Partial S/J. (errata sheets inserted 4/12)
4/11/90 |1530 | Resp of Pltf LCO Band to Deft's 12 set of Interrogs & Request for Pro. of

Documents in Reg Phase (Miscell Species & Regulatory Matters)

4/13/90 | 1531 LCO Band of Lake Superior Chippewa Indians' Off-Reservation Conservation Code,

Amended to include provisions in Stip. entered 4/9/90. (Fish species other than
Walleye & Muskellunge)

4/13/90 | 1532 | Transcript of 5th day of afternoon session of Ct Trial, on 2/9/90. VOL. 5-B

4/16/90 1533] Pltf Bad River Band's REsponse to Defts' 12th Set of Interrogs in Reg pRRSE?
(Miscellaneous species)

4/18/90 | 1534 | Defts' Mo to Depose Pltfs' Expert on damages, David Bromley

4/18/90 (1535 Transcript of 7th day morning session, held 2/13/90 (Timber) Vol. 7-A.
4/18/90 (1536 Transcript of 6th day morning session, held 2/12/90 (Timber) Vol. 6-A.
4/20/90 | 1537 Transcript of 5th day morning session, held 2/9/90 (Timber) Vol. 5-A.
4/20/90 | 1538 Transcript of 6th day afternoon session, held 2/12/90 (Timber) Vol. 6-B.
4/20/90 | 1539 Transcript of 7th day trial afternoon session, held 2/13/90 (Timber) Vol. 7-B.
4/20/90 | 1540 Transcript of 9th day trial afternoon session, held 2/15/90 (Timber) Vol. 9-B.
4/20/90 | 1541 Transcript of 16th day trial morning session, held 2/16/90 (Timber) Vol. 10-A
4/20/90 | 1542 ORDER on status conf. held 4/18/90. Damages Trial reset: 3/18/91. (BBC)
4/30/90 11543 Transcript of 8th day afternoon session, held 2/14/90 (Timber) Vol. 8-B.
4/30/90 |1544 Transcript of 12th day morning session, held 2/21/90 (Timber) Vol. 12-A.
4/30/90 | 1545 Transcript of 14th day morning session, held 2/23/90 (Timber) Vol. 14-A.
4/30/90 | 1546 Transcript of 16th day morning session, held 2/28/90 (Timber) Vol. 16-A.
4/30/90 11547 Transcript of 2nd day afternoon session, held 2/6/90 (Timber) Vol. 2-B,.
4/30/90 11548 Transcript of 4th day morning session, held on 2/8/90 (Timber) Vol. 4-A.
4/30/90 11549 Transcript of 9th day morning session, held 2/15/90 (Timber) Vol. 9-A.

4/30/90 11550 Transcript of 10th day afternoon session, held 2/16/90 (Timber) Vol. 10-B.
4/30/90 |1551 Transcript of llth day afternoon session, held 2/20/90 (Timber) Vol. 11-B.

4/30/90 |1552 Transcript of 13th day morning session, held 4155699 Timber) Vol. 13-A.
4/30/90 |1553 Transcript of 15th day afternoon session, held 2 90 (Timber Vol. 15-B.

 

 

 
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4/30/90 1554 | Transcript of 17th day, held 3/1/90 (Timber) Vol. 17.
5/1/90 1555| Sokaogon Chippewa, Mole Lake Band's response to deft's 12th set of interrogs./
req. for docu. (Regulatory Phase-Misc. Species)
5/4/90 |1556 | Transcript of Motion Hrg held 4/10/87 before BC.
5/8/90 |1557 | Pltfs' answers/response to defts' 2nd set of interrogs/req. for prod. (damages).
5/9/90 11558 ORDER on disputed issues re off-reservation hunting of white-tail deer, fisher
and other furbearing animals and small game within ceded area. (BRC)
5/9/90 |1559 | ORDER setting briefing on timber phase of trial w/last brief due 7/6/90. (BBC)
5/21/90 | 1560 | Pitf Bad River Band's 1st Suppl of Pltfs' Response to Defts' 2nd Set of Damages
Phase Interrogs & lst Set of Requests for Pro of Documents
5/21/90! 1561) Defts' Notice & Motion To Dismiss. (Timber)
5/21/90} 1562| Affidavit of Gerald L. Vande Hei. (Timber)
5/21/90| 1563| Defts' Brief in spt of Mo to Dismiss. (Timber)
5/21/90| 1564] Defts' Post-Trial Brief for 6th Subphase (Timber) of Phase 2.
5/21/90 | 1565) Intervening Defts' Post-Trial Brief (Timber).
5/21/90 1566) Intervening Defts' Notice & Motion for Relief from Order, & Alternative Motions.
5/24/99 (1567 | Intervening Defts' post-trial brief (revised/corrected version) (Timber).
5/29/90 | 1568 Stipulation of parties re Fish Species other than Walleye and Muskellunge.
6/5/90 1569| ORDER setting briefing on question of whether treaty rights issue should be
reopened, on defts' mot. to dms. pltfs' timber claim, and on intervening defts'
mot. for relief from prior order. (BBC) (6/5/90)
6/7/90 1570 | Fish Species Other than Walleye & Muskellunge Regulatory Phase Consent Decree (B¢)
(rec'd 5/29/90)
6/7/9N 1571 Deposition of Donald Moore, Sr., taken 5/22/90. ;
6/11/90 1572| Pltf£ Bad River Band's 2nd Supplementation of Pltfs' Responses to Defts' 2nd Set
of Damages Phase Interrogs.
6/11/90| 1573] ORDER amending scheduling order of 6/5/90 for brfs on mos to intervene. (BC)
6/15/90} 1574) Depo of Emanuel Norman Poler, taken 6/5/90.
6/15/90 | 1575 | Intervening Defts' Proposed Post Trial Findings of Fact & Conclusions of Law.
(Timber )
6/15/90 | 1576 | Pltfs' Post-Trial Brief. (Timber)
6/15/90 | 1577 | Pltfs' Proposed Findings of Fact and Conclusions of Law. (Timber)
6/15/90 | 1578 | Defts' Proposed Post-Trial Findings of Fact and Conclusions of Law. (Timber)
6/27/90 | 1579 | Notice to Depose Pltfs' Expert Witness Daniel Bromley on 7/10/90 by defts w/out
affvd of mlg
7/6/90 1580 |Intervening Defts' Post-Trial Reply Brief (Timber).
7/6/90 1581 | Defts' Post-Trial Reply Brief for 6th Subphase of Phase II. (Timber) (Corrections
7/6/90 1582 | Affidavit of AAG Thomas L. Dosch. fld 7/9/90)
7/9/90 1583| Pltfs' Response to Intervenors' Motion for Relief fm Order and Alternative Mos.
7/9/90 1584| Pltfs' Brief in Opposition to Defts' Motion to Dismiss Timber Claim.
7/11/90 | 1585 | Transcript of lst day, Ct Trial, on 8/7/89. Excerpt of Proceedings.
7/16/90! 1586; Depo of DAniel Wood Bromley, taken 7/10/90.
7/18/90 1587| Order extending briefing on timber issues w/reply briefs of State defts & Interv,
Defts due 8/2/90;cc mld (BC)
7/24/90 | 1588 | Depo. of Ervin Soulier, taken 6/8/90.
7/24/90 | 1589 | Depo. of Ricky D. Petersen, taken 6/7/90.
7/24/90 | 1590 | Depo. of Mary Bigboy, taken 6/7/90.
7/24/90 | 1591 | Depo. of Dana Jackson, taken 6/7/90.
7/24/90 | 1592 | Depo. of LuVerne Plucinski, taken 6/7/90.
7/24/90 | 1593 | Depo. of James Pipe Mustache, taken 6/28/90.
7/24/99 | 1594 | Depo. of Leslie Margaret Ramezyk, taken 6/27/90

 

 
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7/24/90, 1595! Depo. of Norma Jean Ross, taken 6/27/90.
7/24/90} 1596! Depo. of Donna Jean Carley, taken 6/27/90.
7/27/90} 1597, Defts' Reply Brief in Supp of Motion to Dismiss re: Pltfs' asserted right to |
Harvest Timber in ceded Territory
7/27/90| 1598| Defts' Request to Take Judicial Notice in Consideration of Defts' Mo to
Dismiss the timber Claim ,
8/1/90 |1599 | Defts' Notice & Motion for lv to file 2nd amended answer to joint amended complt
8/2/90 | 1600 | Intervening Defts' Reply Brief in spt of Mo for Relief from Order and .
Alternative Motions.
8/6/90 1601 Pltfs' Second Joint Amended Complaint.
8/14/90 | 1602 | Defts' Answer to 2nd Joint Amended Complt.
8/16/90 | 1603 | Deposition of Gaiashkibos, taken 5/23/90.
8/16/90 |1604 | Deposition of David M. Ujke, taken 5/29/90.
8/16/90 |1605 | Deposition of Eugene W. Taylor, taken 5/31/90.
8/16/90 | 1606 | Deposition of Michael W. Allen, Sr., taken 6/1/90.
8/24/90 | 1607 | Black Bear, Migratory Birds, Wild Plants, Miscellaneous Species & Regulatory
, Matters Consent Decree Including Stipulations attached; cc mld (BC)
8/30/90 | 1608 | Ctrm Min re:Oral Argument. Apprs: For pltfs. J. Young, T. Schwalbe, D. Siegler,
E. Charlton, H. Bichler, M. Rosenberg. Defts by: AAGs C. Hoornstra, P. Peterson,
R. Repasky. 11th Amendment - Statute of limitations taken u/a. (BC)
9/4/90 1609 | Plitfs' Designation of Expert Witnesses/Damages Phase.
9/4/90 1610 | Pitfs' Supplement to Designation of Expert Witnesses/Damages Phase.
9/10/90, 1611} Pltf Bad River Band's Off-Reservation Conservation Code.
9/11/90 1612) Deft's notices to depose pltfs' expert witnesses.
9/13/90; 1613) Defts' Brief re: 8th Subphase of Phase II (Boating regulation)
9/18/90 1614; Intervenor's letter position on Bad River Band's Off-Reservation Conservation
Code.
10/4/90; 1615! Pltfs' brief for 8th Subphase, Phase II, Boating Regulations.
10/4/90| 1616) Off-Reservation Conservation Code of the St. Croix Chippewa Indians.
10/10/90) 1617; ORDER that defts' Mo for Partial S/J as to all of Pltfs' Monetary Claims
against Defts is GRANTED. (BC) AMENDED IN ORDER #1620
10/17/90} 1618+ Defts' Reply Brief for 8th Subphase of Phase II (Boating Regulation).
10/22/90; 1619} Plitfs' Resolution #90-62, adopting & incorporating changes in Model
Off-Reservation Conservation Code.
10/22/90; 1620; ORDER AMENDING order of 10/11/90 by deleting last two sentences & substituting
replacement sentences (see order). (BC)
1/11/91 1621 STIPULATION & ORDER FOR SUBSTIT. OF ATTYS. David & Kuelthau, S.C. substit. in
place of Mulcahy & Wherry, S.C., for intervening defts. (JWS) CC mld.
2/21/91 1622; ORDER Granting Defts' mo for Reconsid. of May 1988 order denying their Mo for
Clarif of LCO III, May 1988 is VACATED; & granting Defts’ mo for clarif of LCO
Ili. Defts may regulate pltfs' harvesting of commercial timber resource
in the same manner they regulate non-Indian harvest. RE: Misc forest products,
state defts & county interv. may impose a permit requirmt & 14 day time for
issuance of such permits, per Wis Admin Code §NR 13.51 & County Reg. 5 cc (BC)
2/21/91 1623 | Order that defts may enforce & prosecute in state crts violations of state
boating laws committed by members of pltf tribes that are reasonable & necessary
for purposes of public safety & conservation. cc mld (BC)
2/21/91 | 1624) ORDER setting hrg on 2/28/91 @9:00 am for purpose of allowing comment of parties
to comment on final form of judgment & to resolve any other matters. cc ml (BBC)
p/28/91 1625) Crtrm Min re:Hearing on form of Final judgment. Pitfs' request add'l time
to review form of judgment; add'l hrg set for 3/19/91 @9:00 am. Parties to
exchange proposed forms by 3/15/91. Briefs re:costs due 3/15. (BBC)
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3/1/91 1626, ORDER on status conf. on 2/28/91. (BC)

3/13/91 1627 State Defts' Prop Amendments & Additions to Judge Crabb's Prop Form of Final
Judgment

3/15/91! 1628] State Defts' Brief in spt of proposal for costs.

3/15/91 | 1629 | Intervening Defts' Memorandum in support of proposal for costs.

3/15/91 | 1630 | Intervening Defts' Proposed Amendments & Additions to Proposed Final Judgment.

3/18/91 | 1631} Proposed Amendments & Additions to Proposed Form of Final Judgment by Pltf
St. Croix Chippewa.

3/18/91 | 1632 | Motion by Pltf LCO for order joining USA as involuntary Pltf.

3/18/91 | 1633 |Memorandum of Law in spt of Pltf LCO's Motion to join US as involuntary Pltf.

3/18/91 | 1634 ; Affidavit of E. Marie Butler.

3/19/91 1635 | Ctrm Min re: Hrg on Prop Form of Final Judgment; discussion of form of judgment;
LCO's Mo to join USA as Invol. Party Denied; parties have to 3/29/91 to file
responses to costs; 30 day ext (in addition to reg 30 days) granted for appeal.
(BBC)

1/19/91 (1636 | Final Judgment;cc mld (BBC & JWS)

3/21/91 | 1637] STIPULATION & CONSENT ORDER FOR WITHDRAWAL AND SUBSTITUTION OF ATTY E. MARIE
BUTLER FOR TRACEY L. SCHWALBE, FOR PLTF LCO. (BC)

3/21/91 | 1638; ORDER granting pltfs' request for extension of time to file notice of appeal.
(BC)

3/22/91} 1639| ORDER correcting word "toal"™ to "total" on page 4 of judgment entered 3/21. (BBC)
3/26/91| 1640} State Defts' Mo for Return of Bond in the sum of $250, filed w/crt as surety
bond on Nov 11, 1978.

3/27/91 | 1641 Order directing Clerk of Crt to Return to the State of WI, the Sum of $250.00
as Bond filed w/Crt on 11/11/78;cc mld (BBC)

4/3/91 1642 | ORDER GRANTING Pltfs' request to be heard on any requests for costs made by

defts & intervenors. (BC)

4/5/91 1643 Transcript of Mo Hrg held on 3/19/91.

4/17/91 | 1644, Motion to Clarify Order entered 4/3/91, by intervening defts.

4/19/91 1645, ORDER allowing Pltfs to 4/30/91 to respond to Mo of Interv Defts to clarify the
order entered 4/3/91. (BBC)

4/30/91 1646) Pltfs' Memorandum in response to intervening Defts' Mo to Clarify order.

5/7/91 1647; Interv Defts' Memo in Response to Pltfs' Memo re: Defts' Mo for Clarification

5/21/91 | 1648] ORDER GRANTING MO FOR COSTS BY INTERVENING DEFTS; BILL OF COSTS TO BE SUBMITTED
BY 5/30/91. (BC)

3/30/91 1649; Bill of Costs of WI County Forests Association, et al., Intervening-Defts

6/10/91 | 1650 | Pltfs' Objections to Bill of Costs of Intervening Defts.

6/17/91 | 1651 | Intervening Defts' Reply to Pltfs' Objection to Bill of Costs.

6/24/91 1652 Pltfs' Response to Intervening Defts' Reply to Pltfs' Objection to Bill of Costs.

7/23/91 | 1653) costs of $36,461.09 taxed in favor of WI County Forest Association, et al, Inter-
Defts; against pltfs. cc mld (JWS)

8/29/91 | 1654 | Notice of Appearance by James M. Jannetta for Pltf Lac du Flambeau Band of Lake
Superior Chippewa Indians, and of Intent to Petition for Atty Fees.

1/23/91 1655) Motion for Attorney Withdrawal by e. Marie Butler for Pltf LCO Band of Lake
Superior Chippewa Indians.

10/10/91; 1656 oRDER Permitting W/Drawal of Atty E. Marie Butler for Pltf, Lac Courte Oreilles

Band. (BBC)
3-16-52 1 vol of exhibits returned from USCA

 

 

 
 

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3/26/92! 1657| Notice of appearance of Atty Tracey L. Schwalbe for LCO (for purpose of petition-
ing for attys' fees) & of intent to petition for attys fees.

9/4/92 |1658 + Pltf Red Cliff Band's Appl for Atty Fees.
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9/4/92 |1673 | Application for Atty Fees by Pltf LCO.
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by pltf Lac du Flambeau.
9/4/92 | 1694
by pltf Lac du Flambeau.
9/4/92 | 1695

9/4/92 | 1696

w/attached exhibits.

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Affidavit of Milton Rosenberg in st of appl for atty fees.
Affidavit of Jerry C. Straus in spt of appl for Red Cliff's atty fees.
Affidavit of Jeff Scott Olson in spt of appl for Red Cliff's atty fees.

Affidavit of Bruce R. Greene in spt of appl for attys fees

(Unsigned) /£f4 9/8/

Affidavit of David J. Siegler in spt of appl for atty fees by Pltf Bad RiverTriba
Affidavit of Jay S. Moynihan in spt of appl for atty fees by Pltf Bad River Tribg
Affidavit of Candy L. Jackson in spt of atty fees by Pltf Bad River Tribe.
Affidavit of Jeanette Wolfley in spt of atty fees by Pltf Bad River Tribe.
Application for Atty Fees by Pltf St. Croix Chippewa Indians. -
Affidavit of Howard J. Bichler in spt of appl for attys fees by Plitf St. Croix

by Pltf St. Croix
Affidavit of Robert M. Peregoy in spt of appl for attys fees by P1tf St. Croix

Application for Attys Fees by Pltf Sokaogon Chippewa Mole Lake Band.
Affidavit of Earl A. Charlton in spt of attys fees appl by Pltf Sokaogon Chippewa

Affidavit of James L. Beck in spt of appl for attys fees by Pltf LCO.
Affidavit of Janice E. McAlpine in spt of appl for attys fees by P1tf LCO.
Affidavit.of James H. Schlender in spt of appl for attys fees by Pltf LCO.
Affidavit of Douglas B.L. Endreson in spt of appl for attys fees by Pltf LCO.
Affidavit of Kathryn L. Tierney in spt of appl for attys fees by Pltf LCO.
Affidavit of Bruce R. Greene in spt of appl for attys fees by Pltf LCO.
Affidavit of James E. Zorn in spt of appl for attys fees by Pltf LCO.
Affidavit of Douglas B.L. Endreson in spt of appl for attys fees by Pitf LCO.
Affidavit of Sarah Lewerenz in spt of appl for attys fees by Pltf Loo.
Affidavit of Marylee Abrams in spt of appl for attys fees by Pltf LCO.
Affidavit of Don L. Bye in spt of appl for attys fees by Pltf LCO.
Affidavit of Tracey L. Schwalbe in spt of appl for attys fees by Pitf LCO.
Affidavit of P. Scott Hassett in spt of appl for attys fees by Pltf LCO.
Affidavit of Larry B. Leventhal in spt of appl for attys fees by Pltf LCO.
Affidavit of E. Marie Butler in spt of appl for attys fees by Pltf LCO.

9/4/92 |1689 | Affidavit of John W. Higgins in spt of appl for attys fees by Pltf LCO. (FAX)
Affidavit of Thomas J. Mescall in spt of appl for attys fees by Pltf LCO. (FAX)
Petition for second phase attys fees by pltf Lac du Flambeau. -
Affdvt of Bruce R. Greene in support of petition for second phase attys fees by

Affdvt of Kathryn L. Tierney in support of petition for second phas attys fees

Affdvit of James M. Janetta in support of petition for second phase attys fees

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9/10/92)

 

Pltfs' joint brief in support of attys fees on behalf of Lac du Flambeau Band
of Lake Superior Chippewa Indians & all other pltf & pltf-intervenor tribes.
Index os pltfs joint submission in support of attys fees.

Affdvt of James H. Schlender in support of pltf tribes! request for attys fees,
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9/4/92 1698 Affdvt of William C. Wantland in suport of pltf tribes' request for attys fees,
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9/4/92 1699| Affdvt of Sharon Metz in support of pltf tribes' request for attys fees,
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9/4/92 1700, Affdvt of Michael R. Fox in support of pltf tribes' request for attys fees.
9/4/92 1701, Affdvt of Daniel W. Hildebrand in support of pltf tribes' request for attys fees]
9/4/92 | 1702 | Affdvt of Irvin B. Charne in support of pltf tribes' request for attys fees.
9/4/92 | 1703 | Affdvt of Thomas A. Heberlein in support of pltf tribes' request for attys fees.
9/4/92 | 1704 | Affdvt of Ronald N. Satz in support of pltf tribes' request for attys fees,
w/attached exhibits.
10/5/92 | 1705 | Defts' Motion for Change in Brfg Schedule and Scheduling Order.
10/5/92 | 1706+ Defts' Motion to Strike Portions of Pltfs' Petitions for Attys Fees.
10/5/92 | 1707 | Defts' Brief in spt of Mo to Strike Portions of Pltfs' Petitions for Attys Fees.
10/5/92 | 1708 | Defts' First Set of Attys' Fees Phase Interrogatoriesto Lac du Flambeau Band of
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10/5/92 | 1709 | Defts' First Attys' Fees Phase Request for Production to Lac du Flambeau Band of
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10/5/92 | 1710 | Defts' First Attys' Fees Phase REquest for Production to St. Croix Chippewa
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10/5/92 | 1711 | Defts' First Set of Attys' Fees Phase Interrogs to St. Croix Chippewa Indians of
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10/5/92 | 1712 | Defts' First Attys' Fees Phase Request for Production to LCO Band of Lake Superior
Indians.
10/5/92 | 1713 | Defts' first set of attys' fees phase interrogs to LCO Band of Lake Superior
Indians.
10/5/92 | 1714 | Defts' first Attys' fees phase request for production to Bad River Band of Lake
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10/5/92 | 1715 | Defts' first set of attys' fees phase interrogs to Bad River Band of Lake Superiot
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10/5/92 | 1716 | Defts' first attys' fees phase request for production to Sokaogon Indian
Community.
10/5/92 | 1717 | Defts' first set of attys' fees phase interrogs to Sokaogon Indian Community.
10/5/92 1718 | Defts' first attys' fees phase srequest for production to Red Cliff Band of Lake
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10/5/92 | 1719 | Defts' first set of attys' fees phase interrogs to Red Cliff Band of Lake Superior
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10/7/92 | 1720} ORDER approving motion for change in briefing schedule & scheduling Order (#1705).
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10/9/92 | 1721} Defts’ Second Set of Attys' Fees Phase Interrogatories to Lac du Flambeau Band of
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10/9/92 | 1722 | Defts' Second Set of Attys’ Fees Phase Interrogatories to St. Croix Chippewa
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10/9/92 | 1723 | Defts' Second Set of Attys' Fees Phase Interrogatories to LCO Band of Lake
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10/9/92 | 1724 | Defts' Second Set of Attys' Fees Phase Interrogatories to Bad River Band of Lake
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10/9/92 | 1725 | Defts' Second Set of Attys' Fees Phase Interrogatories to Sokaogon Chippewa
Indian Community.
10/9/92 | 1726 | Defts' Second Set of Attys' Fees Phase Interrogatories to the Red Cliff Band of
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10/15/92, 1728 Defts' Amended Second Set of Attys' Fees Phase interrogs to St. Croix
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10/15/92; 1729 Defts' Amended Second Set of Attys' Fees Phase Interrogs to LCO Band of
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10/15/92} 1730, Defts' Amended Second Set of Attys' Fees Phase Interrogs to Bad River Band of
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10/15/92, 1731, Defts' Amended Second Set of Attys' Fees Phase Interrogs to Sokaogon Indian
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10/15/92} 1732, Defts' Amended Second Set of Attys' Fees Phase Interrogs to Red Cliff Band of
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10/20/92 1733| Satisfaction of judgment of $166,722.24 entered 11/12/87 against state defts.
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11/4/92; 1734|)PLTF'S Joint Brief in Opposition to Motion to Strike.

11/4/92 1735| Transcript of FPTC held on 2/18/88 before BC.

11/18/92); 1736; Ctrm Min re: Scheduling/Status Conf. Briefing on Mos. set. (BBC)

11/18/92) 1737 DEFTS' Reply Brief in Support of Motion to Strike Portions

of Pltfs' Petitions for Attys' Fees.

11/23/92 | 1738| ORDER on Status Conf; briefing set on mo for atty fees & ruling on Discovery
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12/2/92 1739| OPINION & ORDER that pltfs are not barred fm seeking atty fees for work done
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timber, and misc. forest products; attempt to join USA as deft; pltfs' oppos to
mos to intervene; negotiation of unsuccessful '89 settlement; Pltfs' oppos to
state's proposed boating regulations. (BC) Cc mld. (12/1/92)

12/7/92 |1740 | Lac Du Flambeau Band's Answers to Defts' Ist and 2d set of interrogs in
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12/7/92 1741 |Sokaogon Chippewa Indian Community, Mole Lake Band of Wisconsin's response to the
State's Second Set of Attys' Fees Interrogatories.

12/7/92 1742 |Sokaogon Chippewa Indian Community, Mole Lake Band of Wisconsin's response to the
State's First Set of Attys' Fees Interrogatories.

12/7/92 11743 jLac Courte Oreilles Band's Response to the State's First and Second Sets of Attys'
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12/7/92 |1744 |Lac Courte Oreilles Band's List of Documents Produced.

12/7/92 {1745 Pltf Red Cliff's Response to First set of Attys' Fees Phase Interrogs. (Unsigned)

12/7/92 1746 (Response of St. Croix Chippewa Indians of Wisconsin to Deft's Second Set of
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12/9/92/1747 |Pltf Bad River Tribe's answers and objections to defendants' amended second set
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12/9/92|1748 |Pltf. Bad Ribert Tribe's answers and objections to defendants' first set of attys'
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12/14/92 1749) BLTF RED CLIFF'S RESPONSE TO 2D SET OF ATTRONEYS' FEES PHASE INTERROGS.

12/23/92, 1750 Defts' Requests for Admission & third Set of Attys' Fees Phase Interrogs to
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1/22/93) 1751|Pltf Bad River Band's response to defts' req for admission & third set of
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1/25/93) 1752)Pltf Lac Courte Oreilles Band's response to defts' req for admissions & third
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1/25/93) 1753/Pltf St. Croix Chippewa Indians of WI to deft's req for admissions & third set
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2/2/93 1755 | Plt£ Sokaogon Chippewa's response to state's request for admission & 3rd set of
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2/2/93 1756 | Transcript of scheduling & status conf before BBC on 11/18/92.
2/8/93 1757 | Lac du Flambeau's Response to State's Requests for Admission & 3rd Set of

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2/24/93 | 1758 | Defts' Brief in Oppo to Pltfs' Petitions for Attys' Fees

2/24/93 | 1759 | Appendix to Defts' Brief in Oppo to Pltfs' Petitions for Attys' Fees

3/9/93 1760 PLTF ST. GROIX CHIPPEWA INDIANS OF WISCONSIN'S MO FOR EXTENTION OF TIME TO
REPLY TO DEFTS' RESPONSE TO PLTFS' PETITIONS FOR ATTYS' FEES.

3/10/93 | 1761 | ORDER granting motion for extension (#1760) & setting brfg sechedule.(BBB)cpys mld

3/23/93| 1762 | ORDER CORRECTING ORDER ENTERED 3/10/93. (BC) Cc mld.

5/17/93, 1763; Defts' Motion to supplement brief.

5/17/93| 1764) Defts' Supplemental Memorandum in oppos. to Pltfs' Petitions for attys fees.
5/20/93 | 1765| ORDER granting defts' mo to supplement their brief. (BC) Ce mld

6/1/93 1766} REPLY BRIEF OF ST. CROIX CHIPPEWA INDIANS OF WISCONSIN IN SUPPORT OF THE APPLICATIC
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6/1/93 | 1767 PLTF SOKAOGON CHIPPEWA MOLE LAKE BAND'S APPLICATION FOR ATTY FEES.
6/1/93 1768 Brief in suppt of pltf Sokaogon Chippewa Community, Mole Lake Band's Application
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6/1/93 1769| Affidavit of Earl A. Charlton.

6/1/93 1770); LcO's Reply Brief in Suppt of LCO's Application for Atty's Fees.

6/1/93 1771) Affidavit of Tracy L. Schwalbe in Suppt of LCO's Application for Atty's Fees.
6/1/93 1772| Verified Application by pltf Bad River Tribe for atty fee award for work performed
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6/1/93 1773| piltf Bad River Tribe's Reply Brief on Atty Fees.

6/1/93 1774| Pltf tribes' joint reply brief.

6/1/93 1775} Lac Du Flambeau Band reply to State's Brief and Appendix.

6/1/93 1776 Supplemental Affidavit of James M. Jannetta In Suppt of Second Phase Attorney's
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6/1/93 1777 Supplemental Affidavit of Kathryn L. Tierney in suppt of 2d Phase Atty's fee
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6/3/93 1778 | Red Cliff's Reply Brief in Support of Red Cliff's Application for Atty's Fees.
6/4/93 1779 | Appendix to Red Cliff's Reply Brief in Support of Red Cliff's Application for
Atty Fees.

6/23/93 1780 | OPINION & ORDER ruling on attys" fees; parties to prepare joint submission to
be filed n/1/t 7/25/93 on remaining area of fees still in dispute. (BBC)

6/24/94 1781} DEFTS' ERRATA SHEET CORRECTING MATHEMATICAL AND CLERICAL ERRORS.

6/24/94 1782| DEFTS' MOTION TO STRIKE THE MAY 28, 1993 AFFIDAVIT AND EXHIBITS OF ATTY. EARL
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6/25/93 | 1783 | ORDER denying defts' motion to strike the 5/28/93 affdvts & exhs of Earl

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7/9/93 1784 Pltfs' Notice of and Motion for an Order Extending time to file joint

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7/20/93 | 1785 | ORDER granting Pltfs' Mo for Ext of Time to FIle Jt Submission re: atty fees(BC)

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8/20/93 |1789 |STIP & ORDER for dismissal of Lac Courte Oreilles Band's Attorney fees petition;
icc mld (BBC)

8/20/93 1790 |STIP & ORDER for dismissal of Bad River Band's Attorney fees petition; cc mld (BE
8/20/93 1791 (STIP & ORDER for dismissal of Sokaogon Chippewa Community, Mole Lake Band's
Attorney fee petition;cc mld (BBC)

TIP & ORDER for dismissal of Red Cliff Band's Application For Attorney fees

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oint Motion to Amend Judgment
otice of Substitution of Atty Shannon Swanstrom on behalf of pltf Bad River Band

in place of David J. Seigler

otice of Substitution Aty Glenn Reynods on behalf of pitf Sokaogon Chippewa
ommunity, in place of Andrew H. Morgan

otice of Substitution - Atty Carol J. Brown Biermeier on behalf of pltf Lac du
lambeau Band - in place of James M. Jannetta

otce of Substitution ~ Atty Larry Leventhal on behalf of pltf Lac Courte Oreilles

and in place of Tracey L. Schwalbe
nded Judgment, by mutual agreement of final judgment entered on 3/19/91; (BBC)

 

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